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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                                )
In re:                                                          ) Chapter 11
                                                                )
HORNBLOWER HOLDINGS LLC, et al., 1                              ) Case No. 24-90061 (MI)
                                                                )
                          Debtors.                              ) (Jointly Administered)
                                                                )

            GLOBAL NOTES AND STATEMENTS OF LIMITATIONS,
    METHODOLOGY, AND DISCLAIMERS REGARDING DEBTORS’ SCHEDULES
    OF ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

                                                 Introduction

        The Schedules of Assets and Liabilities (collectively, the “Schedules”) and Statements of
Financial Affairs (collectively, the “Statements” and, together with the Schedules,
the “Schedules and Statements”) filed by Hornblower Holdings LLC and certain of its affiliates,
as debtors and debtors in possession (collectively, the “Debtors”) in the United States
Bankruptcy Court for the Southern District of Texas (the “Bankruptcy Court”), were prepared in
accordance with section 521 of title 11 of the United States Code (the “Bankruptcy Code”), rule
1007 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and rule 1007-1
of the Bankruptcy Local Rules for the Southern District of Texas by management of the Debtors,
with the assistance of the Debtors’ professional advisors, and are unaudited.

        The Schedules and Statements have been signed by Jonathan Hickman, Chief
Restructuring Officer of the Debtors. Mr. Hickman has not (nor could have) personally verified
the accuracy of each such statement and representation, including, for example, statements and
representations concerning amounts owed to creditors, classification of such amounts, and their
addresses. In addition, Mr. Hickman has not (nor could have) personally verified the
completeness of the Schedules and Statements, nor the accuracy of any information contained
therein. In reviewing and signing the Schedules and Statements, Mr. Hickman necessarily relied
upon various personnel of the Debtors and the Debtors’ professional advisors and their efforts,
statements, and representations in connection therewith. Although management has made
reasonable efforts to ensure that the Schedules and Statements are accurate and complete based
upon information that was available to them at the time of preparation, subsequent information
or discovery thereof may result in material changes to the Schedules and Statements, and
inadvertent errors or omissions may exist.

         These Global Notes and Statements of Limitations, Methodology, and Disclaimers

1   A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
    claims and noticing agent at https://omniagentsolutions.com/Hornblower. The location of the Debtors’ service
    address for purposes of these chapter 11 cases is: Pier 3 on The Embarcadero, San Francisco, CA 94111.
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Regarding the Debtors’ Schedules and Statements (the “Global Notes”) pertain to, are
incorporated by reference in, and comprise an integral part of all of the Schedules and
Statements. The Global Notes should be referred to and reviewed in connection with any review
of the Schedules and Statements. The Global Notes are in addition to any specific notes
contained in any Debtor’s Schedules or Statements. Disclosure of information in one Schedule,
Statement, exhibit, or continuation sheet, even if incorrectly placed, shall be deemed to be
disclosed in the correct Schedule, Statement, exhibit, or continuation sheet.

      The Schedules, Statements, and Global Notes should not be relied upon by any
persons for information relating to current or future financial conditions, events, or
performance of any of the Debtors.

                        Global Notes and Overview of Methodology

     General Reservation of Rights. Although the Debtors’ management has made every
     reasonable effort to ensure that the Schedules and Statements are as accurate and complete
     as possible under the circumstances based on information that was available to it at the time
     of preparation, subsequent information or discovery may result in material changes to the
     Schedules and Statements, and inadvertent errors or omissions may have occurred, some of
     which may be material. Because the Schedules and Statements contain unaudited
     information, which remains subject to further review, verification, and potential
     adjustment, there can be no assurance that the Schedules and Statements are complete. The
     Debtors reserve all rights to amend the Schedules and Statements from time to time, in any
     and all respects, as may be necessary or appropriate, including the right to dispute or
     otherwise assert offsets or defenses to any claim reflected in the Schedules and Statements
     as to amount, liability, or classification, or to otherwise subsequently designate any claim
     (“Claim”) as “disputed,” “contingent,” or “unliquidated.” Furthermore, nothing contained
     in the Schedules and Statements shall constitute an admission of any claims or a waiver of
     any of the Debtors’ rights with respect to these chapter 11 cases, including issues involving
     substantive consolidation, recharacterization, mandatory subordination, equitable
     subordination, and/or causes of action arising under the provisions of chapter 5 of the
     Bankruptcy Code and other relevant non-bankruptcy laws to recover assets or avoid
     transfers. The Debtors and their agents, attorneys, and advisors expressly do not undertake
     any obligation to update, modify, revise, or recategorize the information provided herein,
     or to notify any third party should the information be updated, modified, revised, or
     recategorized, except as required by applicable law or order of the Bankruptcy Court. Any
     specific reservation of rights contained elsewhere in the Global Notes does not limit in any
     respect the general reservation of rights contained in this paragraph.

     Description of Cases and “As Of” Information Date. On February 21, 2024
     (the “Petition Date”), each of the Debtors filed voluntary petitions for relief under chapter
     11 of the Bankruptcy Code in the Bankruptcy Court. The Debtors’ chapter 11 cases are
     jointly administered for procedural purposes only pursuant to an order entered by the
     Bankruptcy Court on February 21, 2024 [Docket No. 2]. The Debtors continue to operate
     their business and manage their properties as debtors in possession pursuant to sections
     1107(a) and 1108 of the Bankruptcy Code. No request for the appointment of a trustee or



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examiner has been made in these chapter 11 cases.           Unless otherwise stated herein,
liabilities are reported as of the Petition Date.

Basis of Presentation. The Schedules and Statements purport to reflect the assets and
liabilities of separate Debtors. The Debtors, however, along with their wholly-owned
non-Debtor subsidiaries, prepare financial statements for financial reporting purposes,
which are audited annually, on a consolidated basis. The Debtors reserve all rights relating
to the legal ownership of assets and liabilities among the Debtors and nothing in the
Schedules or Statements shall constitute a waiver or relinquishment of such rights.
Information contained in the Schedules and Statements has been derived from the Debtors’
books and records. The Schedules and Statements do not purport to represent financial
statements prepared in accordance with Generally Accepted Accounting Principles nor are
they intended to be fully reconcilable to audited financial statements.

Totals. All totals that are included in the Schedules and Statements represent totals of all
known amounts included in the Debtors’ books and records. To the extent there are
unknown or undetermined amounts, the actual totals may be different than the listed total,
and the difference may be material. In addition, the amounts shown for total liabilities
exclude items identified as “unknown,” “disputed,” “contingent,” “unliquidated,” or
“undetermined,” and, thus, ultimate liabilities may differ materially from those stated in the
Schedules and Statements.

Excluded Liabilities. The Debtors have excluded certain categories of liabilities from the
Schedules and Statements, including, but not limited to, accrued employee compensation
and benefits, certain customer accruals, tax accruals, accrued contract termination damages,
deferred income accruals, and litigation accruals. The Debtors have also excluded potential
Claims arising on account of the potential rejection of executory contracts and unexpired
leases, to the extent such Claims exist. Further, certain immaterial assets and liabilities
may have been excluded.

References. References to applicable loan agreements and related documents are
necessary for a complete description of the collateral and the nature, extent, and priority of
liens and/or claims. Nothing in the Global Notes or the Schedules and Statements shall be
deemed a modification or interpretation of the terms of any such agreement.

Currency. All amounts are reflected in U.S. dollars. In instances where the Debtors
maintain their books in a currency other than U.S. dollars, the FX rate as of the opening of
the business day on February 21, 2024 was used to calculate the currency conversion.

Book Value. Unless otherwise indicated, the Debtors’ assets are shown on the basis of
their net book values as of February 21, 2024, and the Debtors’ liabilities are shown on the
basis of their net book values as of the Petition Date. Thus, unless otherwise noted, the
Schedules and Statements reflect the carrying value of the assets and liabilities as recorded
on the Debtors’ books. Net book values may vary, sometimes materially, from market
values. The Debtors do not intend to amend these Schedules and Statements to reflect
market values. The book values of certain assets may materially differ from their fair




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market values and/or any liquidation analysis prepared in connection with the Debtors’
chapter 11 cases.

Paid Claims. The Bankruptcy Court authorized the Debtors to pay certain outstanding
prepetition Claims—including, but not limited to, payments to employees, customers, and
certain vendors—pursuant to various “first day” orders entered by the Bankruptcy Court.
Accordingly, certain outstanding liabilities may have been reduced by post-petition
payments made on account of prepetition liabilities. Where the Schedules list creditors and
set forth the Debtors’ scheduled amount of such Claims, such scheduled amounts reflect
amounts owed as of the Petition Date, adjusted for any post-petition payments made
pursuant to the authority granted to the Debtors by the Bankruptcy Court. In addition, to
the extent the Debtors later pay any of the Claims listed in the Schedules and Statements
pursuant to any orders entered by the Bankruptcy Court, the Debtors reserve all rights to
amend or supplement the Schedules and Statements or take other action, such as filing
Claims objections, as is necessary and appropriate to avoid overpayment or duplicate
payments for liabilities.

Recharacterization. Notwithstanding that the Debtors have made reasonable efforts to
correctly characterize, classify, categorize, or designate certain Claims, assets, executory
contracts, unexpired leases, and other items reported in the Schedules and Statements, the
Debtors nonetheless may have improperly characterized, classified, categorized, or
designated certain items. The Debtors reserve all rights to recharacterize, reclassify,
recategorize, or re-designate items reported in the Schedules and Statements at a later time
as they determine to be necessary and appropriate.

Liabilities. The Debtors allocated liabilities between the prepetition and post-petition
periods based on the information and research conducted in connection with the
preparation of the Schedules and Statements. As additional information becomes available,
and further research is conducted, particularly with respect to the Debtors’ payable
accounts, the allocation of liabilities between the prepetition and postpetition periods may
change. The Debtors reserve the right to, but are not required to, amend the Schedules and
Statements as they deem appropriate to reflect this.

The liabilities listed on the Schedules and Statements do not reflect any analysis of claims
under section 503(b)(9) of the Bankruptcy Code. Accordingly, the Debtors reserve all
rights to dispute or challenge the validity of any asserted claims under section 503(b)(9) of
the Bankruptcy Code or the characterization of the structure of any such transaction or any
document or instrument related to any creditor’s Claim.

Guarantees and Other Secondary Liability Claims. Where guarantees or similar
secondary liability claims have been identified, they have been included in the relevant
liability Schedule for the Debtor or Debtors affected by such obligation. The Debtors have
also listed such obligations related to funded debt or debt for borrowed money on the
applicable Schedule H. It is possible that certain guarantees embedded in the Debtors’
executory contracts, unexpired leases, secured financings, debt instruments, and other such
agreements may have been inadvertently omitted. The Debtors reserve their rights (but
expressly do not undertake any obligation) to amend the Schedules to the extent that


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additional guarantees are identified or such guarantees are discovered to have expired or be
unenforceable.

Intercompany Claims. Receivables and payables among and between the Debtors and (i)
other Debtors or (ii) their non-Debtor affiliates, are reported on Schedule A/B and Schedule
E/F, respectively, per the Debtors’ unaudited books and records. As described more fully
in the Debtors’ Emergency Motion for Entry of Interim and Final Orders (I) Authorizing
the Debtors to (A) Continue to Operate Their Cash Management System, (B) Honor
Certain Prepetition Obligations Related Thereto, (C) Maintain Existing Business Forms
and Books and Records, and (D) Continue to Perform Intercompany Transactions, and (II)
Granting Related Relief [Docket No. 11] (the “Cash Management Motion”), the Debtors
engage in a range of intercompany transactions in the ordinary course of business.
Pursuant to the Interim Order (I) Authorizing the Debtors to (A) Continue to Operate Their
Cash Management System, (B) Honor Certain Prepetition Obligations Related Thereto, (C)
Maintain Existing Business Forms and Books and Records, and (D) Continue to Perform
Intercompany Transactions, and (II) Granting Related Relief [Docket No. 58] (the “Cash
Management Order”), the Bankruptcy Court has granted the Debtors authority to continue
to engage in intercompany transactions in the ordinary course of business subject to certain
limitations set forth therein.

The listing of any amounts with respect to such receivables and payables is not, and should
not be construed as, an admission of the characterization of such balances as debt, equity,
or otherwise or an admission as to the validity of such receivables and payables. For the
avoidance of doubt, the Debtors reserve all rights, claims, and defenses in connection with
any and all intercompany receivables and payables, including, but not limited to, with
respect to the characterization of intercompany claims, loans, and notes. Without limiting
the generality of the foregoing, certain intercompany receivables and payables among and
between the Debtors have been consolidated and netted in the Debtors’ books and records.
Such treatment is not, and should not be construed as, an admission or conclusion of the
Debtors regarding the allowance, classification, characterization of the amount and/or
validity or priority of any such intercompany receivables and payables or the validity of
any netting or offsets per the Debtors’ books and records. The Debtors take no position in
these Schedules and Statements as to whether any such amounts would be allowed as a
claim or an interest, or not allowed at all. The listing of these amounts is not necessarily
indicative of the ultimate recovery, if any, on any intercompany asset account or the
impairment or claim status of any intercompany liability account. The Debtors reserve all
rights to later change the amounts, characterization, classification, categorization, or
designation of intercompany accounts reported in the Schedules and Statements.

In addition, certain of the Debtors act on behalf of other Debtors. Commercially
reasonable efforts have been made to indicate the ultimate beneficiary of a payment or
obligation. Whether a particular payment or obligation was incurred by the entity actually
making the payment or incurring the obligation is a complex question of applicable non-
bankruptcy law, and nothing herein constitutes an admission that any Debtor entity is an
obligor with respect to any such payment. The Debtors reserve all rights to reclassify any
payment or obligation as attributable to another entity and all rights with respect to the
proper accounting and treatment of such payments and liabilities.


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Intellectual Property Rights. Exclusion of certain intellectual property shall not be
construed to be an admission that such intellectual property rights have been abandoned,
have been terminated or otherwise expired by their terms, or have been assigned or
otherwise transferred pursuant to a sale, acquisition, or other transaction. Conversely,
inclusion of certain intellectual property shall not be construed to be an admission that such
intellectual property rights have not been abandoned, have not been terminated or
otherwise expired by their terms, or have not been assigned or otherwise transferred
pursuant to a sale, acquisition, or other transaction. The Debtors have made significant
efforts to attribute intellectual property to the rightful Debtor owner, however, in some
instances intellectual property owned by one Debtor may, in fact, be owned by another.
Accordingly, the Debtors reserve all of their rights with respect to the legal status of any
and all such intellectual property rights.

Insurance. The Debtors have not set forth insurance policies as executory contracts in the
Schedules and Statements. Information regarding the Debtors’ insurance policies is set
forth in the Debtors’ Emergency Motion for Entry of an Order (I) Authorizing the Debtors
to (A) Continue Prepetition Insurance Coverage and Satisfy Prepetition Obligations
Related Thereto, (B) Renew, Amend, Supplement, Extend, or Purchase Insurance Policies,
(C) Continue to Pay Brokerage Fees, and (D) Maintain Their Surety Bond Program, and
(II) Granting Related Relief [Docket No. 18].

Executory Contracts and Unexpired Leases. The Debtors have not set forth executory
contracts or unexpired leases as assets in the Schedules and Statements. The Debtors’
executory contracts and unexpired leases have been set forth in Schedule G. In addition,
while the Debtors have made diligent attempts to properly identify all executory contracts
and unexpired leases, inadvertent errors, omissions, or over-inclusion may have occurred.
While certain executory contracts and unexpired leases have been set forth in Schedule G,
the Debtors have filed the Notice to Contract Parties to Rejected Executory Contracts and
Unexpired Leases [Docket No. 349] and the Second Notice to Contract Parties to Rejected
Executory Contracts and Unexpired Leases [Docket No. 533], to reject certain executory
contracts and unexpired leases, pursuant to the Order (A) Approving (I) Bidding
Procedures for the Sale of the AQV Debtors’ Assets, (II) Procedures Regarding Bid
Protections, (III) the Scheduling of Certain Dates with Respect Thereto, (IV) the Form and
Manner of Notice Thereof, (V) Contract Assumption, Assignment, and Rejection
Procedures, and (VI) Certain Procedures to Otherwise Dispose of the AQV Assets, and (B)
Authorizing the Debtors to Enter into Agreements for the Sale of Their Assets Free and
Clear of all Liens, Claims, and, Encumbrances [Docket No. 166], as modified on March
22, 2024 [Docket No. 317].

Claims Description. Schedules D, E, and F permit each of the Debtors to designate a
Claim as “disputed,” “contingent,” and/or “unliquidated.” Any failure to designate a Claim
on a given Debtor’s Schedules and Statements as “disputed,” “contingent,” or
“unliquidated” does not constitute an admission by the Debtor that such amount is not
“disputed,” “contingent,” or “unliquidated” or that such Claim is not subject to objection.
The Debtors reserve all rights to dispute any Claim reflected on their respective Schedules
and Statements on any grounds, including, without limitation, liability or classification, or
to otherwise subsequently designate such Claims as “disputed,” “contingent,” or


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“unliquidated.” In addition, the Debtors reserve their rights to object to any listed Claim on
the grounds that, among other things, the Claim has already been satisfied.

Causes of Action. Despite their reasonable efforts, the Debtors may not have listed all of
their causes of action or potential causes of action against third parties as assets in their
Schedules and Statements, including, without limitation, avoidance actions arising under
chapter 5 of the Bankruptcy Code and actions under other relevant non-bankruptcy laws to
recover assets. The Debtors reserve all of their rights for any claims, causes of action, or
avoidance actions they may have, and neither these Global Notes nor the Schedules and
Statements shall be deemed a waiver of any such claims, causes of actions, or avoidance
actions or in any way prejudice or impair the assertion of such claims.

Undetermined Amounts. Claim amounts that could not readily be quantified by the
Debtors are scheduled as “unknown,” “TBD,” or “undetermined.” The description of an
amount as “unknown,” “TBD,” or “undetermined” is not intended to reflect upon the
materiality of such amount.

Unliquidated Amounts. Claim amounts that could not be readily quantified by the
Debtors are scheduled as “unliquidated.”

Liens. Property and equipment listed in the Schedules and Statements are presented
without consideration of any liens that may attach (or have attached) to such property or
equipment.

Employee Addresses. Personal addresses of current and former employees and directors
have been removed from entries listed throughout the Schedules and Statements, where
applicable.

Insiders. In circumstances where the Schedules and Statements require information
regarding “insiders,” the Debtors have included information with respect to the individuals
and entities that the Debtors believe may potentially be included in the definition of
“insider” set forth in section 101(31) of the Bankruptcy Code during the relevant time
periods. Such individuals may not actually constitute “insiders” for purposes of section
101(31) of the Bankruptcy code or may no longer serve in such capacities. Persons and
entities listed as “insiders” have been included for informational purposes only. The
Debtors do not take any position with respect to (a) such person’s influence over the
control of the Debtors; (b) the management responsibilities or functions of such individual;
(c) the decision-making or corporate authority of such individual; or (d) whether such
individual could successfully argue that he or she is not an “insider” under applicable law,
including federal securities law, or with respect to any theories of liability or any other
purpose. As such, the Debtors reserve all rights to dispute whether someone identified in
response to questions in the Schedules and Statements is in fact an “insider” as defined in
section 101(31) of the Bankruptcy Code.

Estimates. To prepare and file the Schedules as close to the Petition Date as possible,
management was required to make certain estimates and assumptions that affected the
reported amounts of these assets and liabilities. The Debtors reserve all rights to amend the



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reported amounts of assets and liability to reflect changes in those estimates or
assumptions.

Credits and Adjustments. The claims of individual creditors for, among other things,
goods, products, services, or taxes are listed as the amounts entered on the Debtors’ books
and records and may not reflect credits, allowances, or other adjustments due from such
creditors to the Debtors. The Debtors reserve all of their rights with regard to such credits,
allowances, and other adjustments, including the right to assert claims objections and/or
setoffs with respect to the same.

Setoffs. The Debtors incur certain setoffs and other similar rights during the ordinary
course of business. Offsets in the ordinary course can result from various items, including,
without limitation, intercompany transactions, pricing discrepancies, returns, warranties,
negotiations and/or disputes between the Debtors and their vendors and customers. These
offsets and other similar rights are consistent with the ordinary course of business in the
Debtors’ industry and are not tracked separately. Therefore, although such offsets and
other similar rights may have been accounted for when certain amounts were included in
the Schedules, offsets are not independently accounted for, and as such, are excluded from
the Schedules.

Global Notes Control. In the event that the Schedules and Statements differ from these
Global Notes, the Global Notes shall control.

Confidentiality. There may be instances in the Schedules and Statements where the
Debtors have deemed it necessary and appropriate to redact from the public record
information such as names or addresses. Typically, the Debtors have used this approach
because of an agreement between the Debtors and a third party, concerns of confidentiality,
or concerns for the privacy of, or otherwise preserving the confidentiality of, personally
identifiable information. The redactions are limited to only what is necessary to protect the
Debtors or third party and are consistent with the relief granted under the Order (I)
Authorizing the Debtors to (A) File a Consolidated List of Creditors, (B) File a
Consolidated List of the 30 Largest Unsecured Creditors, and (C) Redact Certain Personal
Identification Information; (II) Waiving or Modifying the Requirement to File a List of
Equity Security Holders; (III) Approving the Form and Manner of Notifying Creditors of
the Commencement of These Chapter 11 Cases; and (IV) Granting Related Relief [Docket
No. 62].

                   General Disclosures Applicable to Schedules

Classifications. Listing a Claim (a) on Schedule D as “secured,” (b) on Schedule E/F as
“priority,” or (c) on Schedule E/F as “unsecured,” or a contract on Schedule G as
“executory” or “unexpired,” does not in each case constitute an admission by the Debtors
of the legal rights of the claimant, or a waiver of the Debtors’ right to recharacterize,
subordinate, or reclassify such Claim or contract.

Schedule A/B – Real and Personal Property.

     a) Schedule A/B, Part 1 – Cash and Cash Equivalents. Details with respect to the


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      Debtors’ cash management system and bank accounts are provided in the Cash
      Management Motion and Cash Management Order. The Debtors’ cash balances
      are listed as of the Petition Date, February 21, 2024, at bank balances.

      Schedule A/B, Part 2 – Deposits and Prepayments. The Bankruptcy Court,
      pursuant to the Order (I) Approving the Debtors’ Proposed Adequate Assurance
      of Payment for Future Utility Services, (II) Prohibiting Utility Providers from
      Altering, Refusing, or Discontinuing Services, (III) Approving the Debtors’
      Proposed Procedures for Resolving Additional Adequate Assurance Requests,
      and (IV) Granting Related Relief [Docket No. 107], authorized the Debtors to
      provide adequate assurance of payment for future utility services. In addition,
      certain retainers or deposits reflect payments to professionals made by a certain
      Debtor entity, but may be subject to applicable allocation amongst the Debtors.

      Certain reported prepaid or amortized assets are listed in accordance with the
      Debtors’ books and records. The amounts listed in Part 2 do not necessarily
      reflect assets the Debtors will be able to collect or realize. The amounts listed in
      Part 2 include, among other things, prepaid insurance, licenses, taxes, and other
      prepaid expenses.

   b) Schedule A/B, Part 3 – Accounts Receivable. The Debtors’ reported accounts
      receivable include amounts that may be uncollectible. Notwithstanding the
      foregoing, the Debtors have used reasonable efforts to deduct doubtful or
      uncollectible accounts. The Debtors are unable to determine with certainty what
      amounts will actually be collected.

   c) Schedule A/B, Part 4 – Investments. Ownership interests in subsidiaries,
      partnerships have been listed in Schedule A/B, Part 4, as undetermined amounts
      on account of the fact that the fair market value of such ownership is dependent
      on numerous variables and factors and may differ significantly from their net
      book value.

   d) Schedule A/B, Part 7 – Office Furniture, Fixtures, and Equipment; and
      Collectibles. Dollar amounts are presented net of accumulated depreciation and
      other adjustments.

   e) Schedule A/B, Part 8 – Machinery, Equipment, and Vehicles. For those
      Debtors that own machinery, equipment and vehicles, dollar amounts are
      presented net of accumulated depreciation and other adjustments.

   f) Schedule A/B, Part 9 – Real Property. Real property (either leased or leasehold
      interests) is recorded at cost and depreciated (as appropriate) on a straight-line
      basis over the estimated useful lives of the assets.

   g) Schedule A/B, Part 10 – Intangibles and Intellectual Property. The Debtors
      review goodwill and other intangible assets having indefinite lives for impairment
      annually or when events or changes in circumstances indicate the carrying value
      of these assets might exceed their current fair values. The Debtors report


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         intellectual property assets as undetermined value whenever applicable. For
         purposes of the Schedules, the Debtors have listed intangible assets and
         intellectual property only at entities for which these assets are recorded on their
         books. The exclusion of listing similar assets at additional Debtors should not be
         construed as an admission that other Debtors do not possess similar assets.

     h) Schedule A/B, Part 11 – All Other Assets. Dollar amounts are presented net of
        impairments and other adjustments.

             a. Item 72 – Tax Refunds and Unused Net Operating Losses (NOLs). The
                Debtors may be entitled to apply certain net operating losses or other tax
                attributes. The Debtors have provided a summary of certain of their tax
                attributes and related considerations in Item 72; however, such tax
                attributes are listed as undetermined amounts because the fair market
                value (if any) of such attributes is dependent on numerous variables and
                factors.

             b. Items 74 and 75 – Causes of action against third parties (whether or not
                a lawsuit has been filed) and other contingent and unliquidated claims
                or causes of action of every nature, including counterclaims of the
                debtors and rights to set off claims. The Debtors attempted to list known
                causes of action and other claims. Potential preference actions and/or
                fraudulent transfer actions were not listed because the Debtors have not
                completed an analysis of such potential claims. The Debtors’ failure to
                list any cause of action, claim, or right of any nature is not an admission
                that such cause of action, claim, or right does not exist, and should not be
                construed as a waiver of such cause of action, claim, or right.

             c. Item 77 – Other property of any kind not already listed. The Debtors
                have included intercompany receivables as of February 21, 2024.

Schedule D – Creditors Who Have Claims Secured by Property. The Claims listed on
Schedule D arose or were incurred on various dates; a determination of the date upon
which each Claim arose or was incurred would be unduly burdensome and cost prohibitive.
Accordingly, not all such dates are included for each Claim. All Claims listed on Schedule
D, however, appear to have arisen or have been incurred before the Petition Date.
Operating leases are listed on Schedule G.

Except as otherwise agreed pursuant to a stipulation or order entered by the Bankruptcy
Court, the Debtors reserve their rights to dispute or challenge the validity, perfection, or
immunity from avoidance of any lien purported to be granted or perfected in any specific
asset of a secured creditor listed on Schedule D of any Debtor. Moreover, although the
Debtors have scheduled Claims of various creditors as secured Claims, the Debtors reserve
all of their rights to dispute or challenge the secured nature of any such creditor’s Claim or
the characterization of the structure of any such transaction or any document or instrument
related to such creditor’s Claim. Further, while the Debtors have included the results of
Uniform Commercial Code searches, the listing of such results is not, nor shall it be


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deemed, an admission as to the validity of any such lien. The descriptions provided in
Schedule D are solely intended to be a summary and not an admission of liability. The
Debtors made reasonable, good faith efforts to include all known liens on Schedule D but
may have inadvertently omitted to include an existing lien because of, among other things,
the possibility that a lien may have been imposed after the Uniform Commercial Code
searches were performed or a vendor may not have filed the requisite perfection
documentation.

Although there are multiple parties that hold a portion of the debt included in the Debtors’
prepetition funded debt, only the applicable administrative agent or indenture trustee has
been listed for purposes of Schedule D.

Except as specifically stated on Schedule D, real property lessors, utility companies, and
other parties that may hold security deposits have not been listed on Schedule D. The
Debtors reserve their rights to amend Schedule D to the extent that the Debtors determine
that any Claims associated with such agreements should be reported on Schedule D.

Moreover, the Debtors have not included on Schedule D parties that may believe their
Claims are secured through setoff rights or inchoate statutory lien rights.

Schedule E/F - Creditors Who Have Unsecured Claims. The Debtors have not listed on
Schedule E any wage or wage-related obligations which the Debtors have been granted
authority to pay pursuant to the Order (I) Authorizing the Debtors to (A) Pay Prepetition
Wages, Salaries, Other Compensation, and Reimbursable Expenses and (B) Continue
Employee Benefits Programs and (II) Granting Related Relief [Docket No. 109]. The
Debtors believe that all such Claims have been or will be satisfied in the ordinary course
during these chapter 11 cases pursuant to the authority granted in the relevant order.

The Debtors have not listed on Schedule E any tax related obligations, except for open tax
audits, which the Debtors have been granted authority to pay pursuant to the Order (I)
Authorizing the Payment of Certain Taxes and Fees, and (II) Granting Related Relief
[Docket No. 61]. The Debtors believe that all such Claims have been or will be satisfied in
the ordinary course during these chapter 11 cases pursuant to the authority granted in the
relevant order.

The Debtors have used reasonable efforts to report all general unsecured Claims against the
Debtors on Schedule E/F based upon the Debtors’ existing books and records as of the
Petition Date; however, inadvertent errors or omissions may have occurred. The Claims
listed on Schedule E/F arose or were incurred on various dates. In certain instances, the
date on which a Claim arose is an open issue of fact. In addition, the Claims of individual
creditors for, among other things, goods or services are listed as either the lower of the
amounts invoiced by such creditor or the amounts entered on the Debtors’ books and
records and may not reflect credits, rebates, or allowances due from such creditors to the
applicable Debtors. The Claims and amounts listed in respect of certain trade payables
may reflect payments by the Debtors pursuant to applicable “first day” orders and amounts
to be paid later pursuant to “second day” orders. Certain Debtors may pay additional
Claims listed on Schedule E/F during these chapter 11 cases pursuant to these and other


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orders of the Bankruptcy Court and reserve all of their rights to update Schedule E/F to
reflect such payments. In addition, certain Claims listed on Schedule E/F may be entitled
to priority under section 503(b)(9) of the Bankruptcy Code.

Schedule E/F also contains information regarding pending litigation involving the Debtors.
The dollar amount of potential Claims associated with any such pending litigation is listed
as “undetermined” and marked as contingent, unliquidated, and disputed in the Schedules
and Statements. Some of the litigation Claims listed on Schedule E/F may be subject to
subordination pursuant to section 510 of the Bankruptcy Code. Schedule E/F also includes
potential or threatened legal disputes that are not formally recognized by an administrative,
judicial, or other adjudicative forum due to certain procedural conditions that
counterparties have yet to satisfy.

The Debtors have scheduled, on Schedule E/F, all claims with respect to payments made by
persons or entities on account of cruises that were scheduled to be operated by American
Queen Steamboat Operating Company, LLC (“AQSOC”) or Victory Operating Company,
LLC (“VOC”), each doing business as American Queen Voyages™ (collectively, the
“AQV Cancelled Cruise Claims”). The Debtors have listed the AQV Cancelled Cruise
Claims as neither “contingent,” nor “unliquidated,” nor “disputed.” To the extent an AQV
Cancelled Cruise Claim is held by an individual person, the Debtors also have indicated the
portion of the AQC Cancelled Cruise Claim entitled to priority under section 507(a)(7) of
the Bankruptcy Code to the extent such creditors receive distributions under the Plan.

As required by the Federal Maritime Commission (the “FMC”), AQSOC and VOC (the
“AQV Debtors”) purchased surety bonds (the “Surety Bonds”) to ensure that eligible
customers of the AQV Debtors would receive full refunds in the event of non-performance
of cruises. See 46 C.F.R. § 540.9. The AQV Debtors thus obtained two Surety Bonds
from Argonaut Insurance Company (“Argonaut”) providing $39 million of aggregate
coverage: (i) Passenger Vessel Surety Bond No. SUR0039562 (the “AQSOC Bond”)
provides $32 million of surety coverage for non-performance of transportation on vessels
operated by AQSOC and (ii) Passenger Vessel Surety Bond No. SUR0046973 (the “VOC
Bond”) provides $7 million of surety coverage for nonperformance of transportation on
vessels operated by VOC. The Debtors’ books and records provide that the aggregate
amount of eligible AQV Cancelled Cruise Claims is less than the penal limits of the
AQSOC Bond and VOC Bond, respectively.

In consultation with the FMC and the Committee, the Debtors sent a “denial” letter to
customers of the AQV Debtors on March 29, 2024, denying such customers’ demands for
refunds on account of cancelled cruises that were scheduled to be operated by the AQV
Debtors and thereby permitting eligible customers, under the terms of the Surety Bonds and
FMC regulations, to submit claims against Argonaut for such refunds.

Although the Debtors have scheduled the AQV Cancelled Cruise Claims on Schedule E/F,
the Debtors contend that such claims relating to cruises scheduled to depart from U.S. ports
of embarkment (the “U.S. AQV Cancelled Cruise Claims”) shall be paid in full by
Argonaut, which is a co-obligor with respect to such claims under the Surety Bonds.
 Accordingly, the Debtors assert that holders of U.S. AQV Cancelled Cruise Claims should


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receive payment in full from Argonaut, and therefore should not receive distributions from
the Debtors under the Plan. The Debtors reserve all rights with respect to the extent and
timing of distributions under the Plan with respect to U.S. AQV Cancelled Cruise Claims.

Schedule G – Executory Contracts and Unexpired Leases. While every effort has been
made to ensure the accuracy of Schedule G, inadvertent errors or omissions may have
occurred. Each lease and contract listed in Schedule G may include one or more ancillary
documents, including any underlying assignment and assumption agreements, amendments,
supplements, full and partial assignments, renewals and partial releases. Certain of the
leases and contracts listed on Schedule G may contain certain renewal options, guarantees
of payment, options to purchase, rights of first refusal, and other miscellaneous rights.
Such rights, powers, duties, and obligations are not set forth on Schedule G. In addition,
the Debtors may have entered into various other types of agreements in the ordinary course
of business, such as financing agreements, subordination, non-disturbance agreements,
supplemental agreements, amendments/letter agreements, title agreements, and
confidentiality agreements. Such documents may not be set forth on Schedule G. Certain
of the contracts, agreements, and leases listed on Schedule G may have been entered into
by more than one of the Debtors. Further, the specific Debtor obligor to certain of the
executory contracts could not be specifically ascertained in every circumstance. In some
cases, the same supplier or provider appears multiple times in Schedule G. This multiple
listing is to reflect distinct agreements between the applicable Debtor and such supplier or
provider. In such cases, the Debtors made their best efforts to determine the correct
Debtor’s schedule on which to list such executory contracts or unexpired leases. Certain of
the executory contracts may not have been memorialized in writing and could be subject to
dispute.

The Debtors reserve all of their rights to dispute the validity, status, or enforceability of any
contracts, agreements, or leases set forth in Schedule G and to amend or supplement such
Schedule as necessary. Inclusion or exclusion of any agreement on Schedule G does not
constitute an admission that such agreement is an executory contract or unexpired lease,
and the Debtors reserve all rights in that regard, including, that any agreement is not
executory, has expired pursuant to its terms, or was terminated prepetition.

Schedule H – Codebtors. Although the Debtors have made every effort to ensure the
accuracy of Schedule H, inadvertent errors, omissions, or inclusions may have occurred.
The Debtors hereby reserve all rights to dispute the validity, status, and enforceability of
any obligations set forth on Schedule H and to further amend or supplement such Schedule
as necessary. Due to the voluminous nature of debts listed in the Schedules, and to avoid
unnecessary duplication, the Debtors have not listed debts that more than one Debtor may
be liable if such debt is also listed on Schedules E/F or G for the respective co-Debtor
liable for such debt (apart from the guarantees of unsecured funded debt obligations, as
described in paragraph 13 above).

The Debtors further reserve all rights, claims, and causes of action with respect to the
obligations listed on Schedule H, including the right to dispute or challenge the
characterization or the structure of any transaction, document, or instrument related to a
creditor’s claim. The listing of a contract, guarantee, or other obligation on Schedule H


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shall not be deemed an admission that such obligation is binding, valid, or enforceable.

In the ordinary course of their business, the Debtors may be involved in pending or
threatened litigation and claims arising out of the conduct of their business. These matters
may involve multiple plaintiffs and defendants, some or all of whom may assert cross-
claims and counterclaims against other parties. Because such litigation is listed elsewhere
in the Statements and Schedules, they have not been set forth individually on Schedule H.

Schedule H also reflects guarantees or similar secondary liability obligations by various
Debtors. The Debtors may not have identified certain guarantees that are embedded in the
Debtors’ executory contracts, unexpired leases, debt instruments, and other such
agreements. Further, the Debtors believe that certain of the guarantees reflected on
Schedule H may have expired or may no longer be enforceable. Thus, the Debtors reserve
their right, but shall not be required, to amend the Schedules to the extent that additional
guarantees are identified or such guarantees are discovered to have expired or are
unenforceable.

                   General Disclosures Applicable to Statements

Questions 1 and 2. The Debtors’ responses to Questions 1 and 2 are presented in
accordance with the Debtors’ books and records. Certain revenue for these periods was
recorded in a consolidating entity and was not distributed between the Debtors and their
non-filing affiliates and is therefore not included in response to Questions 1 and 2.

Question 3. For certain creditors receiving payment, the Debtors maintain multiple
addresses for such vendor. Efforts have been made to attribute the correct address,
however, in certain instances, alternate addresses may be applicable for a party listed in
response to Question 3.

Question 4. Individual payments to Debtor affiliates are not reflected in Statement 4 due
to their complexity and voluminous nature. The Debtors have reported net monthly
intercompany positions in Statement 4. In addition, intercompany payables and receivables
as of the Petition Date can be found on Schedule E/F and Schedule A/B. The listing of any
entity as an insider does not constitute an admission or a final determination that any such
entity is or is not an insider. Alvarez and Marsal Managing Director, Jonathan Hickman is
retained as Chief Restructuring Officer of the Debtors. Our of an abundance of disclosure,
payments to Alvarez and Marsal are listed in response to Question 4.

Question 7. The Debtors reserve all of their rights and defenses with respect to any and all
listed lawsuits and administrative proceedings. The listing of any such suits and
proceedings shall not constitute an admission by the Debtors of any liabilities or that the
actions or proceedings were correctly filed against the Debtors or any affiliates of the
Debtors. The Debtors also reserve their rights to assert that a Debtor is not an appropriate
party to such actions or proceedings.

Question 10. The Debtors have made best efforts to collect applicable and responsive
information. Given the scale of the Debtors’ retail and wholesale footprint, the Debtors



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incur certain immaterial losses in the ordinary course of business. Such amounts may not
be listed in the Statements.

Question 11. All payments for services of any entities that provided consultation
concerning debt restructuring services, relief under the Bankruptcy Code, or preparation of
a petition in bankruptcy within one year immediately preceding the Petition Date are listed
on either Debtor’s respective Statements, as applicable. The Debtors have endeavored to
list only payments made for debt restructuring services, however, in some instances, these
balances may include payments for services not related to restructuring or bankruptcy
matters. Additional information regarding the Debtors’ retention of professionals is more
fully described in the individual retention applications for those professionals. Payments
listed to Alvarez and Marsal in response to this question are duplicated in Question 4.

Question 13. While the Debtors have made reasonable efforts to respond comprehensively
to Question 13, certain de minimis asset sales and transfers may be omitted unintentionally.
In addition, the Debtors regularly sell certain non-core assets, including inventory, in the
ordinary course of business. Accordingly, such dispositions made in the ordinary course of
business have not been reflected in Question 13.

Question 21. Vessels and locations operated by the Debtors may contain de minimis
property owned by repairmen or ticketing operations, which the Debtors do not track and
are not reflected in Question 21.

Question 26d. In the ordinary course of business, the Debtors provide financial statements
to certain parties, such as financial institutions, investment banks, auditors, potential
investors, vendors and financial advisors. The Debtors do not maintain complete lists to
track such disclosures, and as such, the Debtors have not provided a listing of these parties
in response to this question.




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 Fill in this information to identify the case:

 Debtor name           SEA Operating Company, LLC

 United States Bankruptcy Court for the:               Southern District of Texas, Houston Division


 Case number (If known):                24-90070 (MI)
                                                                                                                                                                                          ¨ Check if this is an
                                                                                                                                                                                              amended filing




Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15


Part 1: Summary of Assets


 1. Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
           Copy line 88 from Schedule A/B ................................................................................................................................
                                                                                                                                                                                         $           73,891.53


     1b. Total personal property:
                                                                                                                                                                                         $       3,126,852.79*
           Copy line 91A from Schedule A/B ..............................................................................................................................

     1c. Total of all property:
                                                                                                                                                                                         $       3,200,744.32*
           Copy line 92 from Schedule A/B ................................................................................................................................




Part 2: Summary of Liabilities




 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                         $       Undetermined
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D ..........................................


 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                         $                 0.00
           Copy the total claims from Part 1 from line 5a of Schedule E/F .................................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
                                                                                                                                                                                        + $         26,234.82*
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F .......................................................




 4. Total liabilities ...............................................................................................................................................................
                                                                                                                                                                                         $          26,234.82*
      Lines 2 + 3a + 3b




 *Plus Undetermined Amounts

   Official Form 206Sum                                           Summary of Assets and Liabilities for Non-Individuals                                                                           page 1
                       Case 24-90061 Document 819 Filed in TXSB on 04/23/24 Page 17 of 123
   Fill in this information to identify the case:

    Debtor name SEA Operating Company, LLC


    United States Bankruptcy Court for the: Southern District of Texas, Houston Division
                                                                                                                                           ¨ Check if this is an
    Case number (If known) 24-90070 (MI)                                                                                                       amended filing



 Official Form 206A/B
 Schedule A/B: Assets - Real and Personal Property                                                                                                         12/15

 Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all property in
 which the debtor holds rights and powers exercisable for the debtor 's own benefit. Also include assets and properties which have no book value, such as fully
 depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G:
 Executory Contracts and Unexpired Leases (Official Form 206G).

 Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the debtor’s
 name and case number (if known). Also identify the form and line number to which the additional information applies. If an additional sheet is attached,
 include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset schedule or
 depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor’s interest, do not deduct
 the value of secured claims. See the instructions to understand the terms used in this form.

 Part 1:     Cash and cash equivalents

 1. Does the debtor have any cash or cash equivalents?

    þ      No. Go to Part 2.
    ¨      Yes. Fill in the information below.

                                                                                                                                     Current value of debtor's
     All cash or cash equivalents owned or controlled by the debtor
                                                                                                                                     interest

 2. Cash on hand                                                                                                                     $

 3. Checking, savings, money market, or financial brokerage accounts (Identify all)

    Name of institution (bank or brokerage firm)                       Type of account         Last 4 digits of account number

    3.1                                                                                                                              $

    3.2                                                                                                                              $


 4. Other cash equivalents (Identify all)

    4.1                                                                                                                              $

    4.2                                                                                                                              $


 5. Total of Part 1
                                                                                                                                     $                      0.00
     Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.


 Part 2:     Deposits and prepayments

 6. Does the debtor have any deposits or prepayments?

    þ No.Go to Part 3.
                                                                                                                                     Current value of debtor's
    ¨ Yes. Fill in the information below.                                                                                            interest
 7. Deposits, including security deposits and utility deposits

    Description, including name of holder of deposit

    7.1                                                                                                                              $
    7.2                                                                                                                              $



Official Form 206A/B                                      Schedule A/B: Assets - Real and Personal Property                                        Page 1
Debtor                     Case 24-90061 Document 819 Filed in TXSB on 04/23/24
            SEA Operating Company, LLC                                             Page
                                                                            Case number       18 24-90070
                                                                                        (If known) of 123(MI)
            Name



 8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

     Description, including name of holder of prepayment

     8.1                                                                                                                                $

     8.2                                                                                                                                $

 9. Total of Part 2.
                                                                                                                                        $                    0.00
     Add lines 7 through 8. Copy the total to line 81.


 Part 3: Accounts receivable

 10. Does the debtor have any accounts receivable?

     þ       No. Go to Part 4.
     ¨       Yes. Fill in the information below.
                                                                                                                                       Current value of debtor's
                                                                                                                                       interest
 11. Accounts receivable

         11a. 90 days old or less:                                                                                =   ......            $
                                       face amount                       doubtful or uncollectible accounts

         11b. Over 90 days old:                                                                                   =   ......            $
                                       face amount                       doubtful or uncollectible accounts

  12. Total of Part 3
                                                                                                                                        $                    0.00
         Current value on lines 11a + 11b = line 12. Copy the total to line 82.


 Part 4:       Investments

  13. Does the debtor own any investments?

     þ       No. Go to Part 5.
     ¨       Yes. Fill in the information below.                                                              Valuation method         Current value of debtor's
                                                                                                              used for current value   interest

  14. Mutual funds or publicly traded stocks not included in Part 1
         Name of fund or stock:
     14.1                                                                                                                               $

     14.2                                                                                                                               $


 15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
     including any interest in an LLC, partnership, or joint venture
         Name of entity:                                                            % of ownership:
     15.1                                                                                             %                                 $

     15.2                                                                                             %                                 $



 16. Government bonds, corporate bonds, and other negotiable and non-negotiable
     instruments not included in Part 1

         Describe:
     16.1                                                                                                                               $

     16.2                                                                                                                               $



 17. Total of Part 4                                                                                                                    $                    0.00
         Add lines 14 through 16. Copy the total to line 83.




Official Form 206A/B                                     Schedule A/B: Assets - Real and Personal Property                                          Page 2
Debtor                   Case 24-90061 Document 819 Filed in TXSB on 04/23/24
           SEA Operating Company, LLC                                            Page
                                                                          Case number       19 of
                                                                                      (If known)     123(MI)
                                                                                                 24-90070
           Name



 Part 5:       Inventory, excluding agriculture assets

 18. Does the debtor own any inventory (excluding agriculture assets)?

     þ       No. Go to Part 6.
     ¨       Yes. Fill in the information below.
         General Description                              Date of the last          Net book value of   Valuation method    Current value of
                                                          physical inventory        debtor's interest   used for current    debtor's interest
                                                                                    (Where available)   value

     19. Raw materials
                                                                                $                                           $
                                                               MM / DD / YYYY
     20. Work in progress
                                                                                $                                           $
                                                               MM / DD / YYYY
     21. Finished goods, including goods held for resale
                                                                                $                                           $
                                                               MM / DD / YYYY
     22. Other inventory or supplies

                                                                                $                                           $
                                                               MM / DD / YYYY

  23. Total of Part 5.
                                                                                                                            $                    0.00
         Add lines 19 through 22. Copy the total to line 84.

  24. Is any of the property listed in Part 5 perishable?
     ¨       No
     ¨       Yes

  25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed ?

     ¨       No
     ¨       Yes. Book value $                       Valuation method                           Current value $

  26. Has any of the property listed in Part 5 been appraised by a professional within the last year ?

     ¨       No
     ¨       Yes

 Part 6:       Farming and fishing-related assets (other than titled motor vehicles and land)

  27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
     þ       No. Go to Part 7.
     ¨       Yes. Fill in the information below.

         General Description                                                        Net book value of   Valuation method   Current value of debtor's
                                                                                    debtor's interest   used for current   interest
                                                                                    (Where available)   value

  28. Crops-either planted or harvested
                                                                                $                                           $

  29. Farm animals Examples: Livestock, poultry, farm-raised fish
                                                                                $                                           $

  30. Farm machinery and equipment (Other than titled motor vehicles)
                                                                                $                                           $

  31. Farm and fishing supplies, chemicals, and feed
                                                                                $                                           $

  32. Other farming and fishing-related property not already listed in Part 6
                                                                                $                                           $



Official Form 206A/B                                    Schedule A/B: Assets - Real and Personal Property                               Page 3
Debtor                   Case 24-90061 Document 819 Filed in TXSB on 04/23/24
           SEA Operating Company, LLC                                            Page
                                                                          Case number       20 of
                                                                                      (If known)     123(MI)
                                                                                                 24-90070
           Name


 33. Total of Part 6.
                                                                                                                        $                    0.00
         Add lines 28 through 32. Copy the total to line 85.

 34. Is the debtor a member of an agricultural cooperative?

    ¨        No
    ¨        Yes. Is any of the debtor’s property stored at the cooperative?

           ¨       No
           ¨       Yes

 35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

    ¨        No
    ¨        Yes. Book value $                       Valuation method                       Current value $

 36. Is a depreciation schedule available for any of the property listed in Part 6?

    ¨        No
    ¨        Yes

 37. Has any of the property listed in Part 6 been appraised by a professional within the last year ?

    ¨        No
    ¨        Yes

 Part 7:       Office furniture, fixtures, and equipment; and collectibles

 38 Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

    þ        No. Go to Part 8.
    ¨        Yes. Fill in the information below.

         General Description                                                    Net book value of   Valuation method   Current value of debtor's
                                                                                debtor's interest   used for current   interest
                                                                                (Where available)   value

 39. Office furniture
                                                                                $                                       $

 40. Office fixtures
                                                                                $                                       $

 41. Office equipment, including all computer equipment and
     communication systems equipment and software
                                                                                $                                       $

 42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
     artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
     or baseball card collections; other collections, memorabilia, or collectibles
    42.1                                                                        $                                       $
    42.2                                                                        $                                       $
    42.3                                                                        $                                       $

 43. Total of Part 7.
                                                                                                                        $                    0.00
         Add lines 39 through 42. Copy the total to line 86.

 44. Is a depreciation schedule available for any of the property listed in Part 7?

    ¨        No
    ¨        Yes

 45. Has any of the property listed in Part 7 been appraised by a professional within the last year ?

    ¨        No
    ¨        Yes



Official Form 206A/B                                    Schedule A/B: Assets - Real and Personal Property                           Page 4
                         Case 24-90061 Document 819 Filed in TXSB on 04/23/24 Page 21 of 123
Debtor      SEA Operating Company, LLC                                                                       Case number (If known) 24-90070 (MI)
            Name



 Part 8:       Machinery, equipment, and vehicles

 46. Does the debtor own or lease any machinery, equipment, or vehicles?

     þ       No. Go to Part 9.
     ¨        Yes. Fill in the information below.
         General Description                                                       Net book value of   Valuation method              Current value of debtor's
         Include year, make, model, and identification numbers ( i.e., VIN,        debtor's interest   used for current              interest
         HIN, or N-number)                                                         (Where available)   value


 47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

     47.1                                                                      $                                                      $
     47.2                                                                      $                                                      $
     47.3                                                                      $                                                      $
     47.4                                                                      $                                                      $


 48. Watercraft, trailers, motors, and related accessories Examples: Boats,
     trailers, motors, floating homes, personal watercraft, and fishing vessels

     48.1                                                                      $                                                      $
     48.2                                                                      $                                                      $


  49. Aircraft and accessories
     49.1                                                                      $                                                      $
     49.2                                                                      $                                                      $


  50. Other machinery, fixtures, and equipment (excluding farm
      machinery and equipment)

                                                                               $                                                      $



  51. Total of Part 8.
                                                                                                                                      $                      0.00
         Add lines 47 through 50. Copy the total to line 87.


  52. Is a depreciation schedule available for any of the property listed in Part 8?
     ¨        No
     ¨        Yes


  53. Has any of the property listed in Part 8 been appraised by a professional within the last year?

     ¨        No
     ¨        Yes




Official Form 206A/B                                     Schedule A/B: Assets - Real and Personal Property                                          Page 5
Debtor                   Case 24-90061 Document 819 Filed in TXSB on 04/23/24
            SEA Operating Company, LLC                                           Page
                                                                          Case number       22 of
                                                                                      (If known)     123(MI)
                                                                                                 24-90070
            Name



 Part 9: Real property

 54. Does the debtor own or lease any real property?

     ¨ No. Go to Part 10.
     þ Yes. Fill in the information below.
  55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
     Description and location of property                         Nature and extent           Net book value of     Valuation method        Current value of
     Include street address or other description such as          of debtor’s interest        debtor's interest     used for current        debtor's interest
     Assessor Parcel Number (APN), and type of property           in property                 (Where available)     value
     (for example, acreage, factory, warehouse, apartment
     or office building), if available.


     55.1 See Attached Rider                                                              $           73,891.53                             $           73,891.53
     55.2                                                                                 $                                                 $
     55.3                                                                                 $                                                 $
     55.4                                                                                 $                                                 $
     55.5                                                                                 $                                                 $
     55.6                                                                                 $                                                 $

  56. Total of Part 9.
                                                                                                                                            $           73,891.53
         Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.
  57. Is a depreciation schedule available for any of the property listed in Part 9?

     þ No
     ¨ Yes
  58. Has any of the property listed in Part 9 been appraised by a professional within the last year ?

     þ No
     ¨ Yes
Part 10: Intangibles and intellectual property

  59. Does the debtor have any interests in intangibles or intellectual property?
     ¨       No. Go to Part 11.
     þ       Yes. Fill in the information below.

         General Description                                                           Net book value of     Valuation method          Current value of debtor's
                                                                                       debtor's interest     used for current          interest
                                                                                       (Where available)     value

  60. Patents, copyrights, trademarks, and trade secrets
     TRADEMARK - SHORE PARTNERS APPLICATION #: 90/339118 (UNITED
                                                              $ STATES
                                                                  Undetermined
                                                                       OF AMERICA)
                                                                                 N/A                                                    $           Undetermined

  61. Internet domain names and websites
     None                                                                          $                                                    $                       0.00

  62. Licenses, franchises, and royalties
     PLEASE REFER TO THE GLOBAL NOTES                                              $                                                    $

  63. Customer lists, mailing lists, or other compilations
     CUSTOMER LISTING                                                              $          Undetermined        N/A                   $           Undetermined

  64. Other intangibles, or intellectual property
     None                                                                          $                                                    $                       0.00

  65. Goodwill
     GOODWILL                                                                      $          Undetermined        N/A                   $           Undetermined

  66. Total of Part 10.
                                                                                                                                            $       Undetermined
         Add lines 60 through 65. Copy the total to line 89.

  *Plus Undetermined Amounts

Official Form 206A/B                                        Schedule A/B: Assets - Real and Personal Property                                       Page 6
Debtor                   Case 24-90061 Document 819 Filed in TXSB on 04/23/24
            SEA Operating Company, LLC                                           Page
                                                                          Case number       23 of
                                                                                      (If known)     123(MI)
                                                                                                 24-90070
            Name


  67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
     þ No
     ¨ Yes
  68. Is there an amortization or other similar schedule available for any of the property listed in Part 10 ?
     þ No
     ¨ Yes
  69. Has any of the property listed in Part 10 been appraised by a professional within the last year ?
     þ No
     ¨ Yes
Part 11: All other assets

  70. Does the debtor own any other assets that have not yet been reported on this form?
         Include all interests in executory contracts and unexpired leases not previously reported on this form.

     ¨ No. Go to Part 12.
     þ Yes. Fill in the information below.                                                                                               Current value of
                                                                                                                                         debtor's interest
  71. Notes receivable
         Description (include name of obligor)
         None                                                                                                                    =   $                   0.00
                                                                          Total Face Amount   Doubtful or uncollectible Amount

  72. Tax refunds and unused net operating losses (NOLs)
         Description (for example, federal, state, local)
         None                                                                                                  Tax Year              $                   0.00
                                                                                                               Tax Year              $
                                                                                                               Tax Year              $

  73. Interests in insurance policies or annuities
         PLEASE REFER TO HORNBLOWER HOLDINGS LLC SCHEDULE AB QUESTION 73                                                             $

  74. Causes of action against third parties (whether or not a lawsuit
      has been filed)
         None                                                                                                                        $                   0.00

         Nature of Claim
         Amount Requested          $

  75. Other contingent and unliquidated claims or causes of action of
      every nature, including counterclaims of the debtor and rights to
      set off claims
         None                                                                                                                        $                   0.00

         Nature of Claim
         Amount Requested          $

  76. Trusts, equitable or future interests in property
         None                                                                                                                        $                   0.00

  77. Other property of any kind not already listed Examples: Season tickets,
      country club membership
         See Attached Rider                                                                                                          $           3,126,852.79
                                                                                                                                     $

  78. Total of Part 11.
                                                                                                                                     $           3,126,852.79
         Add lines 71 through 77. Copy the total to line 90.

  79. Has any of the property listed in Part 11 been appraised by a professional within the last year ?
     þ No
     ¨ Yes
  *Plus Undetermined Amounts


Official Form 206A/B                                        Schedule A/B: Assets - Real and Personal Property                                   Page 7
                           Case 24-90061 Document 819 Filed in TXSB on 04/23/24 Page 24 of 123
Debtor     SEA Operating Company, LLC                                                                                          Case number (If known)   24-90070 (MI)
           Name



 Part 12: Summary

 In Part 12 copy all of the totals from the earlier parts of the form.


                                                                                                            Current value of                      Current value
         Type of Property
                                                                                                            personal property                    of real property


  80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                   $                   0.00

  81. Deposits and prepayments. Copy line 9, Part 2.                                                       $                   0.00

  82. Accounts receivable. Copy line 12, Part 3.                                                           $                   0.00

  83. Investments. Copy line 17, Part 4.                                                                   $                   0.00

  84. Inventory. Copy line 23, Part 5.                                                                     $                   0.00

  85. Farming and fishing-related assets. Copy line 33, Part 6.                                            $                   0.00

  86. Office furniture, fixtures, and equipment; and collectibles.                                         $                   0.00
         Copy line 43, Part 7.
  87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                            $                   0.00

  88. Real property. Copy line 56, Part 9. . ...............................................................................                     $73,891.53

  89. Intangibles and intellectual property. Copy line 66, Part 10.                                        $         Undetermined

  90. All other assets. Copy line 78, Part 11.                                                             $          3,126,852.79

  91. Total. Add lines 80 through 90 for each column..............................91a.                     $         3,126,852.79*    + 91b.     $73,891.53




  92. Total of all property on Schedule A/B. Lines 91a + 91b = 92................................................................................................       $   3,200,744.32*



  *Plus Undetermined Amounts




Official Form 206A/B                                                Schedule A/B: Assets - Real and Personal Property                                                        Page 8
                         Case 24-90061 Document 819 Filed in TXSB on 04/23/24 Page 25 of 123
Debtor Name: SEA Operating Company, LLC                                                                                     Case Number: 24-90070 (MI)

                                                                 Assets - Real and Personal Property

               Part 9, Question 55: Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest



Description and location of property                   Nature and extent        Net book value of      Valuation method         Current value of
Include street address or other description such as    of debtor’s interest     debtor's interest      used for current         debtor's interest
Assessor Parcel Number (APN), and type of property     in property              (Where available)      value
(for example, acreage, factory, warehouse, apartment
or office building), if available.

BUILDINGS, LAND, & LEASEHOLD                           REAL PROPERTY                    $73,891.53 NET BOOK VALUE                                    $73,891.53
IMPROVEMENTS

                                                                                                       TOTAL                                         $73,891.53




                                                                              Page 1 of 1
                   Case 24-90061 Document 819 Filed in TXSB on 04/23/24 Page 26 of 123
Debtor Name: SEA Operating Company, LLC                                                                         Case Number: 24-90070 (MI)

                                                        Assets - Real and Personal Property


                                          Part 11, Question 77: Other property of any kind not already listed



Other property of any kind not already listed                                      Current value of debtor's
Examples: Season tickets, country club membership                                  interest
INTERCOMPANY RECEIVABLE FROM AMERICAN QUEEN STEAMBOAT                                                                            $2,501,896.92
OPERATING COMPANY, LLC
INTERCOMPANY RECEIVABLE FROM HORNBLOWER GROUP, INC.                                                                                $624,955.87


TOTAL                                                                                                                            $3,126,852.79




                                                                     Page 1 of 1
                   Case 24-90061
 Fill in this information              Document
                          to identify the case: 819                                       Filed in TXSB on 04/23/24 Page 27 of 123

 Debtor name        SEA Operating Company, LLC

 United States Bankruptcy Court for the:           Southern District of Texas, Houston Division                                                        ¨ Check if this is an
                                                                                                                                                             amended filing
 Case number (If known):          24-90070 (MI)


 Official Form 206D
 Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                12/15
 Be as complete and accurate as possible.
 1. Do any creditors have claims secured by debtor's property?
      ¨ No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
      þ Yes. Fill in all of the information below.
 Part 1: List Creditors Who Have Secured Claims
                                                                                                                                   Column A                  Column B
  2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one                             Amount of Claim           Value of collateral
     secured claim, list the creditor separately for each claim.                                                                   Do not deduct the value   that supports this
                                                                                                                                   of collateral.            claim
2.1     Creditor's name                                              Describe debtor’s property that is subject to a lien
        ALTER DOMUS (US) LLC                                        AS OUTLINED IN THE CREDIT AGREEMENT
                                                                                                                                   $        Undetermined     $        Undetermined

        Creditor's mailing address
        ATTENTION: CHRIS CAPEZUTI
        225 W. WASHINGTON ST., 9TH FLOOR
        CHICAGO, IL 60606                                            Describe the lien
                                                                    GUARANTOR OF INCREMENTAL SUPERPRIORITY FACILITY


        Creditor's email address, if known                           Is the creditor an insider or related party?
        CPCAGENCY@ALTERDOMUS.COM                                     þ No
                                                                     ¨ Yes
        Date debt was incurred             11/17/2023
                                                                     Is anyone else liable on this claim?
        Last 4 digits of account                                     ¨ No
        number
                                                                     þ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
        Do multiple creditors have an interest in the
        same property?                                               As of the petition filing date, the claim is:
                                                                     Check all that apply.
        ¨ No
        þ Yes. Specify each creditor, including this                 þ Contingent
            creditor, and its relative priority.                     þ Unliquidated
                  SEE SCHEDULE D DISCLOSURES                         ¨ Disputed
2.2     Creditor's name                                              Describe debtor’s property that is subject to a lien
        ALTER DOMUS (US) LLC                                         AS OUTLINED IN THE CREDIT AGREEMENT
                                                                                                                                   $        Undetermined     $        Undetermined
        Creditor's mailing address
        ATTENTION: LEGAL DEPARTMENT
        225 W. WASHINGTON ST., 9TH FLOOR
        CHICAGO, IL 60606                                            Describe the lien
                                                                     GUARANTOR OF SUPERPRIORITY FACILITY

        Creditor's email address, if known                           Is the creditor an insider or related party?
        LEGAL@ALTERDOMUS.COM                                         þ No
                                                                     ¨ Yes
        Date debt was incurred             11/10/2020
                                                                     Is anyone else liable on this claim?
        Last 4 digits of account                                     ¨ No
        number
                                                                     þ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
        Do multiple creditors have an interest in the
        same property?                                               As of the petition filing date, the claim is:
                                                                     Check all that apply.
        ¨ No
        þ Yes. Have you already specified the relative               þ Contingent
            priority?                                                þ Unliquidated
            þ No. Specify each creditor, including this              ¨ Disputed
                      creditor, and its relative priority.
                    SEE SCHEDULE D DISCLOSURES

            ¨ Yes. The relative priority of creditors is
                       specified on lines

  3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                                              $




       Official Form 206D                                   Schedule D: Creditors Who Have Claims Secured by Property                                              Page 1 of 5
                          Case 24-90061 Document 819 Filed in TXSB on 04/23/24 Page 28 of 123
Debtor     SEA Operating Company, LLC                                                                     Case number (If known): 24-90070 (MI)
           Name


                                                                                                                                 Column A                Column B
   Part 1:         Additional Page                                                                                               Amount of Claim         Value of collateral
                                                                                                                                 Do not deduct the value that supports this
   Copy this page only if more space is needed.Continue numbering the lines sequentially                                         of collateral.          claim
   from the previous page.

2.3      Creditor's name                                     Describe debtor’s property that is subject to a lien
         ALTER DOMUS (US) LLC, AS COLLATERAL                 AS PROVIDED IN THE UCC FINANCING STATEMENT
         AGENT
                                                                                                                                  $        Undetermined $         Undetermined
         Creditor's mailing address
         225 W. WASHINGTON ST.
         9TH FLOOR
         CHICAGO, IL 60606                                   Describe the lien
                                                            UCC FINANCING STATEMENT: 20207918784


         Creditor's email address, if known
                                                              Is the creditor an insider or related party?

                                                              þ No
                                                              ¨ Yes
         Date debt was incurred
         Last 4 digits of account
                                                              Is anyone else liable on this claim?
         number
                                                              þ No
                                                              ¨ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                              As of the petition filing date, the claim is:
         ¨ No                                                 Check all that apply.
         þ Yes. Have you already specified the relative
                  priority?                                   þ Contingent
                                                              þ Unliquidated
             þ No. Specify each creditor, including this      ¨ Disputed
                     creditor, and its relative priority.
                    SEE SCHEDULE D DISCLOSURES


             ¨ Yes. The relative priority of creditors is
                       specified on lines


2.4      Creditor's name                                     Describe debtor’s property that is subject to a lien
         GLAS TRUST COMPANY LLC                              AS OUTLINED IN THE CREDIT AGREEMENT

                                                                                                                                  $        Undetermined $         Undetermined
         Creditor's mailing address
         3 SECOND STREET, SUITE 206
         JERSEY CITY, NJ 07311
                                                             Describe the lien
                                                            GUARANTOR OF FIRST LIEN TERM FACILITY


         Creditor's email address, if known
                                                              Is the creditor an insider or related party?

                                                              þ No
                                                              ¨ Yes
         Date debt was incurred           4/27/2018
         Last 4 digits of account
                                                              Is anyone else liable on this claim?
         number
                                                              ¨ No
                                                              þ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                              As of the petition filing date, the claim is:
         ¨ No                                                 Check all that apply.
         þ Yes. Have you already specified the relative
                  priority?                                   þ Contingent
                                                              þ Unliquidated
             þ No. Specify each creditor, including this      ¨ Disputed
                     creditor, and its relative priority.
                    SEE SCHEDULE D DISCLOSURES


             ¨ Yes. The relative priority of creditors is
                       specified on lines




         Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   Page 2 of 5
                          Case 24-90061 Document 819 Filed in TXSB on 04/23/24 Page 29 of 123
Debtor     SEA Operating Company, LLC                                                                     Case number (If known): 24-90070 (MI)
           Name


                                                                                                                                 Column A                Column B
   Part 1:         Additional Page                                                                                               Amount of Claim         Value of collateral
                                                                                                                                 Do not deduct the value that supports this
   Copy this page only if more space is needed.Continue numbering the lines sequentially                                         of collateral.          claim
   from the previous page.

2.5      Creditor's name                                     Describe debtor’s property that is subject to a lien
         GLAS TRUST COMPANY LLC                              AS OUTLINED IN THE CREDIT AGREEMENT

                                                                                                                                  $        Undetermined $         Undetermined
         Creditor's mailing address
         3 SECOND STREET, SUITE 206
         JERSEY CITY, NJ 07311
                                                             Describe the lien
                                                            GUARANTOR OF REVOLVER TERM-OUT FACILITY


         Creditor's email address, if known
                                                              Is the creditor an insider or related party?

                                                              þ No
                                                              ¨ Yes
         Date debt was incurred           4/27/2018
         Last 4 digits of account
                                                              Is anyone else liable on this claim?
         number
                                                              ¨ No
                                                              þ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                              As of the petition filing date, the claim is:
         ¨ No                                                 Check all that apply.
         þ Yes. Have you already specified the relative
                  priority?                                   þ Contingent
                                                              þ Unliquidated
             þ No. Specify each creditor, including this      ¨ Disputed
                     creditor, and its relative priority.
                    SEE SCHEDULE D DISCLOSURES


             ¨ Yes. The relative priority of creditors is
                       specified on lines


2.6      Creditor's name                                     Describe debtor’s property that is subject to a lien
         UBS AG, STAMFORD BRANCH                             AS OUTLINED IN THE CREDIT AGREEMENT

                                                                                                                                  $        Undetermined $         Undetermined
         Creditor's mailing address
         ATTENTION: AGENCY GROUP
         600 WASHINGTON BOULEVARD
         STAMFORD, CT 06901                                  Describe the lien
                                                            GUARANTOR OF REVOLVER FACILITY


         Creditor's email address, if known
                                                              Is the creditor an insider or related party?
         AGENCY-UBSAMERICAS@UBS.COM
                                                              þ No
                                                              ¨ Yes
         Date debt was incurred           5/13/2020
         Last 4 digits of account
                                                              Is anyone else liable on this claim?
         number
                                                              ¨ No
                                                              þ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                              As of the petition filing date, the claim is:
         ¨ No                                                 Check all that apply.
         þ Yes. Have you already specified the relative
                  priority?                                   þ Contingent
                                                              þ Unliquidated
             þ No. Specify each creditor, including this      ¨ Disputed
                     creditor, and its relative priority.
                    SEE SCHEDULE D DISCLOSURES


             ¨ Yes. The relative priority of creditors is
                       specified on lines




         Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   Page 3 of 5
                          Case 24-90061 Document 819 Filed in TXSB on 04/23/24 Page 30 of 123
Debtor     SEA Operating Company, LLC                                                                     Case number (If known): 24-90070 (MI)
           Name


                                                                                                                                 Column A                Column B
   Part 1:         Additional Page                                                                                               Amount of Claim         Value of collateral
                                                                                                                                 Do not deduct the value that supports this
   Copy this page only if more space is needed.Continue numbering the lines sequentially                                         of collateral.          claim
   from the previous page.

2.7      Creditor's name                                     Describe debtor’s property that is subject to a lien
         UBS AG, STAMFORD BRANCH, AS                         AS PROVIDED IN THE UCC FINANCING STATEMENT
         COLLATERAL AGENT
                                                                                                                                  $        Undetermined $         Undetermined
         Creditor's mailing address
         600 WASHINGTON BOULEVARD
         STAMFORD, CT 06901
                                                             Describe the lien
                                                            UCC FINANCING STATEMENT: 20207892989


         Creditor's email address, if known
                                                              Is the creditor an insider or related party?

                                                              þ No
                                                              ¨ Yes
         Date debt was incurred
         Last 4 digits of account
                                                              Is anyone else liable on this claim?
         number
                                                              þ No
                                                              ¨ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                              As of the petition filing date, the claim is:
         ¨ No                                                 Check all that apply.
         þ Yes. Have you already specified the relative
                  priority?                                   þ Contingent
                                                              þ Unliquidated
             þ No. Specify each creditor, including this      ¨ Disputed
                     creditor, and its relative priority.
                    SEE SCHEDULE D DISCLOSURES


             ¨ Yes. The relative priority of creditors is
                       specified on lines


2.8      Creditor's name                                     Describe debtor’s property that is subject to a lien
         UBS AG, STAMFORD BRANCH, AS                         AS PROVIDED IN THE UCC FINANCING STATEMENT
         COLLATERAL AGENT
                                                                                                                                  $        Undetermined $         Undetermined
         Creditor's mailing address
         600 WASHINGTON BOULEVARD
         STAMFORD, CT 06901
                                                             Describe the lien
                                                            UCC FINANCING STATEMENT: 20213630127


         Creditor's email address, if known
                                                              Is the creditor an insider or related party?

                                                              þ No
                                                              ¨ Yes
         Date debt was incurred
         Last 4 digits of account
                                                              Is anyone else liable on this claim?
         number
                                                              þ No
                                                              ¨ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                              As of the petition filing date, the claim is:
         ¨ No                                                 Check all that apply.
         þ Yes. Have you already specified the relative
                  priority?                                   þ Contingent
                                                              þ Unliquidated
             þ No. Specify each creditor, including this      ¨ Disputed
                     creditor, and its relative priority.
                    SEE SCHEDULE D DISCLOSURES


             ¨ Yes. The relative priority of creditors is
                       specified on lines




         Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   Page 4 of 5
                     Case 24-90061 Document 819 Filed in TXSB on 04/23/24 Page 31 of 123
 Debtor    SEA Operating Company, LLC                                                                   Case number (If known):     24-90070 (MI)
           Name



Part 2:        List Others to Be Notified for a Debt Already Listed in Part 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                                         On which line in Part 1         Last 4 digits of
   Name and address                                                                                                      did you enter the               account number
                                                                                                                         related creditor?               for this entity

   ALTER DOMUS (US) LLC
   ATTENTION: LEGAL DEPARTMENT                                                                                         Line 2.      1
   225 W. WASHINGTON ST., 9TH FLOOR
   CHICAGO, IL 60606


   ALTER DOMUS (US) LLC
   C/O NORTON ROSE FULBRIGHT US LLP                                                                                    Line 2.      1
   ATTENTION: H. STEPHEN CASTRO
   1301 6TH AVENUE
   NEW YORK, NY 10019

   ALTER DOMUS (US) LLC
   MILBANK LLP                                                                                                         Line 2.      1
   ATTENTION: MAYA GRANT
   55 HUDSON YARDS
   NEW YORK, NY 10001

   ALTER DOMUS (US) LLC
   ATTENTION: STEVE LENARD                                                                                             Line 2.      2
   225 W. WASHINGTON ST., 9TH FLOOR
   CHICAGO, IL 60606


   ALTER DOMUS (US) LLC
   C/O NORTON ROSE FULBRIGHT US LLP                                                                                    Line 2.      2
   ATTENTION: H. STEPHEN CASTRO
   1301 6TH AVENUE
   NEW YORK, NY 10019

   ALTER DOMUS (US) LLC
   C/O SHEARMAN & STERLING LLP                                                                                         Line 2.      2
   ATTENTION: TOMASZ KULAWIK
   599 LEXINGTON AVENUE
   NEW YORK, NY 10022-6069

   ALTER DOMUS (US) LLC
   C/O SHEARMAN & STERLING LLP                                                                                         Line 2.      2
   ATTENTION: JOEL MOSS
   599 LEXINGTON AVENUE
   NEW YORK, NY 10022-6069

   ALTER DOMUS (US) LLC
   C/O SHEARMAN & STERLING LLP                                                                                         Line 2.      2
   ATTENTION: NED SCHODEK
   599 LEXINGTON AVENUE
   NEW YORK, NY 10022-6069

   GLAS TRUST COMPANY LLC
   ATTENTION: JEFFREY R. GLEIT                                                                                         Line 2.      4
   C/O ARENTFOX SCHIFF LLP
   1301 AVENUE OF THE AMERICAS, 42ND FLOOR
   NEW YORK, NY 10019

   GLAS TRUST COMPANY LLC
   ATTENTION: JEFFREY R. GLEIT                                                                                         Line 2.      5
   C/O ARENTFOX SCHIFF LLP
   1301 AVENUE OF THE AMERICAS, 42ND FLOOR
   NEW YORK, NY 10019

   UBS AG, STAMFORD BRANCH
   C/O CAHILL GORDON & REINDEL LLP                                                                                     Line 2.      6
   32 OLD SLIP
   NEW YORK, NY 10005



    Official Form 206D                  Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                        Page 5 of 5
                       Case 24-90061 Document 819 Filed in TXSB on 04/23/24 Page 32 of 123
   Fill in this information to identify the case:

    Debtor       SEA Operating Company, LLC


    United States Bankruptcy Court for the:   Southern District of Texas, Houston Division
                                                                                                                                            ¨ Check if this is an
    Case number      24-90070 (MI)                                                                                                                amended filing
    (If known)




 Official Form 206E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                           12/15
 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured
 claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets -
 Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the
 entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this
 form.


 Part 1:         List All Creditors with PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
    þ No. Go to Part 2.
    ¨ Yes. Go to line 2.

 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more
    than 3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                         Total claim          Priority amount
2.1 Priority creditor’s name and mailing address                     As of the petition filing date, the claim is:   $                        $
                                                                     Check all that apply.
                                                                     ¨ Contingent
                                                                     ¨ Unliquidated
                                                                     ¨ Disputed
                                                                     Basis for the claim:
    Date or dates debt was incurred

    Last 4 digits of account
    number                                                           Is the claim subject to offset?
    SpecifyCode subsection of PRIORITY unsecured                     ¨ No
    claim: 11 U.S.C. § 507(a) ()                                     ¨ Yes
2.2 Priority creditor’s name and mailing address                     As of the petition filing date, the claim is:   $                        $
                                                                     Check all that apply.
                                                                     ¨ Contingent
                                                                     ¨ Unliquidated
                                                                     ¨ Disputed
                                                                     Basis for the claim:
    Date or dates debt was incurred

    Last 4 digits of account
    number                                                           Is the claim subject to offset?
    SpecifyCode subsection of PRIORITY unsecured                     ¨ No
    claim: 11 U.S.C. § 507(a) ()                                     ¨ Yes
2.3 Priority creditor’s name and mailing address                     As of the petition filing date, the claim is:   $                        $
                                                                     Check all that apply.
                                                                     ¨ Contingent
                                                                     ¨ Unliquidated
                                                                     ¨ Disputed
                                                                     Basis for the claim:
    Date or dates debt was incurred

    Last 4 digits of account
    number                                                           Is the claim subject to offset?
    SpecifyCode subsection of PRIORITY unsecured                     ¨ No
    claim: 11 U.S.C. § 507(a) ()                                     ¨ Yes


  Official Form 206E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1 of 4
  Debtor            Case 24-90061 Document 819 Filed in TXSB on Case
             SEA Operating Company, LLC                         04/23/24          Page24-90070
                                                                     number (If known) 33 of(MI)
                                                                                               123
             Name


 Part 2:     List All Creditors with NONPRIORITY Unsecured Claims
 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                        Amount of claim
3.1   Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
      CHESAPEAKE BANK                                                   Check all that apply.                            $                  Undetermined
      5000 FOUNDATION ST                                                þ Contingent
      WILLIAMSBURG, VA 23188
                                                                        þ Unliquidated
                                                                        ¨ Disputed
                                                                        Basis for the claim: POTENTIAL CLAIM PURSUANT TO MERCHANT
                                                                        AGREEMENT
      Date or dates debt was incurred                                   Is the claim subject to offset?
                                                UNDETERMINED
                                                                        þ No
      Last 4 digits of account number                                   ¨ Yes
3.2   Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
      HMS FERRIES, INC.                                                 Check all that apply.                            $                        17,262.00
      PIER 3, THE EMBARCADERO                                           ¨ Contingent
      SAN FRANCISCO, CA 94111
                                                                        ¨ Unliquidated
                                                                        ¨ Disputed
                                                                        Basis for the claim: INTERCOMPANY PAYABLE TO HMS FERRIES, INC.

      Date or dates debt was incurred                                   Is the claim subject to offset?
                                                UNDETERMINED
                                                                        þ No
      Last 4 digits of account number                                   ¨ Yes
3.3   Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
      HORNBLOWER CRUISES AND EVENTS, LLC                                Check all that apply.                            $                         8,972.82
      455 N. CITYFRONT PLAZA DR., STE. 2600                             ¨ Contingent
      CHICAGO, IL 60611
                                                                        ¨ Unliquidated
                                                                        ¨ Disputed
                                                                        Basis for the claim: INTERCOMPANY PAYABLE TO HORNBLOWER CRUISES
                                                                        AND EVENTS, LLC
      Date or dates debt was incurred                                   Is the claim subject to offset?
                                                UNDETERMINED
                                                                        þ No
      Last 4 digits of account number                                   ¨ Yes
3.4   Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
      NATIONAL DISCOUNT MERCHANT SERVICES                               Check all that apply.                            $                  Undetermined
      1140 HIGHLAND AVE.                                                þ Contingent
      MANHATTAN BEACH, CA 90266
                                                                        þ Unliquidated
                                                                        ¨ Disputed
                                                                        Basis for the claim: POTENTIAL CLAIM PURSUANT TO MERCHANT
                                                                        AGREEMENT
      Date or dates debt was incurred                                   Is the claim subject to offset?
                                                UNDETERMINED
                                                                        þ No
      Last 4 digits of account number                                   ¨ Yes
3.5   Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
      STRIPE, INC.                                                      Check all that apply.                            $                  Undetermined
      354 OYSTER POINT BLVD                                             þ Contingent
      SOUTH SAN FRANCISCO, CA 94080
                                                                        þ Unliquidated
                                                                        ¨ Disputed
                                                                        Basis for the claim: POTENTIAL CLAIM PURSUANT TO MERCHANT
                                                                        PROCESSING AGREEMENT
      Date or dates debt was incurred                                   Is the claim subject to offset?
                                                UNDETERMINED
                                                                        þ No
      Last 4 digits of account number                                   ¨ Yes
3.6   Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
                                                                        Check all that apply.                            $
                                                                        ¨ Contingent
                                                                        ¨ Unliquidated
                                                                        ¨ Disputed
                                                                        Basis for the claim:

      Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                        ¨ No
      Last 4 digits of account number                                   ¨ Yes




  Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 2 of 4
                       Case 24-90061 Document 819 Filed in TXSB on 04/23/24 Page 34 of 123
   Debtor     SEA Operating Company, LLC                                                                  Case number (If known):    24-90070 (MI)
              Name



Part 3:       List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.


                                                                                                                                                           Last 4 digits of
         Name and mailing address                                                                            On which line in Part 1 or Part 2 is the
                                                                                                                                                           account number, if
                                                                                                             related creditor (if any) listed?
                                                                                                                                                           any

 4.1                                                                                                         Line

                                                                                                             ¨ Not listed. Explain



 4.2                                                                                                         Line

                                                                                                             ¨ Not listed. Explain



 4.3                                                                                                         Line

                                                                                                             ¨ Not listed. Explain



 4.4                                                                                                         Line

                                                                                                             ¨ Not listed. Explain



 4.5                                                                                                         Line

                                                                                                             ¨ Not listed. Explain



 4.6                                                                                                         Line

                                                                                                             ¨ Not listed. Explain



 4.7                                                                                                         Line

                                                                                                             ¨ Not listed. Explain



 4.8                                                                                                         Line

                                                                                                             ¨ Not listed. Explain



 4.9                                                                                                         Line

                                                                                                             ¨ Not listed. Explain




   Official Form 206E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 3 of 4
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     Part 4:    Total Amounts of the Priority and Nonpriority Unsecured Claims


5.      Add the amounts of priority and nonpriority unsecured claims.




                                                                                                        Total of claim amounts



5a.     Total claims from Part 1                                                             5a.        $                           0.00




5b.     Total claims from Part 2                                                             5b.    +   $                     26,234.82
                                                                                                                    + Undetermined Amounts




5c.     Total of Parts 1 and 2                                                               5c.        $                     26,234.82
        Lines 5a + 5b = 5c.                                                                                         + Undetermined Amounts




      Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                        Page 4 of 4
                        Case 24-90061 Document 819 Filed in TXSB on 04/23/24 Page 36 of 123
  Fill in this information to identify the case:

  Debtor name      SEA Operating Company, LLC

  United States Bankruptcy Court for the:   Southern District of Texas, Houston Division
                                                                                                                                        þ Check if this is an
  Case number (If known):      24-90070 (MI)                                                                                                amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                   12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
     ¨ No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
     þ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
         Form 206A/B).
 2. List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease
                                                SHORE EXCURSIONS SERVICE
         State what the contract or             AGREEMENT AND ALL RELATED                   A. E. SEAMAN MINERAL MUSEUM
 2.1     lease is for and the nature            AGREEMENTS                                  1404 SHARON AVE
         of the debtor’s interest                                                           HOUGHTON, MI 49931

         State the term remaining               UNDETERMINED
         List the contract number of
         any government contract

                                                SHORE EXCURSIONS SERVICE
         State what the contract or             AGREEMENT DATED 04/21/2023 AND              ALASKA WATERS, INC.
 2.2     lease is for and the nature            ALL RELATED AGREEMENTS                      P.O. BOX 1978
         of the debtor’s interest                                                           WRANGELL, AK 99929

         State the term remaining               UNDETERMINED
         List the contract number of
         any government contract

                                                SHORE EXCURSIONS SERVICE
         State what the contract or             AGREEMENT DATED 03/14/2023 AND              ALL ABOUT NIAGARA
 2.3     lease is for and the nature            ALL RELATED AGREEMENTS                      27 CLOVERCREST ROAD
         of the debtor’s interest                                                           NORTH YORK, ON M2J 1Z5
                                                                                            CANADA
         State the term remaining               UNDETERMINED
         List the contract number of
         any government contract

                                                SHORE EXCURSIONS SERVICE
         State what the contract or             AGREEMENT DATED 03/27/2023 AND              ALL ABOUT TORONTO
 2.4     lease is for and the nature            ALL RELATED AGREEMENTS                      27 CLOVERCREST ROAD
         of the debtor’s interest                                                           NORTH YORK, ON M2J 1Z5
                                                                                            CANADA
         State the term remaining               UNDETERMINED
         List the contract number of
         any government contract

                                                INTERCOMPANY INTELLECTUAL
         State what the contract or             PROPERTY LICENSE AGREEMENT                  AMERICAN QUEEN STEAMBOAT OPERATING COMPANY, LLC
 2.5     lease is for and the nature            DATED 01/01/2021 AND ALL RELATED            2400 E. COMMERCIAL BLVD., STE. 1200
         of the debtor’s interest               AGREEMENTS                                  FORT LAUDERDALE, FL 33308

         State the term remaining               UNDETERMINED
         List the contract number of
         any government contract




Official Form 206G                                      Schedule G: Executory Contracts and Unexpired Leases                                    Page 1 of 27
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               Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

        Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           INTERCOMPANY INTELLECTUAL
           State what the contract or      PROPERTY LICENSE AGREEMENT       AMERICAN QUEEN STEAMBOAT OPERATING COMPANY, LLC
 2.6       lease is for and the nature     DATED 01/01/2021 AND ALL RELATED 2400 E. COMMERCIAL BLVD., STE. 1200
           of the debtor’s interest        AGREEMENTS                       FORT LAUDERDALE, FL 33308

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           INTERCOMPANY INTELLECTUAL
           State what the contract or      PROPERTY LICENSE AGREEMENT       AMERICAN QUEEN STEAMBOAT OPERATING COMPANY, LLC
 2.7       lease is for and the nature     DATED 01/01/2021 AND ALL RELATED 2400 E. COMMERCIAL BLVD., STE. 1200
           of the debtor’s interest        AGREEMENTS                       FORT LAUDERDALE, FL 33308

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           INTERCOMPANY SERVICES
           State what the contract or      AGREEMENT DATED 01/01/2021 AND AMERICAN QUEEN STEAMBOAT OPERATING COMPANY, LLC
 2.8       lease is for and the nature     ALL RELATED AGREEMENTS         2400 E. COMMERCIAL BLVD., STE. 1200
           of the debtor’s interest                                       FORT LAUDERDALE, FL 33308

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           INTERCOMPANY INTELLECTUAL
           State what the contract or      PROPERTY LICENSE AGREEMENT       AMERICAN QUEEN STEAMBOAT OPERATING COMPANY, LLC
 2.9       lease is for and the nature     DATED 01/01/2021 AND ALL RELATED 2400 E. COMMERCIAL BLVD., STE. 1200
           of the debtor’s interest        AGREEMENTS                       FORT LAUDERDALE, FL 33308

           State the term remaining
           List the contract number of
           any government contract

                                           INTERCOMPANY SERVICES
           State what the contract or      AGREEMENT DATED 09/30/2020 AND AMERICAN QUEEN STEAMBOAT OPERATING COMPANY, LLC
 2.10      lease is for and the nature     ALL RELATED AGREEMENTS         2400 E. COMMERCIAL BLVD., STE. 1200
           of the debtor’s interest                                       FORT LAUDERDALE, FL 33308

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           INTERCOMPANY SERVICES
           State what the contract or      AGREEMENT DATED 09/30/2022 AND AMERICAN QUEEN STEAMBOAT OPERATING COMPANY, LLC
 2.11      lease is for and the nature     ALL RELATED AGREEMENTS         2400 E. COMMERCIAL BLVD., STE. 1200
           of the debtor’s interest                                       FORT LAUDERDALE, FL 33308

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
           State what the contract or      AGREEMENT DATED 01/11/2023 AND ANCHUCA HISTORIC MANSION
 2.12      lease is for and the nature     ALL RELATED AGREEMENTS         1010 FIRST E ST
           of the debtor’s interest                                       VICKSBURG, MS 39183

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract



Official Form 206G                             Schedule G: Executory Contracts and Unexpired Leases                             Page 2 of 27
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               Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

        Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           TRAVEL RETAILER AGREEMENT
           State what the contract or      DATED 12/22/2020 AND ALL RELATED ARCH INSURANCE SOLUTIONS INC.
 2.13      lease is for and the nature     AGREEMENTS                       26225 NETWORK PLACE
           of the debtor’s interest                                         CHICAGO, IL 60673-1261

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
           State what the contract or      AGREEMENT DATED 02/01/2023 AND ASTORIA COLUMN
 2.14      lease is for and the nature     ALL RELATED AGREEMENTS         1 COXCOMB DR.
           of the debtor’s interest                                       ASTORIA, OR 97103

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
           State what the contract or      AGREEMENT DATED 02/10/2023 AND AUGUSTA / BRACKEN COUNTY TOURISM
 2.15      lease is for and the nature     ALL RELATED AGREEMENTS         219 MAIN STREET
           of the debtor’s interest                                       PO BOX 85
                                                                          AUGUSTA, KY 41002
           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SERVICE AGREEMENT DATED
           State what the contract or      03/30/2023 AND ALL RELATED         BBW INTERNATIONAL INC
 2.16      lease is for and the nature     AGREEMENTS                         29 HARSHAW AVENUE
           of the debtor’s interest                                           TORONTO, ON M6S 1X9
                                                                              CANADA
           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SERIES SALES AGREEMENT DATED
           State what the contract or      05/24/2023 AND ALL RELATED   BDC (EMPRESS HOTEL) INVESTMENT CORPORATION
 2.17      lease is for and the nature     AGREEMENTS                   721 GOVERNMENT STREET
           of the debtor’s interest                                     VICTORIA, BC V8W 1W5
                                                                        CANADA
           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           2024 TOUR GROUP SERIES SALES
           State what the contract or      AGREEMENT DATED 05/01/2024 AND BDC (EMPRESS HOTEL) INVESTMENT CORPORATION
 2.18      lease is for and the nature     ALL RELATED AGREEMENTS         721 GOVERNMENT STREET
           of the debtor’s interest                                       VICTORIA, BC V8W 1W5
                                                                          CANADA
           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
           State what the contract or      AGREEMENT DATED 01/20/2023 AND BROKEN PADDLE GUIDING COMPANY MAP LLC
 2.19      lease is for and the nature     ALL RELATED AGREEMENTS         213 MAIN STREET WEST
           of the debtor’s interest                                       WABASHA, MN 55981

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract



Official Form 206G                             Schedule G: Executory Contracts and Unexpired Leases                             Page 3 of 27
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        Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           SHORE EXCURSIONS SERVICE
           State what the contract or      AGREEMENT DATED 03/06/2023 AND C & M PRESENTS
 2.20      lease is for and the nature     ALL RELATED AGREEMENTS         2488 WILDWOOD DR.
           of the debtor’s interest                                       GREEN BAY, WI 54302

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           STANDARD GROUP ALLOTMENT
           State what the contract or      AGREEMENT DATED 07/26/2022 AND CAA TRAVEL
 2.21      lease is for and the nature     ALL RELATED AGREEMENTS         60 COMMERCE VALLEY DRIVE EAST
           of the debtor’s interest                                       THORNHILL, ON L3T 7P9
                                                                          CANADA
           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           STANDARD GROUP ALLOTMENT
           State what the contract or      AGREEMENT DATED 07/26/2022 AND CAA TRAVEL
 2.22      lease is for and the nature     ALL RELATED AGREEMENTS         60 COMMERCE VALLEY DRIVE EAST
           of the debtor’s interest                                       THORNHILL, ON L3T 7P9
                                                                          CANADA
           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           STANDARD GROUP ALLOTMENT
           State what the contract or      AGREEMENT DATED 07/26/2022 AND CAA TRAVELCAA TRAVEL ROSIE YU
 2.23      lease is for and the nature     ALL RELATED AGREEMENTS         60 COMMERCE VALLEY DRIVE EAST
           of the debtor’s interest                                       THORNHILL, ON L3T 7P9
                                                                          CANADA
           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
           State what the contract or      AGREEMENT DATED 01/20/2023 AND CABELL-HUNTINGTON CONVENTION & VISITORS BUREAU
 2.24      lease is for and the nature     ALL RELATED AGREEMENTS         210 11TH STREET
           of the debtor’s interest                                       PO BOX 347
                                                                          HUNTINGTON, WV 25701
           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
           State what the contract or      AGREEMENT DATED 01/20/2023 AND CABELL-HUNTINGTON CONVENTION & VISITORS BUREAU
 2.25      lease is for and the nature     ALL RELATED AGREEMENTS         210 11TH STREET
           of the debtor’s interest                                       PO BOX 347
                                                                          HUNTINGTON, WV 25701
           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
           State what the contract or      AGREEMENT DATED 01/11/2023 AND CAJUN PRIDE SWAMP TOURS
 2.26      lease is for and the nature     ALL RELATED AGREEMENTS         PO BOX 99
           of the debtor’s interest                                       LAPLACE, LA 70068

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract



Official Form 206G                             Schedule G: Executory Contracts and Unexpired Leases                             Page 4 of 27
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               Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

        Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           SHORE EXCURSIONS SERVICE
           State what the contract or      AGREEMENT DATED 04/21/2023 AND CAPE FOX TOURS, LLC
 2.27      lease is for and the nature     ALL RELATED AGREEMENTS         620 DOCK STREET
           of the debtor’s interest                                       KETCHIKAN, AK 99901

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
           State what the contract or      AGREEMENT DATED 01/11/2023 AND CATALPA PLANTATION
 2.28      lease is for and the nature     ALL RELATED AGREEMENTS         PO BOX 131
           of the debtor’s interest                                       ST. FRANCISVILLE, LA 70775

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
           State what the contract or      AGREEMENT DATED 02/16/2023 AND CFRE - CENTER FOR FRESHWATER RESEARCH AND
 2.29      lease is for and the nature     ALL RELATED AGREEMENTS         EDUCATION
           of the debtor’s interest                                       100 SALMON RUN WAY
                                                                          SAULT STE. MARIE, MI 49783
           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
           State what the contract or      AGREEMENT DATED 01/20/2023 AND CHILDREN'S TOY AND DOLL MUSEUM
 2.30      lease is for and the nature     ALL RELATED AGREEMENTS         206 GILMAN STREET
           of the debtor’s interest                                       PO BOX 4034
                                                                          MARIETTA, OH 45750
           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
           State what the contract or      AGREEMENT DATED 01/11/2023 AND CHURCH OF THE HOLY TRINITY
 2.31      lease is for and the nature     ALL RELATED AGREEMENTS         900 SOUTH STREET
           of the debtor’s interest                                       VICKSBURG, MS 39180

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
           State what the contract or      AGREEMENT DATED 06/13/2023 AND CITY OF CHESTER - CHESTER TOURISM COMMISSION
 2.32      lease is for and the nature     ALL RELATED AGREEMENTS         1330 SWANWICK ST.
           of the debtor’s interest                                       CHESTER, IL 62233

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
           State what the contract or      AGREEMENT DATED 06/13/2023 AND CITY OF CHESTER - CHESTER TOURISM COMMISSION
 2.33      lease is for and the nature     ALL RELATED AGREEMENTS         (ATTRACTIONS)
           of the debtor’s interest                                       1330 SWANWICK ST.
                                                                          CHESTER, IL 62233
           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract



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               Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

        Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           SHORE EXCURSIONS SERVICE
           State what the contract or      AGREEMENT DATED 01/11/2023 AND COCA-COLA MUSEUM
 2.34      lease is for and the nature     ALL RELATED AGREEMENTS         121 BAKER ST. NW
           of the debtor’s interest                                       ATLANTA, GA 30313

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
           State what the contract or      AGREEMENT DATED 01/20/2023 AND COLTON NEELY
 2.35      lease is for and the nature     ALL RELATED AGREEMENTS         ADDRESS ON FILE
           of the debtor’s interest

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
           State what the contract or      AGREEMENT DATED 01/31/2023 AND COLUMBIA GORGE DISCOVERY CENTER AND MUSEUM
 2.36      lease is for and the nature     ALL RELATED AGREEMENTS         5000 DISCOVERY DRIVE
           of the debtor’s interest                                       THE DALLES, OR 97058

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           STANDARD GROUP ALLOTMENT
           State what the contract or      AGREEMENT DATED 11/29/2022 AND CRUISE PLANNERS
 2.37      lease is for and the nature     ALL RELATED AGREEMENTS         3300 NORTH UNIVERSITY DRIVE, SUITE 1
           of the debtor’s interest                                       CORAL SPRINGS, FL 33065

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
           State what the contract or      AGREEMENT DATED 01/11/2023 AND DANCE CAJUN
 2.38      lease is for and the nature     ALL RELATED AGREEMENTS         101 WEST SHAMROCK DR
           of the debtor’s interest                                       LAFAYETTE, LA 70508

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           DMC SERVICES AGREEMENT DATED
           State what the contract or      06/08/2023 AND ALL RELATED   DESTINATION ST. LOUIS, INC.
 2.39      lease is for and the nature     AGREEMENTS                   7710 BIG BEND BLVD
           of the debtor’s interest                                     ST. LOUIS, MO 63119

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
           State what the contract or      AGREEMENT DATED 03/20/2023 AND DETROIT MUSIX
 2.40      lease is for and the nature     ALL RELATED AGREEMENTS         30363 SHOREHAM STREET
           of the debtor’s interest                                       SOUTHFIELD, MI 48076

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract



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               Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

        Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           SHORE EXCURSIONS SERVICE
           State what the contract or      AGREEMENT DATED 04/11/2023 AND DETROIT TOUR CONNECTIONS, INC.
 2.41      lease is for and the nature     ALL RELATED AGREEMENTS         1514 WASHINGTON BOULEVARD #306
           of the debtor’s interest                                       DETROIT, MI 48226

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
           State what the contract or      AGREEMENT DATED 01/20/2023 AND DISCOVERY PARK OF AMERICA
 2.42      lease is for and the nature     ALL RELATED AGREEMENTS         830 EVERETT BLVD
           of the debtor’s interest                                       UNION CITY, TN 38261

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           AMENDMENT THREE TO
           State what the contract or      TRANPORTATION SERVICES         EASTON COACH COMPANY
 2.43      lease is for and the nature     AGREEMENT DATED 05/01/2023 AND 1200 CONROY PLACE
           of the debtor’s interest        ALL RELATED AGREEMENTS         EASTON, PA 18040

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           AMENDMENT TWO TO
           State what the contract or      TRANSPORTATION SERVICES        EASTON COACH COMPANY
 2.44      lease is for and the nature     AGREEMENT DATED 05/05/2022 AND 1200 CONROY PLACE
           of the debtor’s interest        ALL RELATED AGREEMENTS         EASTON, PA 18040

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           AMENDMENT ONE TO
           State what the contract or      TRANSPORTATION SERVICES        EASTON COACH COMPANY
 2.45      lease is for and the nature     AGREEMENT DATED 03/08/2021 AND 1200 CONROY PLACE
           of the debtor’s interest        ALL RELATED AGREEMENTS         EASTON, PA 18040

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           AMENDMENT TWO TO
           State what the contract or      TRANSPORTATION SERVICES        EASTON COACH COMPANY
 2.46      lease is for and the nature     AGREEMENT DATED 05/05/2022 AND 1200 CONROY PLACE
           of the debtor’s interest        ALL RELATED AGREEMENTS         EASTON, PA 18040

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
           State what the contract or      AGREEMENT DATED 04/21/2023 AND EXPERIENCE THE TWIN CITIES
 2.47      lease is for and the nature     ALL RELATED AGREEMENTS         2600 UNIVERSITY AVENUE SE, #500
           of the debtor’s interest                                       MINNEAPOLIS, MN 55414

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract



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        Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           SHORE EXCURSIONS SERVICE
           State what the contract or      AGREEMENT DATED 01/20/2023 AND FIGGE ART MUSEUM
 2.48      lease is for and the nature     ALL RELATED AGREEMENTS         225 WEST 2ND ST.
           of the debtor’s interest                                       DAVENPORT, LA 52801

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
           State what the contract or      AGREEMENT DATED 01/20/2023 AND GALENA - JO DAVIES COUNTY HISTORICAL SOCIETY (U.S.
 2.49      lease is for and the nature     ALL RELATED AGREEMENTS         GRANT MUSEUM)
           of the debtor’s interest                                       211 SOUTH BENCH STREET
                                                                          GALENA, IL 61036
           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
           State what the contract or      AGREEMENT DATED 05/11/2023 AND GERMAN AMERICAN HERITAGE CENTER
 2.50      lease is for and the nature     ALL RELATED AGREEMENTS         712 W 2ND ST
           of the debtor’s interest                                       DAVENPORT, IA 52802

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
           State what the contract or      AGREEMENT DATED 01/30/2023 AND GRACELAND - ELVIS PRESLEY ENTERPRISES, INC.
 2.51      lease is for and the nature     ALL RELATED AGREEMENTS         3734 ELVIS PRESLEY BLVD
           of the debtor’s interest                                       PO BOX 16508
                                                                          MEMPHIS, TN 38186
           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
           State what the contract or      AGREEMENT DATED 02/09/2023 AND GRAMMY MUSEUM MISSISSIPPI
 2.52      lease is for and the nature     ALL RELATED AGREEMENTS         800 WEST SUNFLOWER RD
           of the debtor’s interest                                       CLEVELAND, MS 38732

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
           State what the contract or      AGREEMENT DATED 02/27/2023 AND GRAND HOTEL
 2.53      lease is for and the nature     ALL RELATED AGREEMENTS         PO BOX 286
           of the debtor’s interest                                       MACKINAC ISLAND, MI 49757

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
           State what the contract or      AGREEMENT DATED 02/15/2023 AND GREAT DAY! TOURS & CHARTER BUS SERVICE
 2.54      lease is for and the nature     ALL RELATED AGREEMENTS         ATTN: AJ KINNEY
           of the debtor’s interest                                       375 TREEWORTH BLVD
                                                                          CLEVELAND, OH 44147
           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract



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        Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           SHORE EXCURSIONS SERVICE
           State what the contract or      AGREEMENT DATED 01/19/2023 AND GREAT DELTA TOURS
 2.55      lease is for and the nature     ALL RELATED AGREEMENTS         610 JOHN CHURCHILL CHASE ST.
           of the debtor’s interest                                       NEW ORLEANS, LA 70130

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
           State what the contract or      AGREEMENT DATED 03/21/2023 AND GREAT LAKES SHORE EXCURSIONS
 2.56      lease is for and the nature     ALL RELATED AGREEMENTS         1 GRAND ISLE DR SLIP #38
           of the debtor’s interest                                       GRAND HAVEN, MI 49417

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
           State what the contract or      AGREEMENT DATED 02/09/2023 AND GREAT RIVERS & ROUTES TOURISM BUREAU
 2.57      lease is for and the nature     ALL RELATED AGREEMENTS         111 E. 4TH STREET
           of the debtor’s interest                                       SUITE 115
                                                                          ALTON, IL 62002
           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
           State what the contract or      AGREEMENT DATED 01/20/2023 AND GREATER MUSCATINE CHAMBER OF COMMERCE & INDUSTRY
 2.58      lease is for and the nature     ALL RELATED AGREEMENTS         100 W. 2ND STREET
           of the debtor’s interest                                       MUSCATINE, IA 52761

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
           State what the contract or      AGREEMENT DATED 04/21/2023 AND GREEN BAY PACKERS - LAMBEAU FIELD
 2.59      lease is for and the nature     ALL RELATED AGREEMENTS         1265 LOMBARDI AVE.
           of the debtor’s interest                                       GREEN BAY, WI 54304

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           STANDARD GROUP ALLOTMENT
           State what the contract or      AGREEMENT DATED 04/21/2023 AND GRUENINGER TOURS AND CRUISES
 2.60      lease is for and the nature     ALL RELATED AGREEMENTS         9011 N. MERIDIAN ST.
           of the debtor’s interest                                       INDIANAPOLIS, IN 46260

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           ALLOTMENT AGREEMENT DATED
           State what the contract or      04/21/2023 AND ALL RELATED         GRUENINGER TOURS AND CRUISES
 2.61      lease is for and the nature     AGREEMENTS                         9011 N. MERIDIAN ST.
           of the debtor’s interest                                           INDIANAPOLIS, IN 46260

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           STANDARD GROUP ALLOTMENT
           State what the contract or      AGREEMENT DATED 04/21/2023 AND GRUENINGER TOURS AND CRUISES
 2.62      lease is for and the nature     ALL RELATED AGREEMENTS         9011 N. MERIDIAN ST.
           of the debtor’s interest                                       INDIANAPOLIS, IN 46260

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
           State what the contract or      AGREEMENT DATED 02/15/2023 AND GUIDATOUR
 2.63      lease is for and the nature     ALL RELATED AGREEMENTS         360 ST-FRANCOIS-XAVIER #400
           of the debtor’s interest                                       MONTREAL, QC H2Y 2S8
                                                                          CANADA
           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
           State what the contract or      AGREEMENT DATED 03/28/2023 AND HAMLEY STEAKHOUSE
 2.64      lease is for and the nature     ALL RELATED AGREEMENTS         8 SE COURT AVE
           of the debtor’s interest                                       PENDLETON, OR 97801

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
           State what the contract or      AGREEMENT DATED 02/09/2023 AND HANFORD REACH INTERPRETIVE CENTER
 2.65      lease is for and the nature     ALL RELATED AGREEMENTS         1943 COLUMBIA PARK TRAIL
           of the debtor’s interest                                       RICHLAND, WA 99352

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
           State what the contract or      AGREEMENT DATED 06/21/2023 AND HANNIBAL HISTORY MUSEUM
 2.66      lease is for and the nature     ALL RELATED AGREEMENTS         200 N. MAIN ST
           of the debtor’s interest                                       HANNIBAL, MO 62401

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
           State what the contract or      AGREEMENT DATED 01/20/2023 AND HENDERSON COUNTY TOURIST COMMISSION
 2.67      lease is for and the nature     ALL RELATED AGREEMENTS         101 N WATER ST
           of the debtor’s interest                                       SUITE B
                                                                          HENDERSON, KY 42420
           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
           State what the contract or      AGREEMENT DATED 01/31/2023 AND HIGHLIFE ADVENTURES
 2.68      lease is for and the nature     ALL RELATED AGREEMENTS         92111 HIGH LIFE ROAD
           of the debtor’s interest                                       WARRENTON, OR 97146

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           SLEEPING ROOMS ONLY
           State what the contract or      AGREEMENT DATED 08/20/2023 AND HILTON NEW ORLEANS RIVERSIDE
 2.69      lease is for and the nature     ALL RELATED AGREEMENTS         TWO POYDRAS STREET
           of the debtor’s interest                                       NEW ORLEANS,, LA 70130

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           INTERCOMPANY INTELLECTUAL
           State what the contract or      PROPERTY LICENSE AGREEMENT       HMS AMERICAN QUEEN STEAMBOAT COMPANY, LLC
 2.70      lease is for and the nature     DATED 01/01/2021 AND ALL RELATED 2400 E. COMMERCIAL BLVD., STE. 1200
           of the debtor’s interest        AGREEMENTS                       FORT LAUDERDALE, FL 33308

           State the term remaining
           List the contract number of
           any government contract

                                           INTERCOMPANY INTELLECTUAL
           State what the contract or      PROPERTY LICENSE AGREEMENT       HORNBLOWER GROUP, INC.
 2.71      lease is for and the nature     DATED 01/01/2021 AND ALL RELATED PIER 3, THE EMBARCADERO
           of the debtor’s interest        AGREEMENTS                       SAN FRANCISCO, CA 94111

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           INTERCOMPANY INTELLECTUAL
           State what the contract or      PROPERTY LICENSE AGREEMENT       HORNBLOWER GROUP, INC.
 2.72      lease is for and the nature     DATED 01/01/2021 AND ALL RELATED PIER 3, THE EMBARCADERO
           of the debtor’s interest        AGREEMENTS                       SAN FRANCISCO, CA 94111

           State the term remaining
           List the contract number of
           any government contract

                                           INTERCOMPANY SERVICES
           State what the contract or      AGREEMENT DATED 01/01/2021 AND HORNBLOWER GROUP, INC.
 2.73      lease is for and the nature     ALL RELATED AGREEMENTS         PIER 3, THE EMBARCADERO
           of the debtor’s interest                                       SAN FRANCISCO, CA 94111

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           INTERCOMPANY INTELLECTUAL
           State what the contract or      PROPERTY LICENSE AGREEMENT       HORNBLOWER GROUP, INC.
 2.74      lease is for and the nature     DATED 01/01/2021 AND ALL RELATED PIER 3, THE EMBARCADERO
           of the debtor’s interest        AGREEMENTS                       SAN FRANCISCO, CA 94111

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           INTERCOMPANY INTELLECTUAL
           State what the contract or      PROPERTY LICENSE AGREEMENT       HORNBLOWER GROUP, INC.
 2.75      lease is for and the nature     DATED 01/01/2021 AND ALL RELATED PIER 3, THE EMBARCADERO
           of the debtor’s interest        AGREEMENTS                       SAN FRANCISCO, CA 94111

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           CORPORATE OR OTHER ENTITY
           State what the contract or      GUARANTY AGREEMENT DATED           HORNBLOWER HOLDINGS LP
 2.76      lease is for and the nature     01/20/2021 AND ALL RELATED         PIER 3, THE EMBARCADERO
           of the debtor’s interest        AGREEMENTS                         SAN FRANCISCO, CA 94111

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
           State what the contract or      AGREEMENT DATED 01/11/2023 AND HOUMAS HOUSE PLANTATION
 2.77      lease is for and the nature     ALL RELATED AGREEMENTS         40136 HWY 942
           of the debtor’s interest                                       DARROW, LA 70725

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
           State what the contract or      AGREEMENT DATED 01/31/2023 AND IDAHO HISTORY TOURS
 2.78      lease is for and the nature     ALL RELATED AGREEMENTS         0306 THIRD STREET
           of the debtor’s interest                                       LEWISTON, ID 83501

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
           State what the contract or      AGREEMENT DATED 01/31/2023 AND INDIAN EYES, LLC
 2.79      lease is for and the nature     ALL RELATED AGREEMENTS         2815 ST. ANDREWS LOOP, SUITE B
           of the debtor’s interest                                       PASCO, WA 99301

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
           State what the contract or      AGREEMENT DATED 02/03/2023 AND INTERNATIONAL WOMEN'S AIR & SPACE MUSEUM
 2.80      lease is for and the nature     ALL RELATED AGREEMENTS         1501 N. MARGINAL RD.
           of the debtor’s interest                                       STE. 165
                                                                          CLEVELAND, OH 44114
           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
           State what the contract or      AGREEMENT DATED 01/30/2023 AND ISABEL BLOOM INC.
 2.81      lease is for and the nature     ALL RELATED AGREEMENTS         736 FEDERAL STREET
           of the debtor’s interest                                       DAVENPORT,, IA 52803

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
           State what the contract or      AGREEMENT DATED 04/21/2023 AND JOHN JAMES AUDUBON MUSEUM
 2.82      lease is for and the nature     ALL RELATED AGREEMENTS         3100 US HWY 41 NORTH
           of the debtor’s interest                                       HENDERSON, KY 12419

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           STANDARD GROUP ALLOTMENT
           State what the contract or      AGREEMENT DATED 04/06/2022 AND JOMAC TRAVEL
 2.83      lease is for and the nature     ALL RELATED AGREEMENTS         PO BOX 691
           of the debtor’s interest                                       STETTLER, AB T0C 2L0
                                                                          CANADA
           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
           State what the contract or      AGREEMENT DATED 02/10/2023 AND KATHERINE STOUGHTON
 2.84      lease is for and the nature     ALL RELATED AGREEMENTS         ADDRESS ON FILE
           of the debtor’s interest

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
           State what the contract or      AGREEMENT DATED 01/20/2023 AND KIMMSWICK HISTORICAL SOCIETY MUSEUM
 2.85      lease is for and the nature     ALL RELATED AGREEMENTS         6000 THIRD ST.
           of the debtor’s interest                                       KIMMSWICK,, MO 63052

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
           State what the contract or      AGREEMENT DATED 01/31/2023 AND KIONA VINEYARDS AND WINERY
 2.86      lease is for and the nature     ALL RELATED AGREEMENTS         44612 N SUNSET RD
           of the debtor’s interest                                       BENTON CITY, WA 99320

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
           State what the contract or      AGREEMENT DATED 01/20/2023 AND LA CROSSE COUNTY HISTORICAL SOCIETY
 2.87      lease is for and the nature     ALL RELATED AGREEMENTS         145 WEST AVENUE SOUTH
           of the debtor’s interest                                       LA CROSSE, WI 54601

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
           State what the contract or      AGREEMENT DATED 01/20/2023 AND LA CROSSE COUNTY HISTORICAL SOCIETY (ATTRACTIONS)
 2.88      lease is for and the nature     ALL RELATED AGREEMENTS         145 WEST AVENUE SOUTH
           of the debtor’s interest                                       LA CROSSE, WI 54601

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
           State what the contract or      AGREEMENT DATED 03/15/2023 AND LAKE SUPERIOR RAILROAD MUSEUM & NORTH SHORE SCENIC
 2.89      lease is for and the nature     ALL RELATED AGREEMENTS         RAILROAD
           of the debtor’s interest                                       506 W MICHIGAN ST
                                                                          DULUTH, MN 55802
           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           ACCEPTANCE DATED 05/18/2023
           State what the contract or      AND ALL RELATED AGREEMENTS         LAMERS BUS LINES INC.
 2.90      lease is for and the nature                                        2407 SOUTH POINT ROAD
           of the debtor’s interest                                           GREEN BAY, WI 54313

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           ACCEPTANCE FORM DATED
           State what the contract or      05/14/2023 AND ALL RELATED         LAMERS BUS LINES INC.
 2.91      lease is for and the nature     AGREEMENTS                         2407 SOUTH POINT ROAD
           of the debtor’s interest                                           GREEN BAY, WI 54313

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
           State what the contract or      AGREEMENT DATED 02/23/2023 AND LAN SU CHINESE GARDEN
 2.92      lease is for and the nature     ALL RELATED AGREEMENTS         239 NW EVERETT ST.
           of the debtor’s interest                                       PORTLAND, OR 97209

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           STANDARD GROUP ALLOTMENT
           State what the contract or      AGREEMENT DATED 12/20/2022 AND LANDMARK TOURS & CRUISES INC.
 2.93      lease is for and the nature     ALL RELATED AGREEMENTS         208 COLLEGE HWY STE 19
           of the debtor’s interest                                       SOUTHWICK, MA 01077-9256

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           ADDENDUM TO CONTRACT DATED
           State what the contract or      09/20/2021 AND ALL RELATED         LARCO HOSPITALITY INC.
 2.94      lease is for and the nature     AGREEMENTS                         1 BLUE JAYS WAY
           of the debtor’s interest                                           TORONTO, ON MSV 1J4
                                                                              CANADA
           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
           State what the contract or      AGREEMENT DATED 01/11/2023 AND LOUISIANA DEPARTMENT OF CULTURE, RECREATION &
 2.95      lease is for and the nature     ALL RELATED AGREEMENTS         TOURISM
           of the debtor’s interest                                       P. O. BOX 44247
                                                                          BATON ROUGE, LA 70804
           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
           State what the contract or      AGREEMENT DATED 01/30/2023 AND LOUISIANA STATE CAPITOL
 2.96      lease is for and the nature     ALL RELATED AGREEMENTS         900 N 3RD ST.
           of the debtor’s interest                                       BATON ROUGE,, LA 70802

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           SHORE EXCURSIONS SERVICE
           State what the contract or      AGREEMENT DATED 01/11/2023 AND LSU MUSEUM OF ART, SHAW CENTER FOR THE ARTS
 2.97      lease is for and the nature     ALL RELATED AGREEMENTS         100 LAFAYETTE STREET
           of the debtor’s interest                                       BATON ROUGE,, LA 70801

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
           State what the contract or      AGREEMENT DATED 01/11/2023 AND LSU RURAL LIFE MUSEUM
 2.98      lease is for and the nature     ALL RELATED AGREEMENTS         P.O. BOX 80498
           of the debtor’s interest                                       BATON ROUGE, LA 70898

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
           State what the contract or      AGREEMENT DATED 03/14/2023 AND MACKINAC STATE HISTORIC PARKS
 2.99      lease is for and the nature     ALL RELATED AGREEMENTS         BOX 873
           of the debtor’s interest                                       MACKINAC CITY,, MI 49701

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
      State what the contract or           AGREEMENT DATED 02/23/2023 AND MARITIME MUSEUM OF THE ATLANTIC
2.100 lease is for and the nature          ALL RELATED AGREEMENTS         1675 LOWER WATER STREET
      of the debtor’s interest                                            HALIFAX, NOVA SCOTIA, B3J 1S3
                                                                          CANADA
           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
      State what the contract or           AGREEMENT DATED 01/26/2023 AND MARK TWAIN BOYHOOD HOME AND MUSEUM
2.101 lease is for and the nature          ALL RELATED AGREEMENTS         120 N MAIN ST.
      of the debtor’s interest                                            HANNIBAL,, MO 63401

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
      State what the contract or           AGREEMENT DATED 05/12/2023 AND MASTODON STATE HISTORIC SITE
2.102 lease is for and the nature          ALL RELATED AGREEMENTS         1050 CHARLES J. BECKER DRIVE
      of the debtor’s interest                                            IMPERIAL, MO 63052

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
      State what the contract or           AGREEMENT DATED 05/12/2023 AND MAYSVILLE-MASON COUNTY CVB
2.103 lease is for and the nature          ALL RELATED AGREEMENTS         216 BRIDGE ST.
      of the debtor’s interest                                            MAYSVILLE, KY 41056

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           SHORE EXCURSIONS SERVICE
      State what the contract or           AGREEMENT DATED 05/12/2023 AND MAYSVILLE-MASON COUNTY CVB
2.104 lease is for and the nature          ALL RELATED AGREEMENTS         216 BRIDGE STREET
      of the debtor’s interest                                            MAYSVILLE,, KY 41056

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
      State what the contract or           AGREEMENT DATED 03/24/2023 AND MICHIGAN IRON INDUSTRY MUSEUM
2.105 lease is for and the nature          ALL RELATED AGREEMENTS         73 FORGE RD.
      of the debtor’s interest                                            NEGAUNNE, MI 49866

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
      State what the contract or           AGREEMENT DATED 04/11/2023 AND MICHIGAN TRAVELS, LLC
2.106 lease is for and the nature          ALL RELATED AGREEMENTS         317 S DIVISION ST, NO. 13
      of the debtor’s interest                                            ANN ARBOR, MI 48104

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
      State what the contract or           AGREEMENT DATED 01/20/2023 AND MINNESOTA MARINE ART MUSEUM
2.107 lease is for and the nature          ALL RELATED AGREEMENTS         800 RIVERVIEW DR
      of the debtor’s interest                                            WINONA, MN 55987

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
      State what the contract or           AGREEMENT DATED 02/06/2023 AND NATIONAL EAGLE CENTER
2.108 lease is for and the nature          ALL RELATED AGREEMENTS         50 PEMBROKE AVE
      of the debtor’s interest                                            WABASHA, MN 55981

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
      State what the contract or           AGREEMENT DATED 02/09/2023 AND NATIONAL NEON SIGN MUSEUM
2.109 lease is for and the nature          ALL RELATED AGREEMENTS         200 EAST 3RD STREET
      of the debtor’s interest                                            P.O. BOX 2007
                                                                          THE DALLES, OR 97058
           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           AMENDMENT ONE TO MOTOR
      State what the contract or           COACH SERVICES MEMORANDUM          NORTHWEST NAVIGATOR
2.110 lease is for and the nature          OF UNDERSTANDING DATED             13940 N RIVERGATE BLVD.
      of the debtor’s interest             03/08/2021 AND ALL RELATED         PORTLAND, OR 97203
                                           AGREEMENTS
           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           AMENDMENT ONE TO MOTOR
      State what the contract or           COACH SERVICES MEMORANDUM          NORTHWEST NAVIGATOR
2.111 lease is for and the nature          OF UNDERSTANDING DATED             13940 N RIVERGATE BLVD.
      of the debtor’s interest             03/08/2021 AND ALL RELATED         PORTLAND, OR 97203
                                           AGREEMENTS
           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           AMENDMENT ONE TO MOTOR
      State what the contract or           COACH SERVICES MEMORANDUM          NORTHWEST NAVIGATOR
2.112 lease is for and the nature          OF UNDERSTANDING DATED             13940 N RIVERGATE BLVD.
      of the debtor’s interest             03/08/2021 AND ALL RELATED         PORTLAND, OR 97203
                                           AGREEMENTS
           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           AMENDMENT ONE TO MOTOR
      State what the contract or           COACH SERVICES MEMORANDUM          NORTHWEST NAVIGATOR
2.113 lease is for and the nature          OF UNDERSTANDING DATED             13940 N RIVERGATE BLVD
      of the debtor’s interest             03/08/2021 AND ALL RELATED         PORTLAND, OR 97203
                                           AGREEMENTS
           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
      State what the contract or           AGREEMENT DATED 03/01/2023 AND OUTSIDEIN MS
2.114 lease is for and the nature          ALL RELATED AGREEMENTS         13 MONTEBELLO DR.
      of the debtor’s interest                                            NATCHEZ, MS 39120

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
      State what the contract or           AGREEMENT DATED 05/23/2023 AND PADDLEWHEELER CREOLE QUEEN
2.115 lease is for and the nature          ALL RELATED AGREEMENTS         1 POYDRAS ST
      of the debtor’s interest                                            NEW ORLEANS, LA 70130

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
      State what the contract or           AGREEMENT DATED 01/31/2023 AND PASCO AVIATION MUSEUM
2.116 lease is for and the nature          ALL RELATED AGREEMENTS         4402 STEARMAN AVE
      of the debtor’s interest                                            PASCO, WA 99301

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
      State what the contract or           AGREEMENT DATED 03/28/2023 AND PENDLETON UNDERGROUND TOURS
2.117 lease is for and the nature          ALL RELATED AGREEMENTS         37 SOUTHWEST EMIGRANT AVENUE
      of the debtor’s interest                                            PENDLETON,, OR 97801

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           SHORE EXCURSIONS SERVICE
      State what the contract or           AGREEMENT DATED 04/07/2023 AND PEWABIC POTTERY
2.118 lease is for and the nature          ALL RELATED AGREEMENTS         10125 EAST JEFFERSON AVENUE
      of the debtor’s interest                                            DETROIT, MI 48214

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
      State what the contract or           AGREEMENT DATED 01/06/2023 AND PG STUDIO ARTS CENTER
2.119 lease is for and the nature          ALL RELATED AGREEMENTS         228 MAIN ST
      of the debtor’s interest                                            BRANDENBURG, KY 40108

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
      State what the contract or           AGREEMENT DATED 03/31/2023 AND QUINCY MINE HOIST ASSOCIATION
2.120 lease is for and the nature          ALL RELATED AGREEMENTS         49750 US HIGHWAY 41
      of the debtor’s interest                                            HANCOCK, MI 49930

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
      State what the contract or           AGREEMENT DATED 01/20/2023 AND RED WING MARINE MUSEUM
2.121 lease is for and the nature          ALL RELATED AGREEMENTS         P.O.BOX 162
      of the debtor’s interest                                            REDWING, MN 55066

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
      State what the contract or           AGREEMENT DATED 03/24/2023 AND RIDGEVIEW COUNTRY TOURS LLC
2.122 lease is for and the nature          ALL RELATED AGREEMENTS         5488 KINSMAN RD
      of the debtor’s interest                                            MIDDLEFIELD, OH 44063

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
      State what the contract or           AGREEMENT DATED 02/03/2023 AND RIDGEVIEW TOURS, LLC
2.123 lease is for and the nature          ALL RELATED AGREEMENTS         5488 KINSMAN RD
      of the debtor’s interest                                            MIDDLEFIELD, OH 44063

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
      State what the contract or           AGREEMENT DATED 01/30/2023 AND RIVER DISCOVERY CENTER
2.124 lease is for and the nature          ALL RELATED AGREEMENTS         117 S. WATER ST
      of the debtor’s interest                                            PADUCAH, KY 42001

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           SHORE EXCURSIONS SERVICE
      State what the contract or           AGREEMENT DATED 04/26/2023 AND ROAM INN, LLC
2.125 lease is for and the nature          ALL RELATED AGREEMENTS         815 W MUNISING AVE #1
      of the debtor’s interest                                            MUNISING, MI 49862

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           TICKET SALES AGREEMENT DATED
      State what the contract or           02/03/2023 AND ALL RELATED   ROCK AND ROLL HALL OF FAME MUSEUM, INC.
2.126 lease is for and the nature          AGREEMENTS                   UNION HOME MORTGAGE PLAZA
      of the debtor’s interest                                          1100 ROCK AND ROLL BLVD
                                                                        CLEVELAND, OH 44114
           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSION SERVICE
      State what the contract or           AGREEMENT DATED 02/10/2023 AND SENATOR JOHN HEINZ HISTORY CENTER
2.127 lease is for and the nature          ALL RELATED AGREEMENTS         1212 SMALLMAN ST.
      of the debtor’s interest                                            PITSBURG, PA 15222

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           GROUP SALES AGREEMENT DATED
      State what the contract or           01/18/2023 AND ALL RELATED  SHERATON GRAND CHICAGO
2.128 lease is for and the nature          AGREEMENTS                  301 EAST NORTH WATER STREET
      of the debtor’s interest                                         CHICAGO, IL 60611

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           GROUP SALES AGREEI\IE:\'T DATED
      State what the contract or           05/17/2023 AND ALL RELATED      SHERATON GRAND CHICAGO
2.129 lease is for and the nature          AGREEMENTS                      301 EAST NORTH WATER STREET
      of the debtor’s interest                                             CHICAGO, IL 60611

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           GROUP SALES AGREEMENT DATED
      State what the contract or           05/27/2023 AND ALL RELATED  SHERATON GRAND CHICAGO
2.130 lease is for and the nature          AGREEMENTS                  301 EAST NORTH WATER STREET,
      of the debtor’s interest                                         CHICAGO, IL 60611

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           GROUP SALES AGREEMENT DATED
      State what the contract or           01/30/2023 AND ALL RELATED  SHERATON GRAND CHICAGO,
2.131 lease is for and the nature          AGREEMENTS                  301 EAST NORTH WATER STREET,
      of the debtor’s interest                                         CHICAGO, IL 60611

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract



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               Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           GROUP SALES AGREEMENT DATED
      State what the contract or           05/17/2023 AND ALL RELATED  SHERATON GRAND CHICAGO,
2.132 lease is for and the nature          AGREEMENTS                  301 EAST NORTH WATER STREET,
      of the debtor’s interest                                         CHICAGO, IL 60611

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           HOTEL AGREEMENT DATED
      State what the contract or           10/10/2022 AND ALL RELATED         SHERATON MEMPHIS DOWNTOWN
2.133 lease is for and the nature          AGREEMENTS                         250 NORTH MAIN STREET
      of the debtor’s interest                                                MEMPHIS, TN 38103

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           HOTEL AGREEMENT DATED
      State what the contract or           10/08/2022 AND ALL RELATED         SHERATON MEMPHIS DOWNTOWN
2.134 lease is for and the nature          AGREEMENTS                         250 NORTH MAIN STREET,
      of the debtor’s interest                                                MEMPHIS, TN 38103

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           TRANSPORTATION SERVICES
      State what the contract or           AGREEMENT AND ALL RELATED          SHORE EXCURSIONS OF AMERICA, INC.
2.135 lease is for and the nature          AGREEMENTS                         701 UHLER RD
      of the debtor’s interest                                                EASTON, PA 18040

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           ASSIGNMENT AND ASSUMPTION
      State what the contract or           AGREEMENT DATED 09/30/2020 AND SHORE EXCURSIONS OF AMERICA, INC.
2.136 lease is for and the nature          ALL RELATED AGREEMENTS         701 UHLER RD
      of the debtor’s interest                                            EASTON, PA 18040

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           ASSET PURCHASE AGREEMENT
      State what the contract or           DATED 09/30/2020 AND ALL RELATED SHORE EXCURSIONS OF AMERICA, INC.
2.137 lease is for and the nature          AGREEMENTS                       701 UHLER RD
      of the debtor’s interest                                              EASTON, PA 18040

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           BILL OF SALE AND ALL RELATED
      State what the contract or           AGREEMENTS                         SHORE EXCURSIONS OF AMERICA, INC.
2.138 lease is for and the nature                                             701 UHLER RD
      of the debtor’s interest                                                EASTON, PA 18040

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract



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               Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           SHORE EXCURSIONS SERVICE
      State what the contract or           AGREEMENT DATED 02/10/2023 AND SNAKE RIVER ADVENTURES
2.139 lease is for and the nature          ALL RELATED AGREEMENTS         4832 HELLS GATE ROAD
      of the debtor’s interest                                            LEWISTON, ID 83501

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
      State what the contract or           AGREEMENT DATED 01/20/2023 AND SOG - FOWLER BLACK
2.140 lease is for and the nature          ALL RELATED AGREEMENTS         ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
      State what the contract or           AGREEMENT DATED 03/09/2023 AND SOG - KAREN HYGH
2.141 lease is for and the nature          ALL RELATED AGREEMENTS         ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
      State what the contract or           AGREEMENT DATED 03/28/2023 AND SOG EVA RICHERSON
2.142 lease is for and the nature          ALL RELATED AGREEMENTS         ADDRESS ON FILE
      of the debtor’s interest

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
      State what the contract or           AGREEMENT DATED 01/20/2023 AND STEWART COUNTY CHAMBER OF COMMERCE
2.143 lease is for and the nature          ALL RELATED AGREEMENTS         117 VISITORS CENTER LANE
      of the debtor’s interest                                            DOVER, TN 37058

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
      State what the contract or           AGREEMENT DATED 04/21/2023 AND STIKINE RIVER JET BOAT ASSOCIATION
2.144 lease is for and the nature          ALL RELATED AGREEMENTS         PO BOX 2022
      of the debtor’s interest                                            WRANGELL, AK 99929

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
      State what the contract or           AGREEMENT DATED 02/23/2023 AND SUNDIAL TRAVEL SERVICES INC
2.145 lease is for and the nature          ALL RELATED AGREEMENTS         750 MARINE DRIVE
      of the debtor’s interest                                            SUITE 100
                                                                          ASTORIA, OR 97103
           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           ACCOMMODATION AGREEMENT
      State what the contract or           AND ALL RELATED AGREEMENTS         SWVP NEW ORLEANS, LLC
2.146 lease is for and the nature                                             444 ST. CHARLES AVENUE
      of the debtor’s interest                                                NEW ORLEANS, LA 70130

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
      State what the contract or           AGREEMENT DATED 01/20/2023 AND THE FRAZIER HISTORY MUSEUM
2.147 lease is for and the nature          ALL RELATED AGREEMENTS         829 W MAIN ST
      of the debtor’s interest                                            LOUISVILLE, KY 40202

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           ACCOMMODATION AGREEMENT
      State what the contract or           DATED 12/11/2023 AND ALL RELATED THE PEABODY MEMPHIS
2.148 lease is for and the nature          AGREEMENTS                       149 UNION AVENUE
      of the debtor’s interest                                              MEMPHIS, TN 38103

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           ACCOMMODATION AGREEMENT
      State what the contract or           DATED 11/03/2021 AND ALL RELATED THE PEABODY MEMPHIS
2.149 lease is for and the nature          AGREEMENTS                       149 UNION AVENUE
      of the debtor’s interest                                              MEMPHIS, TN 38103

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
      State what the contract or           AGREEMENT DATED 01/20/2023 AND THE WATKINS CO
2.150 lease is for and the nature          ALL RELATED AGREEMENTS         150 LIBERTY STREET
      of the debtor’s interest                                            WINONA, MN 55987

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           LETTER OF AGREEMENT DATED
      State what the contract or           04/17/2023 AND ALL RELATED         THE WESTIN MEMPHIS BEALE STREET
2.151 lease is for and the nature          AGREEMENTS                         170 IT. GEORGC W. LEE AVENUE
      of the debtor’s interest                                                MEMPHIS, TN 38103

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           LETTER OF AGREEMENT DATED
      State what the contract or           02/27/2023 AND ALL RELATED         THE WESTIN MEMPHIS BEALE STREET
2.152 lease is for and the nature          AGREEMENTS                         170 IT. GEORGC W. LEE AVENUE
      of the debtor’s interest                                                MEMPHIS, TN 38103

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           AGREEMENT BETWEEN TORONTO
      State what the contract or           MARRIOTT CITY CENTRE &             TORONTO MARRIOTT CITY CENTRE
2.153 lease is for and the nature          CONFERENCE CENTRE AND SEA          1 BLUE JAYS WAY
      of the debtor’s interest             OPERATING COMPANY, LLC. AND        TORONTO, ON M5V 1J4
                                           ALL RELATED AGREEMENTS             CANADA
           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           AGREEMENT BETWEEN TORONTO
      State what the contract or           MARRIOTT CITY CENTRE &             TORONTO MARRIOTT CITY CENTRE
2.154 lease is for and the nature          CONFERENCE CENTRE AND SEA          1 BLUE JAYS WAY
      of the debtor’s interest             OPERATING COMPANY, LLC. DATED      TORONTO, ON M5V 1J4
                                           09/20/2021 AND ALL RELATED         CANADA
           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           AGREEMENT BETWEEN TORONTO
      State what the contract or           MARRIOTT CITY CENTRE &             TORONTO MARRIOTT CITY CENTRE
2.155 lease is for and the nature          CONFERENCE CENTRE AND SEA          1 BLUE JAYS WAY
      of the debtor’s interest             OPERATING COMPANY, LLC. DATED      TORONTO, ON M5V 1J4
                                           09/20/2021 AND ALL RELATED         CANADA
           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
      State what the contract or           AGREEMENT DATED 01/20/2023 AND TRAVEL DUBUQUE
2.156 lease is for and the nature          ALL RELATED AGREEMENTS         ATTN: KEITH RAHE
      of the debtor’s interest                                            300 MAIN ST, STE 120
                                                                          DUBUQUE, IA 52001
           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
      State what the contract or           AGREEMENT DATED 01/20/2023 AND TRAVEL DUBUQUE (ATTRACTIONS)
2.157 lease is for and the nature          ALL RELATED AGREEMENTS         300 MAIN STREET, SUITE 120
      of the debtor’s interest                                            DUBUQUE, IA 52001

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
      State what the contract or           AGREEMENT DATED 01/26/2023 AND TUNICA COUNTY TOURISM COMMISSION/GATEWAY TO THE
2.158 lease is for and the nature          ALL RELATED AGREEMENTS         BLUES MUSEUM
      of the debtor’s interest                                            13625 US-61
                                                                          TUNICA RESORTS, MS 38664
           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
      State what the contract or           AGREEMENT DATED 01/20/2023 AND U.S. GRANT HISTORIC SITES
2.159 lease is for and the nature          ALL RELATED AGREEMENTS         PO BOX 333
      of the debtor’s interest                                            GALENA, IL 61036

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract



Official Form 206G                             Schedule G: Executory Contracts and Unexpired Leases                             Page 23 of 27
  Debtor
                       Case 24-90061 Document 819 Filed in TXSB on Case
              SEA Operating Company, LLC
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                                                                        number (If known): 24-90070 (MI)
              Name

               Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           SHORE EXCURSIONS SERVICE
      State what the contract or           AGREEMENT DATED 02/01/2023 AND USS KIDD VETERANS MEMORIAL & MUSEUM
2.160 lease is for and the nature          ALL RELATED AGREEMENTS         305 SOUTH RIVER ROAD
      of the debtor’s interest                                            BATON ROUGE, LA 70802

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           INTERCOMPANY INTELLECTUAL
      State what the contract or           PROPERTY LICENSE AGREEMENT       VICTORY OPERATING COMPANY, LLC
2.161 lease is for and the nature          DATED 01/01/2021 AND ALL RELATED 2400 E. COMMERCIAL BLVD., STE. 1200
      of the debtor’s interest             AGREEMENTS                       FORT LAUDERDALE, FL 33308

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           INTERCOMPANY INTELLECTUAL
      State what the contract or           PROPERTY LICENSE AGREEMENT       VICTORY OPERATING COMPANY, LLC
2.162 lease is for and the nature          DATED 01/01/2021 AND ALL RELATED 2400 E. COMMERCIAL BLVD., STE. 1200
      of the debtor’s interest             AGREEMENTS                       FORT LAUDERDALE, FL 33308

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           INTERCOMPANY INTELLECTUAL
      State what the contract or           PROPERTY LICENSE AGREEMENT       VICTORY OPERATING COMPANY, LLC
2.163 lease is for and the nature          DATED 01/01/2021 AND ALL RELATED 2400 E. COMMERCIAL BLVD., STE. 1200
      of the debtor’s interest             AGREEMENTS                       FORT LAUDERDALE, FL 33308

           State the term remaining
           List the contract number of
           any government contract

                                           INTERCOMPANY INTELLECTUAL
      State what the contract or           PROPERTY LICENSE AGREEMENT       VICTORY OPERATING COMPANY, LLC
2.164 lease is for and the nature          DATED 01/01/2021 AND ALL RELATED 2400 E. COMMERCIAL BLVD., STE. 1200
      of the debtor’s interest             AGREEMENTS                       FORT LAUDERDALE, FL 33308

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           INTERCOMPANY INTELLECTUAL
      State what the contract or           PROPERTY LICENSE AGREEMENT       VICTORY OPERATING COMPANY, LLC
2.165 lease is for and the nature          DATED 01/01/2021 AND ALL RELATED 2400 E. COMMERCIAL BLVD., STE. 1200
      of the debtor’s interest             AGREEMENTS                       FORT LAUDERDALE, FL 33308

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
      State what the contract or           AGREEMENT DATED 04/21/2023 AND VIKING TRAVEL INC.
2.166 lease is for and the nature          ALL RELATED AGREEMENTS         101 NORTH NORDIC
      of the debtor’s interest                                            PETERSBURG, AK 99833

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract



Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                            Page 24 of 27
  Debtor
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                                                                        number (If known): 24-90070 (MI)
              Name

               Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           SHORE EXCURSIONS SERVICE
      State what the contract or           AGREEMENT DATED 04/26/2023 AND VISIT MADISON, INC.
2.167 lease is for and the nature          ALL RELATED AGREEMENTS         601 W 1ST ST
      of the debtor’s interest                                            MADISON, IN 47250

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
      State what the contract or           AGREEMENT DATED 01/20/2023 AND VISIT QUAD CITIES
2.168 lease is for and the nature          ALL RELATED AGREEMENTS         1601 RIVER DRIVE, SUITE 110
      of the debtor’s interest                                            MOLINE, IL 61265

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           STANDARD SHORE EXCURSION
      State what the contract or           AGREEMENT DATED 04/01/2023 AND WARD COVE DOCK GROUP
2.169 lease is for and the nature          ALL RELATED AGREEMENTS         1975 DISCOVERY DRIVE
      of the debtor’s interest                                            FAIRBANKS, AK 99709

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           NON-DISCLOSURE AGREEMENT
      State what the contract or           DATED 01/24/2022 AND ALL RELATED WARD COVE DOCK GROUP, LLC
2.170 lease is for and the nature          AGREEMENTS                       1975 DISCOVERY DRIVE
      of the debtor’s interest                                              FAIRBANKS, AK 99709

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
      State what the contract or           AGREEMENT DATED 01/31/2023 AND WESTERN ANTIQUE AEROPLANE AND AUTOMOBILE MUSEUM
2.171 lease is for and the nature          ALL RELATED AGREEMENTS         1600 AIR MUSEUM ROAD
      of the debtor’s interest                                            HOOD RIVER, OR 97031

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           SHORE EXCURSIONS SERVICE
      State what the contract or           AGREEMENT DATED 04/17/2023 AND WESTERN KY BOTANICAL GARDENS
2.172 lease is for and the nature          ALL RELATED AGREEMENTS         2731 W 2ND ST
      of the debtor’s interest                                            OWENSBORO, KY 42301

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           2023 OPERATOR/VENDOR
      State what the contract or           AGREEMENT DATED 02/02/2023 AND WHERE THE EAGLE WALKS
2.173 lease is for and the nature          ALL RELATED AGREEMENTS         P.O. BOX 6754
      of the debtor’s interest                                            KETCHIKAN, AK 99901

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract



Official Form 206G                             Schedule G: Executory Contracts and Unexpired Leases                             Page 25 of 27
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              Name

               Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           AMENDENT ONE TO
      State what the contract or           TRANPORTATION SERVICES         WINDSTAR LINES INC
2.174 lease is for and the nature          AGREEMENT DATED 11/18/2021 AND 401 CHARLOTTE ST.
      of the debtor’s interest             ALL RELATED AGREEMENTS         KANSAS CITY, MO 64106

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           TRANSPORTATION SERVICES
      State what the contract or           AGREEMENT DATED 08/01/2021 AND WINDSTAR LINES, INC
2.175 lease is for and the nature          ALL RELATED AGREEMENTS         1903 N US HWY 71
      of the debtor’s interest                                            P.O. BOX 786
                                                                          CARROLL, IA 51401
           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           TRANSPORTATION SERVICES
      State what the contract or           AGREEMENT DATED 11/18/2021 AND WINDSTAR LINES, INC
2.176 lease is for and the nature          ALL RELATED AGREEMENTS         1903 N US HWY 71
      of the debtor’s interest                                            P.O. BOX 786
                                                                          CARROLL, IA 51401
           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           TRANSPORTATION SERVICES
      State what the contract or           AGREEMENT DATED 08/01/2021 AND WINDSTAR LINES, INC.
2.177 lease is for and the nature          ALL RELATED AGREEMENTS         1903 N US HWY 71
      of the debtor’s interest                                            P.O. BOX 786
                                                                          CARROLL, IA 51401
           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           TRANSPORTATION SERVICES
      State what the contract or           AGREEMENT DATED 08/01/2021 AND WINDSTAR LINES, INC.
2.178 lease is for and the nature          ALL RELATED AGREEMENTS         1903 N US HWY 71, P.O. BOX 786
      of the debtor’s interest                                            CARROLL, IA 51401

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           TRANSPORTATION SERVICES
      State what the contract or           AGREEMENT AND ALL RELATED          WINDSTAR LINES, INC.
2.179 lease is for and the nature          AGREEMENTS                         1903 N US HWY 71
      of the debtor’s interest                                                P.O. BOX 786
                                                                              CARROLL, IA 51401
           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract

                                           TRANSPORTATION SERVICES
      State what the contract or           AGREEMENT AND ALL RELATED          WINDSTAR LINES, INC.
2.180 lease is for and the nature          AGREEMENTS                         1903 N US HWY 71
      of the debtor’s interest                                                P.O. BOX 786
                                                                              CARROLL, IA 51401
           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract



Official Form 206G                             Schedule G: Executory Contracts and Unexpired Leases                             Page 26 of 27
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              Name

               Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                           SHORE EXCURSIONS SERVICE
      State what the contract or           AGREEMENT DATED 01/30/2023 AND WINONA COUNTY HISTORICAL SOCIETY
2.181 lease is for and the nature          ALL RELATED AGREEMENTS         160 JOHNSON ST
      of the debtor’s interest                                            WINONA, MN 55987

           State the term remaining        UNDETERMINED
           List the contract number of
           any government contract


           State what the contract or
           lease is for and the nature
           of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract


           State what the contract or
           lease is for and the nature
           of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract


           State what the contract or
           lease is for and the nature
           of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract


           State what the contract or
           lease is for and the nature
           of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract


           State what the contract or
           lease is for and the nature
           of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract


           State what the contract or
           lease is for and the nature
           of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract



Official Form 206G                             Schedule G: Executory Contracts and Unexpired Leases                             Page 27 of 27
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  Fill in this information to identify the case:

 Debtor name      SEA Operating Company, LLC

 United States Bankruptcy Court for the:    Southern District of Texas, Houston Division
                                                                                                                                                   ¨ Check if this is an
 Case number (If known):      24-90070 (MI)                                                                                                            amended filing

Official Form 206H
Schedule H: Codebtors                                                                                                                                            12/15
Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
additional Page to this page.

   1. Does the debtor have any codebtors?
       ¨ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
       þ Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
      schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                                Column 2: Creditor

          Name                             Mailing address                                                                  Name                     Check all schedules
                                                                                                                                                     that apply:
 2.1   Alcatraz Cruises, LLC           PIER 3, THE EMBARCADERO                                                           ALTER DOMUS (US) LLC        þ D
                                       SAN FRANCISCO, CA 94111                                                                                       ¨ E/F
                                                                                                                                                     ¨ G



 2.2   Alcatraz Cruises, LLC           PIER 3, THE EMBARCADERO                                                           ALTER DOMUS (US) LLC        þ D
                                       SAN FRANCISCO, CA 94111                                                                                       ¨ E/F
                                                                                                                                                     ¨ G



 2.3   Alcatraz Cruises, LLC           PIER 3, THE EMBARCADERO                                                           GLAS TRUST COMPANY          þ D
                                       SAN FRANCISCO, CA 94111                                                           LLC                         ¨ E/F
                                                                                                                                                     ¨ G



 2.4   Alcatraz Cruises, LLC           PIER 3, THE EMBARCADERO                                                           GLAS TRUST COMPANY          þ D
                                       SAN FRANCISCO, CA 94111                                                           LLC                         ¨ E/F
                                                                                                                                                     ¨ G



 2.5   Alcatraz Cruises, LLC           PIER 3, THE EMBARCADERO                                                           UBS AG, STAMFORD            þ D
                                       SAN FRANCISCO, CA 94111                                                           BRANCH                      ¨ E/F
                                                                                                                                                     ¨ G



 2.6   Alcatraz Fleet, LLC             PIER 3, THE EMBARCADERO                                                           ALTER DOMUS (US) LLC        þ D
                                       SAN FRANCISCO, CA 94111                                                                                       ¨ E/F
                                                                                                                                                     ¨ G




Official Form 206H                                                           Schedule H: Codebtors                                                        Page 1 of 60
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   Debtor   SEA Operating Company, LLC                                                          Case number (If known):   24-90070 (MI)
            Name


             Additional Page if Debtor Has More Codebtors

              Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                                       Column 2: Creditor

            Name                      Mailing address                                                               Name                  Check all schedules
                                                                                                                                          that apply:

 2.7    Alcatraz Fleet, LLC         PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
                                    SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                          ¨ G



 2.8    Alcatraz Fleet, LLC         PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                    SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G



 2.9    Alcatraz Fleet, LLC         PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                    SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G



 2.10   Alcatraz Fleet, LLC         PIER 3, THE EMBARCADERO                                                      UBS AG, STAMFORD         þ D
                                    SAN FRANCISCO, CA 94111                                                      BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



 2.11   Alcatraz Freedom, LLC       PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
                                    SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                          ¨ G



 2.12   Alcatraz Freedom, LLC       PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
                                    SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                          ¨ G



 2.13   Alcatraz Freedom, LLC       PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                    SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G



 2.14   Alcatraz Freedom, LLC       PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                    SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G




Official Form 206H                                                    Schedule H: Codebtors                                                  Page 2 of 60
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   Debtor   SEA Operating Company, LLC                                                           Case number (If known):   24-90070 (MI)
            Name


             Additional Page if Debtor Has More Codebtors

               Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                                        Column 2: Creditor

            Name                       Mailing address                                                               Name                  Check all schedules
                                                                                                                                           that apply:

 2.15   Alcatraz Freedom, LLC        PIER 3, THE EMBARCADERO                                                      UBS AG, STAMFORD         þ D
                                     SAN FRANCISCO, CA 94111                                                      BRANCH                   ¨ E/F
                                                                                                                                           ¨ G



 2.16   Alcatraz Island Services,    PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
        LLC                          SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                           ¨ G



 2.17   Alcatraz Island Services,    PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
        LLC                          SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                           ¨ G



 2.18   Alcatraz Island Services,    PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
        LLC                          SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                           ¨ G



 2.19   Alcatraz Island Services,    PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
        LLC                          SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                           ¨ G



 2.20   Alcatraz Island Services,    PIER 3, THE EMBARCADERO                                                      UBS AG, STAMFORD         þ D
        LLC                          SAN FRANCISCO, CA 94111                                                      BRANCH                   ¨ E/F
                                                                                                                                           ¨ G



 2.21   American Countess, LLC       2400 E. COMMERCIAL BLVD., STE. 1200                                          ALTER DOMUS (US) LLC     þ D
                                     FORT LAUDERDALE, FL 33308                                                                             ¨ E/F
                                                                                                                                           ¨ G



 2.22   American Countess, LLC       2400 E. COMMERCIAL BLVD., STE. 1200                                          ALTER DOMUS (US) LLC     þ D
                                     FORT LAUDERDALE, FL 33308                                                                             ¨ E/F
                                                                                                                                           ¨ G




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   Debtor   SEA Operating Company, LLC                                                          Case number (If known):   24-90070 (MI)
            Name


             Additional Page if Debtor Has More Codebtors

              Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                                       Column 2: Creditor

            Name                      Mailing address                                                               Name                  Check all schedules
                                                                                                                                          that apply:

 2.23   American Countess, LLC      2400 E. COMMERCIAL BLVD., STE. 1200                                          GLAS TRUST COMPANY       þ D
                                    FORT LAUDERDALE, FL 33308                                                    LLC                      ¨ E/F
                                                                                                                                          ¨ G



 2.24   American Countess, LLC      2400 E. COMMERCIAL BLVD., STE. 1200                                          GLAS TRUST COMPANY       þ D
                                    FORT LAUDERDALE, FL 33308                                                    LLC                      ¨ E/F
                                                                                                                                          ¨ G



 2.25   American Countess, LLC      2400 E. COMMERCIAL BLVD., STE. 1200                                          UBS AG, STAMFORD         þ D
                                    FORT LAUDERDALE, FL 33308                                                    BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



 2.26   American Duchess, LLC       2400 E. COMMERCIAL BLVD., STE. 1200                                          ALTER DOMUS (US) LLC     þ D
                                    FORT LAUDERDALE, FL 33308                                                                             ¨ E/F
                                                                                                                                          ¨ G



 2.27   American Duchess, LLC       2400 E. COMMERCIAL BLVD., STE. 1200                                          ALTER DOMUS (US) LLC     þ D
                                    FORT LAUDERDALE, FL 33308                                                                             ¨ E/F
                                                                                                                                          ¨ G



 2.28   American Duchess, LLC       2400 E. COMMERCIAL BLVD., STE. 1200                                          GLAS TRUST COMPANY       þ D
                                    FORT LAUDERDALE, FL 33308                                                    LLC                      ¨ E/F
                                                                                                                                          ¨ G



 2.29   American Duchess, LLC       2400 E. COMMERCIAL BLVD., STE. 1200                                          GLAS TRUST COMPANY       þ D
                                    FORT LAUDERDALE, FL 33308                                                    LLC                      ¨ E/F
                                                                                                                                          ¨ G



 2.30   American Duchess, LLC       2400 E. COMMERCIAL BLVD., STE. 1200                                          UBS AG, STAMFORD         þ D
                                    FORT LAUDERDALE, FL 33308                                                    BRANCH                   ¨ E/F
                                                                                                                                          ¨ G




Official Form 206H                                                    Schedule H: Codebtors                                                  Page 4 of 60
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   Debtor   SEA Operating Company, LLC                                                          Case number (If known):   24-90070 (MI)
            Name


             Additional Page if Debtor Has More Codebtors

              Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                                       Column 2: Creditor

            Name                      Mailing address                                                               Name                  Check all schedules
                                                                                                                                          that apply:

 2.31   American Queen Holdco,      2400 E. COMMERCIAL BLVD., STE. 1200                                          ALTER DOMUS (US) LLC     þ D
        LLC                         FORT LAUDERDALE, FL 33308                                                                             ¨ E/F
                                                                                                                                          ¨ G



 2.32   American Queen Holdco,      2400 E. COMMERCIAL BLVD., STE. 1200                                          ALTER DOMUS (US) LLC     þ D
        LLC                         FORT LAUDERDALE, FL 33308                                                                             ¨ E/F
                                                                                                                                          ¨ G



 2.33   American Queen Holdco,      2400 E. COMMERCIAL BLVD., STE. 1200                                          GLAS TRUST COMPANY       þ D
        LLC                         FORT LAUDERDALE, FL 33308                                                    LLC                      ¨ E/F
                                                                                                                                          ¨ G



 2.34   American Queen Holdco,      2400 E. COMMERCIAL BLVD., STE. 1200                                          GLAS TRUST COMPANY       þ D
        LLC                         FORT LAUDERDALE, FL 33308                                                    LLC                      ¨ E/F
                                                                                                                                          ¨ G



 2.35   American Queen Holdco,      2400 E. COMMERCIAL BLVD., STE. 1200                                          UBS AG, STAMFORD         þ D
        LLC                         FORT LAUDERDALE, FL 33308                                                    BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



 2.36   American Queen Holdings, 2400 E. COMMERCIAL BLVD., STE. 1200                                             ALTER DOMUS (US) LLC     þ D
        LLC                      FORT LAUDERDALE, FL 33308                                                                                ¨ E/F
                                                                                                                                          ¨ G



 2.37   American Queen Holdings, 2400 E. COMMERCIAL BLVD., STE. 1200                                             ALTER DOMUS (US) LLC     þ D
        LLC                      FORT LAUDERDALE, FL 33308                                                                                ¨ E/F
                                                                                                                                          ¨ G



 2.38   American Queen Holdings, 2400 E. COMMERCIAL BLVD., STE. 1200                                             GLAS TRUST COMPANY       þ D
        LLC                      FORT LAUDERDALE, FL 33308                                                       LLC                      ¨ E/F
                                                                                                                                          ¨ G




Official Form 206H                                                    Schedule H: Codebtors                                                  Page 5 of 60
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   Debtor   SEA Operating Company, LLC                                                          Case number (If known):   24-90070 (MI)
            Name


             Additional Page if Debtor Has More Codebtors

              Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                                       Column 2: Creditor

            Name                      Mailing address                                                               Name                  Check all schedules
                                                                                                                                          that apply:

 2.39   American Queen Holdings, 2400 E. COMMERCIAL BLVD., STE. 1200                                             GLAS TRUST COMPANY       þ D
        LLC                      FORT LAUDERDALE, FL 33308                                                       LLC                      ¨ E/F
                                                                                                                                          ¨ G



 2.40   American Queen Holdings, 2400 E. COMMERCIAL BLVD., STE. 1200                                             UBS AG, STAMFORD         þ D
        LLC                      FORT LAUDERDALE, FL 33308                                                       BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



 2.41   American Queen              2400 E. COMMERCIAL BLVD., STE. 1200                                          ALTER DOMUS (US) LLC     þ D
        Steamboat Operating         FORT LAUDERDALE, FL 33308                                                                             ¨ E/F
        Company, LLC
                                                                                                                                          ¨ G



 2.42   American Queen              2400 E. COMMERCIAL BLVD., STE. 1200                                          ALTER DOMUS (US) LLC     þ D
        Steamboat Operating         FORT LAUDERDALE, FL 33308                                                                             ¨ E/F
        Company, LLC
                                                                                                                                          ¨ G



 2.43   American Queen              2400 E. COMMERCIAL BLVD., STE. 1200                                          ARCH INSURANCE           ¨ D
        Steamboat Operating         FORT LAUDERDALE, FL 33308                                                    SOLUTIONS INC.           ¨ E/F
        Company, LLC
                                                                                                                                          þ G



 2.44   American Queen              2400 E. COMMERCIAL BLVD., STE. 1200                                          CAA TRAVEL               ¨ D
        Steamboat Operating         FORT LAUDERDALE, FL 33308                                                                             ¨ E/F
        Company, LLC
                                                                                                                                          þ G



 2.45   American Queen              2400 E. COMMERCIAL BLVD., STE. 1200                                          CAA TRAVEL               ¨ D
        Steamboat Operating         FORT LAUDERDALE, FL 33308                                                                             ¨ E/F
        Company, LLC
                                                                                                                                          þ G



 2.46   American Queen              2400 E. COMMERCIAL BLVD., STE. 1200                                          CAA TRAVELCAA TRAVEL     ¨ D
        Steamboat Operating         FORT LAUDERDALE, FL 33308                                                    ROSIE YU                 ¨ E/F
        Company, LLC
                                                                                                                                          þ G




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         Column 1: Codebtor                                                                                       Column 2: Creditor

            Name                      Mailing address                                                               Name                  Check all schedules
                                                                                                                                          that apply:

 2.47   American Queen              2400 E. COMMERCIAL BLVD., STE. 1200                                          CRUISE PLANNERS          ¨ D
        Steamboat Operating         FORT LAUDERDALE, FL 33308                                                                             ¨ E/F
        Company, LLC
                                                                                                                                          þ G



 2.48   American Queen              2400 E. COMMERCIAL BLVD., STE. 1200                                          GLAS TRUST COMPANY       þ D
        Steamboat Operating         FORT LAUDERDALE, FL 33308                                                    LLC                      ¨ E/F
        Company, LLC
                                                                                                                                          ¨ G



 2.49   American Queen              2400 E. COMMERCIAL BLVD., STE. 1200                                          GLAS TRUST COMPANY       þ D
        Steamboat Operating         FORT LAUDERDALE, FL 33308                                                    LLC                      ¨ E/F
        Company, LLC
                                                                                                                                          ¨ G



 2.50   American Queen              2400 E. COMMERCIAL BLVD., STE. 1200                                          GRUENINGER TOURS         ¨ D
        Steamboat Operating         FORT LAUDERDALE, FL 33308                                                    AND CRUISES              ¨ E/F
        Company, LLC
                                                                                                                                          þ G



 2.51   American Queen              2400 E. COMMERCIAL BLVD., STE. 1200                                          GRUENINGER TOURS         ¨ D
        Steamboat Operating         FORT LAUDERDALE, FL 33308                                                    AND CRUISES              ¨ E/F
        Company, LLC
                                                                                                                                          þ G



 2.52   American Queen              2400 E. COMMERCIAL BLVD., STE. 1200                                          GRUENINGER TOURS         ¨ D
        Steamboat Operating         FORT LAUDERDALE, FL 33308                                                    AND CRUISES              ¨ E/F
        Company, LLC
                                                                                                                                          þ G



 2.53   American Queen              2400 E. COMMERCIAL BLVD., STE. 1200                                          HORNBLOWER GROUP,        ¨ D
        Steamboat Operating         FORT LAUDERDALE, FL 33308                                                    INC.                     ¨ E/F
        Company, LLC
                                                                                                                                          þ G



 2.54   American Queen              2400 E. COMMERCIAL BLVD., STE. 1200                                          HORNBLOWER GROUP,        ¨ D
        Steamboat Operating         FORT LAUDERDALE, FL 33308                                                    INC.                     ¨ E/F
        Company, LLC
                                                                                                                                          þ G




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         Column 1: Codebtor                                                                                       Column 2: Creditor

            Name                      Mailing address                                                               Name                  Check all schedules
                                                                                                                                          that apply:

 2.55   American Queen              2400 E. COMMERCIAL BLVD., STE. 1200                                          JOMAC TRAVEL             ¨ D
        Steamboat Operating         FORT LAUDERDALE, FL 33308                                                                             ¨ E/F
        Company, LLC
                                                                                                                                          þ G



 2.56   American Queen              2400 E. COMMERCIAL BLVD., STE. 1200                                          LANDMARK TOURS &         ¨ D
        Steamboat Operating         FORT LAUDERDALE, FL 33308                                                    CRUISES INC.             ¨ E/F
        Company, LLC
                                                                                                                                          þ G



 2.57   American Queen              2400 E. COMMERCIAL BLVD., STE. 1200                                          UBS AG, STAMFORD         þ D
        Steamboat Operating         FORT LAUDERDALE, FL 33308                                                    BRANCH                   ¨ E/F
        Company, LLC
                                                                                                                                          ¨ G



 2.58   American Queen              2400 E. COMMERCIAL BLVD., STE. 1200                                          VICTORY OPERATING        ¨ D
        Steamboat Operating         FORT LAUDERDALE, FL 33308                                                    COMPANY, LLC             ¨ E/F
        Company, LLC
                                                                                                                                          þ G



 2.59   American Queen              2400 E. COMMERCIAL BLVD., STE. 1200                                          VICTORY OPERATING        ¨ D
        Steamboat Operating         FORT LAUDERDALE, FL 33308                                                    COMPANY, LLC             ¨ E/F
        Company, LLC
                                                                                                                                          þ G



 2.60   American Queen              2400 E. COMMERCIAL BLVD., STE. 1200                                          VICTORY OPERATING        ¨ D
        Steamboat Operating         FORT LAUDERDALE, FL 33308                                                    COMPANY, LLC             ¨ E/F
        Company, LLC
                                                                                                                                          þ G



 2.61   American Queen              2400 E. COMMERCIAL BLVD., STE. 1200                                          WARD COVE DOCK           ¨ D
        Steamboat Operating         FORT LAUDERDALE, FL 33308                                                    GROUP, LLC               ¨ E/F
        Company, LLC
                                                                                                                                          þ G



 2.62   American Queen              2400 E. COMMERCIAL BLVD., STE. 1200                                          WINDSTAR LINES, INC.     ¨ D
        Steamboat Operating         FORT LAUDERDALE, FL 33308                                                                             ¨ E/F
        Company, LLC
                                                                                                                                          þ G




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         Column 1: Codebtor                                                                                       Column 2: Creditor

            Name                      Mailing address                                                               Name                  Check all schedules
                                                                                                                                          that apply:

 2.63   American Queen Sub, LLC 2400 E. COMMERCIAL BLVD., STE. 1200                                              ALTER DOMUS (US) LLC     þ D
                                FORT LAUDERDALE, FL 33308                                                                                 ¨ E/F
                                                                                                                                          ¨ G



 2.64   American Queen Sub, LLC 2400 E. COMMERCIAL BLVD., STE. 1200                                              ALTER DOMUS (US) LLC     þ D
                                FORT LAUDERDALE, FL 33308                                                                                 ¨ E/F
                                                                                                                                          ¨ G



 2.65   American Queen Sub, LLC 2400 E. COMMERCIAL BLVD., STE. 1200                                              GLAS TRUST COMPANY       þ D
                                FORT LAUDERDALE, FL 33308                                                        LLC                      ¨ E/F
                                                                                                                                          ¨ G



 2.66   American Queen Sub, LLC 2400 E. COMMERCIAL BLVD., STE. 1200                                              GLAS TRUST COMPANY       þ D
                                FORT LAUDERDALE, FL 33308                                                        LLC                      ¨ E/F
                                                                                                                                          ¨ G



 2.67   American Queen Sub, LLC 2400 E. COMMERCIAL BLVD., STE. 1200                                              UBS AG, STAMFORD         þ D
                                FORT LAUDERDALE, FL 33308                                                        BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



 2.68   Anchor Mexico Holdings,     PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
        LLC                         SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                          ¨ G



 2.69   Anchor Mexico Holdings,     PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
        LLC                         SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                          ¨ G



 2.70   Anchor Mexico Holdings,     PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
        LLC                         SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G




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         Column 1: Codebtor                                                                                       Column 2: Creditor

            Name                      Mailing address                                                               Name                  Check all schedules
                                                                                                                                          that apply:

 2.71   Anchor Mexico Holdings,     PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
        LLC                         SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G



 2.72   Anchor Mexico Holdings,     PIER 3, THE EMBARCADERO                                                      UBS AG, STAMFORD         þ D
        LLC                         SAN FRANCISCO, CA 94111                                                      BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



 2.73   Anchor Operating System, 2645 TOWNSGATE ROAD, SUITE 200                                                  ALTER DOMUS (US) LLC     þ D
        LLC                      WESTLAKE VILLAGE, CA 91361                                                                               ¨ E/F
                                                                                                                                          ¨ G



 2.74   Anchor Operating System, 2645 TOWNSGATE ROAD, SUITE 200                                                  ALTER DOMUS (US) LLC     þ D
        LLC                      WESTLAKE VILLAGE, CA 91361                                                                               ¨ E/F
                                                                                                                                          ¨ G



 2.75   Anchor Operating System, 2645 TOWNSGATE ROAD, SUITE 200                                                  GLAS TRUST COMPANY       þ D
        LLC                      WESTLAKE VILLAGE, CA 91361                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G



 2.76   Anchor Operating System, 2645 TOWNSGATE ROAD, SUITE 200                                                  GLAS TRUST COMPANY       þ D
        LLC                      WESTLAKE VILLAGE, CA 91361                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G



 2.77   Anchor Operating System, 2645 TOWNSGATE ROAD, SUITE 200                                                  UBS AG, STAMFORD         þ D
        LLC                      WESTLAKE VILLAGE, CA 91361                                                      BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



 2.78   Bay State, LLC              PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
                                    SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                          ¨ G




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         Column 1: Codebtor                                                                                       Column 2: Creditor

            Name                      Mailing address                                                               Name                  Check all schedules
                                                                                                                                          that apply:

 2.79   Bay State, LLC              PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
                                    SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                          ¨ G



 2.80   Bay State, LLC              PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                    SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G



 2.81   Bay State, LLC              PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                    SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G



 2.82   Bay State, LLC              PIER 3, THE EMBARCADERO                                                      UBS AG, STAMFORD         þ D
                                    SAN FRANCISCO, CA 94111                                                      BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



 2.83   Boston Harbor Cruises,      1 LONG WHARF                                                                 ALTER DOMUS (US) LLC     þ D
        LLC                         BOSTON, MA 02110                                                                                      ¨ E/F
                                                                                                                                          ¨ G



 2.84   Boston Harbor Cruises,      1 LONG WHARF                                                                 ALTER DOMUS (US) LLC     þ D
        LLC                         BOSTON, MA 02110                                                                                      ¨ E/F
                                                                                                                                          ¨ G



 2.85   Boston Harbor Cruises,      1 LONG WHARF                                                                 GLAS TRUST COMPANY       þ D
        LLC                         BOSTON, MA 02110                                                             LLC                      ¨ E/F
                                                                                                                                          ¨ G



 2.86   Boston Harbor Cruises,      1 LONG WHARF                                                                 GLAS TRUST COMPANY       þ D
        LLC                         BOSTON, MA 02110                                                             LLC                      ¨ E/F
                                                                                                                                          ¨ G




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            Name                       Mailing address                                                               Name                  Check all schedules
                                                                                                                                           that apply:

 2.87   Boston Harbor Cruises,       1 LONG WHARF                                                                 UBS AG, STAMFORD         þ D
        LLC                          BOSTON, MA 02110                                                             BRANCH                   ¨ E/F
                                                                                                                                           ¨ G



 2.88   City Cruises Cafe, LLC       PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
                                     SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                           ¨ G



 2.89   City Cruises Cafe, LLC       PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
                                     SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                           ¨ G



 2.90   City Cruises Cafe, LLC       PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                     SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                           ¨ G



 2.91   City Cruises Cafe, LLC       PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                     SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                           ¨ G



 2.92   City Cruises Cafe, LLC       PIER 3, THE EMBARCADERO                                                      UBS AG, STAMFORD         þ D
                                     SAN FRANCISCO, CA 94111                                                      BRANCH                   ¨ E/F
                                                                                                                                           ¨ G



 2.93   City Cruises Limited         CHERRY GARDEN PIER, CHERRY GARDEN STREET                                     ALTER DOMUS (US) LLC     þ D
                                     ROTHERHITHE                                                                                           ¨ E/F
                                     LONDON, SE16 4TU
                                     UNITED KINGDOM                                                                                        ¨ G



 2.94   City Cruises Limited         CHERRY GARDEN PIER, CHERRY GARDEN STREET                                     ALTER DOMUS (US) LLC     þ D
                                     ROTHERHITHE                                                                                           ¨ E/F
                                     LONDON, SE16 4TU
                                     UNITED KINGDOM                                                                                        ¨ G




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            Name                       Mailing address                                                               Name                  Check all schedules
                                                                                                                                           that apply:

 2.95   City Cruises Limited         CHERRY GARDEN PIER, CHERRY GARDEN STREET                                     GLAS TRUST COMPANY       þ D
                                     ROTHERHITHE                                                                  LLC                      ¨ E/F
                                     LONDON, SE16 4TU
                                     UNITED KINGDOM                                                                                        ¨ G



 2.96   City Cruises Limited         CHERRY GARDEN PIER, CHERRY GARDEN STREET                                     GLAS TRUST COMPANY       þ D
                                     ROTHERHITHE                                                                  LLC                      ¨ E/F
                                     LONDON, SE16 4TU
                                     UNITED KINGDOM                                                                                        ¨ G



 2.97   City Cruises Limited         CHERRY GARDEN PIER, CHERRY GARDEN STREET                                     UBS AG, STAMFORD         þ D
                                     ROTHERHITHE                                                                  BRANCH                   ¨ E/F
                                     LONDON, SE16 4TU
                                     UNITED KINGDOM                                                                                        ¨ G



 2.98   City Ferry Transportation    PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
        Services, LLC                SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                           ¨ G



 2.99   City Ferry Transportation    PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
        Services, LLC                SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                           ¨ G



2.100   City Ferry Transportation    PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
        Services, LLC                SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                           ¨ G



2.101   City Ferry Transportation    PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
        Services, LLC                SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                           ¨ G



2.102   City Ferry Transportation    PIER 3, THE EMBARCADERO                                                      UBS AG, STAMFORD         þ D
        Services, LLC                SAN FRANCISCO, CA 94111                                                      BRANCH                   ¨ E/F
                                                                                                                                           ¨ G




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         Column 1: Codebtor                                                                                       Column 2: Creditor

            Name                      Mailing address                                                               Name                  Check all schedules
                                                                                                                                          that apply:

2.103   Cruising Excursions         CHERRY GARDEN PIER, CHERRY GARDEN STREET                                     ALTER DOMUS (US) LLC     þ D
        Limited                     ROTHERHITHE                                                                                           ¨ E/F
                                    LONDON, SE16 4TU
                                    UNITED KINGDOM                                                                                        ¨ G



2.104   Cruising Excursions         CHERRY GARDEN PIER, CHERRY GARDEN STREET                                     ALTER DOMUS (US) LLC     þ D
        Limited                     ROTHERHITHE                                                                                           ¨ E/F
                                    LONDON, SE16 4TU
                                    UNITED KINGDOM                                                                                        ¨ G



2.105   Cruising Excursions         CHERRY GARDEN PIER, CHERRY GARDEN STREET                                     GLAS TRUST COMPANY       þ D
        Limited                     ROTHERHITHE                                                                  LLC                      ¨ E/F
                                    LONDON, SE16 4TU
                                    UNITED KINGDOM                                                                                        ¨ G



2.106   Cruising Excursions         CHERRY GARDEN PIER, CHERRY GARDEN STREET                                     GLAS TRUST COMPANY       þ D
        Limited                     ROTHERHITHE                                                                  LLC                      ¨ E/F
                                    LONDON, SE16 4TU
                                    UNITED KINGDOM                                                                                        ¨ G



2.107   Cruising Excursions         CHERRY GARDEN PIER, CHERRY GARDEN STREET                                     UBS AG, STAMFORD         þ D
        Limited                     ROTHERHITHE                                                                  BRANCH                   ¨ E/F
                                    LONDON, SE16 4TU
                                    UNITED KINGDOM                                                                                        ¨ G



2.108   Cruising Excursions         CHERRY GARDEN PIER, CHERRY GARDEN STREET                                     ALTER DOMUS (US) LLC     þ D
        Transport, Limited          LONDON, SE16 4TU                                                                                      ¨ E/F
                                    UNITED KINGDOM
                                                                                                                                          ¨ G



2.109   Cruising Excursions         CHERRY GARDEN PIER, CHERRY GARDEN STREET                                     ALTER DOMUS (US) LLC     þ D
        Transport, Limited          LONDON, SE16 4TU                                                                                      ¨ E/F
                                    UNITED KINGDOM
                                                                                                                                          ¨ G



2.110   Cruising Excursions         CHERRY GARDEN PIER, CHERRY GARDEN STREET                                     GLAS TRUST COMPANY       þ D
        Transport, Limited          LONDON, SE16 4TU                                                             LLC                      ¨ E/F
                                    UNITED KINGDOM
                                                                                                                                          ¨ G




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            Name                      Mailing address                                                               Name                  Check all schedules
                                                                                                                                          that apply:

2.111   Cruising Excursions         CHERRY GARDEN PIER, CHERRY GARDEN STREET                                     GLAS TRUST COMPANY       þ D
        Transport, Limited          LONDON, SE16 4TU                                                             LLC                      ¨ E/F
                                    UNITED KINGDOM
                                                                                                                                          ¨ G



2.112   Cruising Excursions         CHERRY GARDEN PIER, CHERRY GARDEN STREET                                     UBS AG, STAMFORD         þ D
        Transport, Limited          LONDON, SE16 4TU                                                             BRANCH                   ¨ E/F
                                    UNITED KINGDOM
                                                                                                                                          ¨ G



2.113   EON Partners, LLC           2400 E. COMMERCIAL BLVD., STE. 1200                                          ALTER DOMUS (US) LLC     þ D
                                    FORT LAUDERDALE, FL 33308                                                                             ¨ E/F
                                                                                                                                          ¨ G



2.114   EON Partners, LLC           2400 E. COMMERCIAL BLVD., STE. 1200                                          ALTER DOMUS (US) LLC     þ D
                                    FORT LAUDERDALE, FL 33308                                                                             ¨ E/F
                                                                                                                                          ¨ G



2.115   EON Partners, LLC           2400 E. COMMERCIAL BLVD., STE. 1200                                          GLAS TRUST COMPANY       þ D
                                    FORT LAUDERDALE, FL 33308                                                    LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.116   EON Partners, LLC           2400 E. COMMERCIAL BLVD., STE. 1200                                          GLAS TRUST COMPANY       þ D
                                    FORT LAUDERDALE, FL 33308                                                    LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.117   EON Partners, LLC           2400 E. COMMERCIAL BLVD., STE. 1200                                          UBS AG, STAMFORD         þ D
                                    FORT LAUDERDALE, FL 33308                                                    BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.118   Ferryboat Santa Rosa,       PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
        LLC                         SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                          ¨ G




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            Name                      Mailing address                                                               Name                  Check all schedules
                                                                                                                                          that apply:

2.119   Ferryboat Santa Rosa,       PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
        LLC                         SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                          ¨ G



2.120   Ferryboat Santa Rosa,       PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
        LLC                         SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.121   Ferryboat Santa Rosa,       PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
        LLC                         SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.122   Ferryboat Santa Rosa,       PIER 3, THE EMBARCADERO                                                      UBS AG, STAMFORD         þ D
        LLC                         SAN FRANCISCO, CA 94111                                                      BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.123   HMS American Queen     2400 E. COMMERCIAL BLVD., STE. 1200                                               ALTER DOMUS (US) LLC     þ D
        Steamboat Company, LLC FORT LAUDERDALE, FL 33308                                                                                  ¨ E/F
                                                                                                                                          ¨ G



2.124   HMS American Queen     2400 E. COMMERCIAL BLVD., STE. 1200                                               ALTER DOMUS (US) LLC     þ D
        Steamboat Company, LLC FORT LAUDERDALE, FL 33308                                                                                  ¨ E/F
                                                                                                                                          ¨ G



2.125   HMS American Queen     2400 E. COMMERCIAL BLVD., STE. 1200                                               GLAS TRUST COMPANY       þ D
        Steamboat Company, LLC FORT LAUDERDALE, FL 33308                                                         LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.126   HMS American Queen     2400 E. COMMERCIAL BLVD., STE. 1200                                               GLAS TRUST COMPANY       þ D
        Steamboat Company, LLC FORT LAUDERDALE, FL 33308                                                         LLC                      ¨ E/F
                                                                                                                                          ¨ G




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            Name                      Mailing address                                                               Name                  Check all schedules
                                                                                                                                          that apply:

2.127   HMS American Queen     2400 E. COMMERCIAL BLVD., STE. 1200                                               UBS AG, STAMFORD         þ D
        Steamboat Company, LLC FORT LAUDERDALE, FL 33308                                                         BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.128   HMS Ferries - Puerto Rico, PIER 3, THE EMBARCADERO                                                       ALTER DOMUS (US) LLC     þ D
        LLC                        SAN FRANCISCO, CA 94111                                                                                ¨ E/F
                                                                                                                                          ¨ G



2.129   HMS Ferries - Puerto Rico, PIER 3, THE EMBARCADERO                                                       ALTER DOMUS (US) LLC     þ D
        LLC                        SAN FRANCISCO, CA 94111                                                                                ¨ E/F
                                                                                                                                          ¨ G



2.130   HMS Ferries - Puerto Rico, PIER 3, THE EMBARCADERO                                                       GLAS TRUST COMPANY       þ D
        LLC                        SAN FRANCISCO, CA 94111                                                       LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.131   HMS Ferries - Puerto Rico, PIER 3, THE EMBARCADERO                                                       GLAS TRUST COMPANY       þ D
        LLC                        SAN FRANCISCO, CA 94111                                                       LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.132   HMS Ferries - Puerto Rico, PIER 3, THE EMBARCADERO                                                       UBS AG, STAMFORD         þ D
        LLC                        SAN FRANCISCO, CA 94111                                                       BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.133   HMS Ferries, Inc.           PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
                                    SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                          ¨ G



2.134   HMS Ferries, Inc.           PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
                                    SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                          ¨ G




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            Name                      Mailing address                                                               Name                  Check all schedules
                                                                                                                                          that apply:

2.135   HMS Ferries, Inc.           PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                    SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.136   HMS Ferries, Inc.           PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                    SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.137   HMS Ferries, Inc.           PIER 3, THE EMBARCADERO                                                      UBS AG, STAMFORD         þ D
                                    SAN FRANCISCO, CA 94111                                                      BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.138   HMS Global Maritime, Inc. 2400 E. COMMERCIAL BLVD., STE. 1200                                            ALTER DOMUS (US) LLC     þ D
                                  FORT LAUDERDALE, FL 33308                                                                               ¨ E/F
                                                                                                                                          ¨ G



2.139   HMS Global Maritime, Inc. 2400 E. COMMERCIAL BLVD., STE. 1200                                            ALTER DOMUS (US) LLC     þ D
                                  FORT LAUDERDALE, FL 33308                                                                               ¨ E/F
                                                                                                                                          ¨ G



2.140   HMS Global Maritime, Inc. 2400 E. COMMERCIAL BLVD., STE. 1200                                            GLAS TRUST COMPANY       þ D
                                  FORT LAUDERDALE, FL 33308                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.141   HMS Global Maritime, Inc. 2400 E. COMMERCIAL BLVD., STE. 1200                                            GLAS TRUST COMPANY       þ D
                                  FORT LAUDERDALE, FL 33308                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.142   HMS Global Maritime, Inc. 2400 E. COMMERCIAL BLVD., STE. 1200                                            UBS AG, STAMFORD         þ D
                                  FORT LAUDERDALE, FL 33308                                                      BRANCH                   ¨ E/F
                                                                                                                                          ¨ G




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2.143   HMS Global Maritime, LLC PIER 3, THE EMBARCADERO                                                         ALTER DOMUS (US) LLC     þ D
                                 SAN FRANCISCO, CA 94111                                                                                  ¨ E/F
                                                                                                                                          ¨ G



2.144   HMS Global Maritime, LLC PIER 3, THE EMBARCADERO                                                         ALTER DOMUS (US) LLC     þ D
                                 SAN FRANCISCO, CA 94111                                                                                  ¨ E/F
                                                                                                                                          ¨ G



2.145   HMS Global Maritime, LLC PIER 3, THE EMBARCADERO                                                         GLAS TRUST COMPANY       þ D
                                 SAN FRANCISCO, CA 94111                                                         LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.146   HMS Global Maritime, LLC PIER 3, THE EMBARCADERO                                                         GLAS TRUST COMPANY       þ D
                                 SAN FRANCISCO, CA 94111                                                         LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.147   HMS Global Maritime, LLC PIER 3, THE EMBARCADERO                                                         UBS AG, STAMFORD         þ D
                                 SAN FRANCISCO, CA 94111                                                         BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.148   HMS Vessel Holdings, LLC PIER 3, THE EMBARCADERO                                                         ALTER DOMUS (US) LLC     þ D
                                 SAN FRANCISCO, CA 94111                                                                                  ¨ E/F
                                                                                                                                          ¨ G



2.149   HMS Vessel Holdings, LLC PIER 3, THE EMBARCADERO                                                         ALTER DOMUS (US) LLC     þ D
                                 SAN FRANCISCO, CA 94111                                                                                  ¨ E/F
                                                                                                                                          ¨ G



2.150   HMS Vessel Holdings, LLC PIER 3, THE EMBARCADERO                                                         GLAS TRUST COMPANY       þ D
                                 SAN FRANCISCO, CA 94111                                                         LLC                      ¨ E/F
                                                                                                                                          ¨ G




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2.151   HMS Vessel Holdings, LLC PIER 3, THE EMBARCADERO                                                         GLAS TRUST COMPANY       þ D
                                 SAN FRANCISCO, CA 94111                                                         LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.152   HMS Vessel Holdings, LLC PIER 3, THE EMBARCADERO                                                         UBS AG, STAMFORD         þ D
                                 SAN FRANCISCO, CA 94111                                                         BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.153   HMS-Alabama, Inc.           PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
                                    SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                          ¨ G



2.154   HMS-Alabama, Inc.           PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
                                    SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                          ¨ G



2.155   HMS-Alabama, Inc.           PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                    SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.156   HMS-Alabama, Inc.           PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                    SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.157   HMS-Alabama, Inc.           PIER 3, THE EMBARCADERO                                                      UBS AG, STAMFORD         þ D
                                    SAN FRANCISCO, CA 94111                                                      BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.158   HMS-Oklahoma, Inc.          PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
                                    SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                          ¨ G




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2.159   HMS-Oklahoma, Inc.          PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
                                    SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                          ¨ G



2.160   HMS-Oklahoma, Inc.          PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                    SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.161   HMS-Oklahoma, Inc.          PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                    SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.162   HMS-Oklahoma, Inc.          PIER 3, THE EMBARCADERO                                                      UBS AG, STAMFORD         þ D
                                    SAN FRANCISCO, CA 94111                                                      BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.163   HMS-WestPac, Inc.           203 W. 1ST STREET, SUITE A                                                   ALTER DOMUS (US) LLC     þ D
                                    NEW ALBANY, IN 47150                                                                                  ¨ E/F
                                                                                                                                          ¨ G



2.164   HMS-WestPac, Inc.           203 W. 1ST STREET, SUITE A                                                   ALTER DOMUS (US) LLC     þ D
                                    NEW ALBANY, IN 47150                                                                                  ¨ E/F
                                                                                                                                          ¨ G



2.165   HMS-WestPac, Inc.           203 W. 1ST STREET, SUITE A                                                   GLAS TRUST COMPANY       þ D
                                    NEW ALBANY, IN 47150                                                         LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.166   HMS-WestPac, Inc.           203 W. 1ST STREET, SUITE A                                                   GLAS TRUST COMPANY       þ D
                                    NEW ALBANY, IN 47150                                                         LLC                      ¨ E/F
                                                                                                                                          ¨ G




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2.167   HMS-WestPac, Inc.           203 W. 1ST STREET, SUITE A                                                   UBS AG, STAMFORD         þ D
                                    NEW ALBANY, IN 47150                                                         BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.168   HNY Ferry Fleet, LLC        PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
                                    SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                          ¨ G



2.169   HNY Ferry Fleet, LLC        PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
                                    SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                          ¨ G



2.170   HNY Ferry Fleet, LLC        PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                    SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.171   HNY Ferry Fleet, LLC        PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                    SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.172   HNY Ferry Fleet, LLC        PIER 3, THE EMBARCADERO                                                      UBS AG, STAMFORD         þ D
                                    SAN FRANCISCO, CA 94111                                                      BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.173   HNY Ferry II, LLC           PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
                                    SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                          ¨ G



2.174   HNY Ferry II, LLC           PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
                                    SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                          ¨ G




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            Name                      Mailing address                                                               Name                  Check all schedules
                                                                                                                                          that apply:

2.175   HNY Ferry II, LLC           PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                    SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.176   HNY Ferry II, LLC           PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                    SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.177   HNY Ferry II, LLC           PIER 3, THE EMBARCADERO                                                      UBS AG, STAMFORD         þ D
                                    SAN FRANCISCO, CA 94111                                                      BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.178   HNY Ferry, LLC              PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
                                    SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                          ¨ G



2.179   HNY Ferry, LLC              PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
                                    SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                          ¨ G



2.180   HNY Ferry, LLC              PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                    SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.181   HNY Ferry, LLC              PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                    SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.182   HNY Ferry, LLC              PIER 3, THE EMBARCADERO                                                      UBS AG, STAMFORD         þ D
                                    SAN FRANCISCO, CA 94111                                                      BRANCH                   ¨ E/F
                                                                                                                                          ¨ G




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2.183   Hornblower Cable Cars,      PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
        Inc.                        SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                          ¨ G



2.184   Hornblower Cable Cars,      PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
        Inc.                        SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                          ¨ G



2.185   Hornblower Cable Cars,      PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
        Inc.                        SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.186   Hornblower Cable Cars,      PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
        Inc.                        SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.187   Hornblower Cable Cars,      PIER 3, THE EMBARCADERO                                                      UBS AG, STAMFORD         þ D
        Inc.                        SAN FRANCISCO, CA 94111                                                      BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.188   Hornblower Canada Co.       5775 RIVER RD., UNIT 110                                                     ALTER DOMUS (US) LLC     þ D
                                    NIAGARA FALLS, ON L2G 3K9                                                                             ¨ E/F
                                    CANADA
                                                                                                                                          ¨ G



2.189   Hornblower Canada Co.       5775 RIVER RD., UNIT 110                                                     ALTER DOMUS (US) LLC     þ D
                                    NIAGARA FALLS, ON L2G 3K9                                                                             ¨ E/F
                                    CANADA
                                                                                                                                          ¨ G



2.190   Hornblower Canada Co.       5775 RIVER RD., UNIT 110                                                     GLAS TRUST COMPANY       þ D
                                    NIAGARA FALLS, ON L2G 3K9                                                    LLC                      ¨ E/F
                                    CANADA
                                                                                                                                          ¨ G




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2.191   Hornblower Canada Co.       5775 RIVER RD., UNIT 110                                                     GLAS TRUST COMPANY       þ D
                                    NIAGARA FALLS, ON L2G 3K9                                                    LLC                      ¨ E/F
                                    CANADA
                                                                                                                                          ¨ G



2.192   Hornblower Canada Co.       5775 RIVER RD., UNIT 110                                                     UBS AG, STAMFORD         þ D
                                    NIAGARA FALLS, ON L2G 3K9                                                    BRANCH                   ¨ E/F
                                    CANADA
                                                                                                                                          ¨ G



2.193   Hornblower Canada           5775 RIVER RD., UNIT 110                                                     ALTER DOMUS (US) LLC     þ D
        Entertainment Limited       NIAGARA FALLS, ON L2G 3K9                                                                             ¨ E/F
                                    CANADA
                                                                                                                                          ¨ G



2.194   Hornblower Canada           5775 RIVER RD., UNIT 110                                                     ALTER DOMUS (US) LLC     þ D
        Entertainment Limited       NIAGARA FALLS, ON L2G 3K9                                                                             ¨ E/F
                                    CANADA
                                                                                                                                          ¨ G



2.195   Hornblower Canada           5775 RIVER RD., UNIT 110                                                     GLAS TRUST COMPANY       þ D
        Entertainment Limited       NIAGARA FALLS, ON L2G 3K9                                                    LLC                      ¨ E/F
                                    CANADA
                                                                                                                                          ¨ G



2.196   Hornblower Canada           5775 RIVER RD., UNIT 110                                                     GLAS TRUST COMPANY       þ D
        Entertainment Limited       NIAGARA FALLS, ON L2G 3K9                                                    LLC                      ¨ E/F
                                    CANADA
                                                                                                                                          ¨ G



2.197   Hornblower Canada           5775 RIVER RD., UNIT 110                                                     UBS AG, STAMFORD         þ D
        Entertainment Limited       NIAGARA FALLS, ON L2G 3K9                                                    BRANCH                   ¨ E/F
                                    CANADA
                                                                                                                                          ¨ G



2.198   Hornblower Canadian         PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
        Holdings, Inc.              SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                          ¨ G




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2.199   Hornblower Canadian         PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
        Holdings, Inc.              SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                          ¨ G



2.200   Hornblower Canadian         PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
        Holdings, Inc.              SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.201   Hornblower Canadian         PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
        Holdings, Inc.              SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.202   Hornblower Canadian         PIER 3, THE EMBARCADERO                                                      UBS AG, STAMFORD         þ D
        Holdings, Inc.              SAN FRANCISCO, CA 94111                                                      BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.203   Hornblower Consulting,      PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
        LLC                         SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                          ¨ G



2.204   Hornblower Consulting,      PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
        LLC                         SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                          ¨ G



2.205   Hornblower Consulting,      PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
        LLC                         SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.206   Hornblower Consulting,      PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
        LLC                         SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G




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2.207   Hornblower Consulting,      PIER 3, THE EMBARCADERO                                                      UBS AG, STAMFORD         þ D
        LLC                         SAN FRANCISCO, CA 94111                                                      BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.208   Hornblower Cruise           PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
        Holdings, LLC               SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                          ¨ G



2.209   Hornblower Cruise           PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
        Holdings, LLC               SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                          ¨ G



2.210   Hornblower Cruise           PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
        Holdings, LLC               SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.211   Hornblower Cruise           PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
        Holdings, LLC               SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.212   Hornblower Cruise           PIER 3, THE EMBARCADERO                                                      UBS AG, STAMFORD         þ D
        Holdings, LLC               SAN FRANCISCO, CA 94111                                                      BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.213   Hornblower Cruises and      207 QUEENS QUAY W, STE. 425                                                  ALTER DOMUS (US) LLC     þ D
        Events Canada Limited       TORONTO, ON M5J 1A7                                                                                   ¨ E/F
                                    CANADA
                                                                                                                                          ¨ G



2.214   Hornblower Cruises and      207 QUEENS QUAY W, STE. 425                                                  ALTER DOMUS (US) LLC     þ D
        Events Canada Limited       TORONTO, ON M5J 1A7                                                                                   ¨ E/F
                                    CANADA
                                                                                                                                          ¨ G




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2.215   Hornblower Cruises and      207 QUEENS QUAY W, STE. 425                                                  GLAS TRUST COMPANY       þ D
        Events Canada Limited       TORONTO, ON M5J 1A7                                                          LLC                      ¨ E/F
                                    CANADA
                                                                                                                                          ¨ G



2.216   Hornblower Cruises and      207 QUEENS QUAY W, STE. 425                                                  GLAS TRUST COMPANY       þ D
        Events Canada Limited       TORONTO, ON M5J 1A7                                                          LLC                      ¨ E/F
                                    CANADA
                                                                                                                                          ¨ G



2.217   Hornblower Cruises and      207 QUEENS QUAY W, STE. 425                                                  UBS AG, STAMFORD         þ D
        Events Canada Limited       TORONTO, ON M5J 1A7                                                          BRANCH                   ¨ E/F
                                    CANADA
                                                                                                                                          ¨ G



2.218   Hornblower Cruises and      455 N. CITYFRONT PLAZA DR., STE. 2600                                        ALTER DOMUS (US) LLC     þ D
        Events, Inc.                CHICAGO, IL 60611                                                                                     ¨ E/F
                                                                                                                                          ¨ G



2.219   Hornblower Cruises and      455 N. CITYFRONT PLAZA DR., STE. 2600                                        ALTER DOMUS (US) LLC     þ D
        Events, Inc.                CHICAGO, IL 60611                                                                                     ¨ E/F
                                                                                                                                          ¨ G



2.220   Hornblower Cruises and      455 N. CITYFRONT PLAZA DR., STE. 2600                                        GLAS TRUST COMPANY       þ D
        Events, Inc.                CHICAGO, IL 60611                                                            LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.221   Hornblower Cruises and      455 N. CITYFRONT PLAZA DR., STE. 2600                                        GLAS TRUST COMPANY       þ D
        Events, Inc.                CHICAGO, IL 60611                                                            LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.222   Hornblower Cruises and      455 N. CITYFRONT PLAZA DR., STE. 2600                                        UBS AG, STAMFORD         þ D
        Events, Inc.                CHICAGO, IL 60611                                                            BRANCH                   ¨ E/F
                                                                                                                                          ¨ G




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            Name                      Mailing address                                                               Name                  Check all schedules
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2.223   Hornblower Cruises and      455 N. CITYFRONT PLAZA DR., STE. 2600                                        ALTER DOMUS (US) LLC     þ D
        Events, LLC                 CHICAGO, IL 60611                                                                                     ¨ E/F
                                                                                                                                          ¨ G



2.224   Hornblower Cruises and      455 N. CITYFRONT PLAZA DR., STE. 2600                                        ALTER DOMUS (US) LLC     þ D
        Events, LLC                 CHICAGO, IL 60611                                                                                     ¨ E/F
                                                                                                                                          ¨ G



2.225   Hornblower Cruises and      455 N. CITYFRONT PLAZA DR., STE. 2600                                        GLAS TRUST COMPANY       þ D
        Events, LLC                 CHICAGO, IL 60611                                                            LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.226   Hornblower Cruises and      455 N. CITYFRONT PLAZA DR., STE. 2600                                        GLAS TRUST COMPANY       þ D
        Events, LLC                 CHICAGO, IL 60611                                                            LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.227   Hornblower Cruises and      455 N. CITYFRONT PLAZA DR., STE. 2600                                        UBS AG, STAMFORD         þ D
        Events, LLC                 CHICAGO, IL 60611                                                            BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.228   Hornblower Development, PIER 3, THE EMBARCADERO                                                          ALTER DOMUS (US) LLC     þ D
        LLC                     SAN FRANCISCO, CA 94111                                                                                   ¨ E/F
                                                                                                                                          ¨ G



2.229   Hornblower Development, PIER 3, THE EMBARCADERO                                                          ALTER DOMUS (US) LLC     þ D
        LLC                     SAN FRANCISCO, CA 94111                                                                                   ¨ E/F
                                                                                                                                          ¨ G



2.230   Hornblower Development, PIER 3, THE EMBARCADERO                                                          GLAS TRUST COMPANY       þ D
        LLC                     SAN FRANCISCO, CA 94111                                                          LLC                      ¨ E/F
                                                                                                                                          ¨ G




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2.231   Hornblower Development, PIER 3, THE EMBARCADERO                                                           GLAS TRUST COMPANY       þ D
        LLC                     SAN FRANCISCO, CA 94111                                                           LLC                      ¨ E/F
                                                                                                                                           ¨ G



2.232   Hornblower Development, PIER 3, THE EMBARCADERO                                                           UBS AG, STAMFORD         þ D
        LLC                     SAN FRANCISCO, CA 94111                                                           BRANCH                   ¨ E/F
                                                                                                                                           ¨ G



2.233   Hornblower Energy, LLC       PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
                                     SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                           ¨ G



2.234   Hornblower Energy, LLC       PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
                                     SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                           ¨ G



2.235   Hornblower Energy, LLC       PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                     SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                           ¨ G



2.236   Hornblower Energy, LLC       PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                     SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                           ¨ G



2.237   Hornblower Energy, LLC       PIER 3, THE EMBARCADERO                                                      UBS AG, STAMFORD         þ D
                                     SAN FRANCISCO, CA 94111                                                      BRANCH                   ¨ E/F
                                                                                                                                           ¨ G



2.238   Hornblower Facility          PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
        Operations, LLC              SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                           ¨ G




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2.239   Hornblower Facility          PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
        Operations, LLC              SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                           ¨ G



2.240   Hornblower Facility          PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
        Operations, LLC              SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                           ¨ G



2.241   Hornblower Facility          PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
        Operations, LLC              SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                           ¨ G



2.242   Hornblower Facility          PIER 3, THE EMBARCADERO                                                      UBS AG, STAMFORD         þ D
        Operations, LLC              SAN FRANCISCO, CA 94111                                                      BRANCH                   ¨ E/F
                                                                                                                                           ¨ G



2.243   Hornblower Ferry Holdings PIER 3, THE EMBARCADERO                                                         ALTER DOMUS (US) LLC     þ D
        II, LLC                   SAN FRANCISCO, CA 94111                                                                                  ¨ E/F
                                                                                                                                           ¨ G



2.244   Hornblower Ferry Holdings PIER 3, THE EMBARCADERO                                                         ALTER DOMUS (US) LLC     þ D
        II, LLC                   SAN FRANCISCO, CA 94111                                                                                  ¨ E/F
                                                                                                                                           ¨ G



2.245   Hornblower Ferry Holdings PIER 3, THE EMBARCADERO                                                         GLAS TRUST COMPANY       þ D
        II, LLC                   SAN FRANCISCO, CA 94111                                                         LLC                      ¨ E/F
                                                                                                                                           ¨ G



2.246   Hornblower Ferry Holdings PIER 3, THE EMBARCADERO                                                         GLAS TRUST COMPANY       þ D
        II, LLC                   SAN FRANCISCO, CA 94111                                                         LLC                      ¨ E/F
                                                                                                                                           ¨ G




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2.247   Hornblower Ferry Holdings PIER 3, THE EMBARCADERO                                                        UBS AG, STAMFORD         þ D
        II, LLC                   SAN FRANCISCO, CA 94111                                                        BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.248   Hornblower Ferry            PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
        Holdings, LLC               SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                          ¨ G



2.249   Hornblower Ferry            PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
        Holdings, LLC               SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                          ¨ G



2.250   Hornblower Ferry            PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
        Holdings, LLC               SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.251   Hornblower Ferry            PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
        Holdings, LLC               SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.252   Hornblower Ferry            PIER 3, THE EMBARCADERO                                                      UBS AG, STAMFORD         þ D
        Holdings, LLC               SAN FRANCISCO, CA 94111                                                      BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.253   Hornblower Fleet, LLC       PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
                                    SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                          ¨ G



2.254   Hornblower Fleet, LLC       PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
                                    SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                          ¨ G




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2.255   Hornblower Fleet, LLC       PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                    SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.256   Hornblower Fleet, LLC       PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                    SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.257   Hornblower Fleet, LLC       PIER 3, THE EMBARCADERO                                                      UBS AG, STAMFORD         þ D
                                    SAN FRANCISCO, CA 94111                                                      BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.258   Hornblower Freedom, LLC PIER 3, THE EMBARCADERO                                                          ALTER DOMUS (US) LLC     þ D
                                SAN FRANCISCO, CA 94111                                                                                   ¨ E/F
                                                                                                                                          ¨ G



2.259   Hornblower Freedom, LLC PIER 3, THE EMBARCADERO                                                          ALTER DOMUS (US) LLC     þ D
                                SAN FRANCISCO, CA 94111                                                                                   ¨ E/F
                                                                                                                                          ¨ G



2.260   Hornblower Freedom, LLC PIER 3, THE EMBARCADERO                                                          GLAS TRUST COMPANY       þ D
                                SAN FRANCISCO, CA 94111                                                          LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.261   Hornblower Freedom, LLC PIER 3, THE EMBARCADERO                                                          GLAS TRUST COMPANY       þ D
                                SAN FRANCISCO, CA 94111                                                          LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.262   Hornblower Freedom, LLC PIER 3, THE EMBARCADERO                                                          UBS AG, STAMFORD         þ D
                                SAN FRANCISCO, CA 94111                                                          BRANCH                   ¨ E/F
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2.263   Hornblower Group, Inc.      PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
                                    SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                          ¨ G



2.264   Hornblower Group, Inc.      PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
                                    SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                          ¨ G



2.265   Hornblower Group, Inc.      PIER 3, THE EMBARCADERO                                                      AMERICAN QUEEN           ¨ D
                                    SAN FRANCISCO, CA 94111                                                      STEAMBOAT OPERATING      ¨ E/F
                                                                                                                 COMPANY, LLC
                                                                                                                                          þ G



2.266   Hornblower Group, Inc.      PIER 3, THE EMBARCADERO                                                      AMERICAN QUEEN           ¨ D
                                    SAN FRANCISCO, CA 94111                                                      STEAMBOAT OPERATING      ¨ E/F
                                                                                                                 COMPANY, LLC
                                                                                                                                          þ G



2.267   Hornblower Group, Inc.      PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                    SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.268   Hornblower Group, Inc.      PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                    SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.269   Hornblower Group, Inc.      PIER 3, THE EMBARCADERO                                                      UBS AG, STAMFORD         þ D
                                    SAN FRANCISCO, CA 94111                                                      BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.270   Hornblower Group, Inc.      PIER 3, THE EMBARCADERO                                                      VICTORY OPERATING        ¨ D
                                    SAN FRANCISCO, CA 94111                                                      COMPANY, LLC             ¨ E/F
                                                                                                                                          þ G




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2.271   Hornblower Group, Inc.      PIER 3, THE EMBARCADERO                                                      VICTORY OPERATING        ¨ D
                                    SAN FRANCISCO, CA 94111                                                      COMPANY, LLC             ¨ E/F
                                                                                                                                          þ G



2.272   Hornblower Group, Inc.      PIER 3, THE EMBARCADERO                                                      VICTORY OPERATING        ¨ D
                                    SAN FRANCISCO, CA 94111                                                      COMPANY, LLC             ¨ E/F
                                                                                                                                          þ G



2.273   Hornblower Holdco, LLC      PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
                                    SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                          ¨ G



2.274   Hornblower Holdco, LLC      PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
                                    SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                          ¨ G



2.275   Hornblower Holdco, LLC      PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                    SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.276   Hornblower Holdco, LLC      PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                    SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.277   Hornblower Holdco, LLC      PIER 3, THE EMBARCADERO                                                      UBS AG, STAMFORD         þ D
                                    SAN FRANCISCO, CA 94111                                                      BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.278   Hornblower Hospitality      PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
        Services, LLC               SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                          ¨ G




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2.279   Hornblower Hospitality      PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
        Services, LLC               SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                          ¨ G



2.280   Hornblower Hospitality      PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
        Services, LLC               SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.281   Hornblower Hospitality      PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
        Services, LLC               SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.282   Hornblower Hospitality      PIER 3, THE EMBARCADERO                                                      UBS AG, STAMFORD         þ D
        Services, LLC               SAN FRANCISCO, CA 94111                                                      BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.283   Hornblower India Holdings, PIER 3, THE EMBARCADERO                                                       ALTER DOMUS (US) LLC     þ D
        LLC                        SAN FRANCISCO, CA 94111                                                                                ¨ E/F
                                                                                                                                          ¨ G



2.284   Hornblower India Holdings, PIER 3, THE EMBARCADERO                                                       ALTER DOMUS (US) LLC     þ D
        LLC                        SAN FRANCISCO, CA 94111                                                                                ¨ E/F
                                                                                                                                          ¨ G



2.285   Hornblower India Holdings, PIER 3, THE EMBARCADERO                                                       GLAS TRUST COMPANY       þ D
        LLC                        SAN FRANCISCO, CA 94111                                                       LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.286   Hornblower India Holdings, PIER 3, THE EMBARCADERO                                                       GLAS TRUST COMPANY       þ D
        LLC                        SAN FRANCISCO, CA 94111                                                       LLC                      ¨ E/F
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2.287   Hornblower India Holdings, PIER 3, THE EMBARCADERO                                                       UBS AG, STAMFORD         þ D
        LLC                        SAN FRANCISCO, CA 94111                                                       BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.288   Hornblower Metro Ferry,     PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
        LLC                         SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                          ¨ G



2.289   Hornblower Metro Ferry,     PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
        LLC                         SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                          ¨ G



2.290   Hornblower Metro Ferry,     PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
        LLC                         SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.291   Hornblower Metro Ferry,     PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
        LLC                         SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.292   Hornblower Metro Ferry,     PIER 3, THE EMBARCADERO                                                      UBS AG, STAMFORD         þ D
        LLC                         SAN FRANCISCO, CA 94111                                                      BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.293   Hornblower Metro Fleet,     PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
        LLC                         SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                          ¨ G



2.294   Hornblower Metro Fleet,     PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
        LLC                         SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                          ¨ G




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2.295   Hornblower Metro Fleet,     PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
        LLC                         SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.296   Hornblower Metro Fleet,     PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
        LLC                         SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.297   Hornblower Metro Fleet,     PIER 3, THE EMBARCADERO                                                      UBS AG, STAMFORD         þ D
        LLC                         SAN FRANCISCO, CA 94111                                                      BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.298   Hornblower Metro            PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
        Holdings, LLC               SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                          ¨ G



2.299   Hornblower Metro            PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
        Holdings, LLC               SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                          ¨ G



2.300   Hornblower Metro            PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
        Holdings, LLC               SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.301   Hornblower Metro            PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
        Holdings, LLC               SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.302   Hornblower Metro            PIER 3, THE EMBARCADERO                                                      UBS AG, STAMFORD         þ D
        Holdings, LLC               SAN FRANCISCO, CA 94111                                                      BRANCH                   ¨ E/F
                                                                                                                                          ¨ G




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            Name                      Mailing address                                                               Name                  Check all schedules
                                                                                                                                          that apply:

2.303   Hornblower Municipal        PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
        Operations, LLC             SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                          ¨ G



2.304   Hornblower Municipal        PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
        Operations, LLC             SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                          ¨ G



2.305   Hornblower Municipal        PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
        Operations, LLC             SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.306   Hornblower Municipal        PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
        Operations, LLC             SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.307   Hornblower Municipal        PIER 3, THE EMBARCADERO                                                      UBS AG, STAMFORD         þ D
        Operations, LLC             SAN FRANCISCO, CA 94111                                                      BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.308   Hornblower New York, LLC PIER 3, THE EMBARCADERO                                                         ALTER DOMUS (US) LLC     þ D
                                 SAN FRANCISCO, CA 94111                                                                                  ¨ E/F
                                                                                                                                          ¨ G



2.309   Hornblower New York, LLC PIER 3, THE EMBARCADERO                                                         ALTER DOMUS (US) LLC     þ D
                                 SAN FRANCISCO, CA 94111                                                                                  ¨ E/F
                                                                                                                                          ¨ G



2.310   Hornblower New York, LLC PIER 3, THE EMBARCADERO                                                         GLAS TRUST COMPANY       þ D
                                 SAN FRANCISCO, CA 94111                                                         LLC                      ¨ E/F
                                                                                                                                          ¨ G




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            Name                      Mailing address                                                               Name                  Check all schedules
                                                                                                                                          that apply:

2.311   Hornblower New York, LLC PIER 3, THE EMBARCADERO                                                         GLAS TRUST COMPANY       þ D
                                 SAN FRANCISCO, CA 94111                                                         LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.312   Hornblower New York, LLC PIER 3, THE EMBARCADERO                                                         UBS AG, STAMFORD         þ D
                                 SAN FRANCISCO, CA 94111                                                         BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.313   Hornblower Shipyard, LLC PIER 3, THE EMBARCADERO                                                         ALTER DOMUS (US) LLC     þ D
                                 SAN FRANCISCO, CA 94111                                                                                  ¨ E/F
                                                                                                                                          ¨ G



2.314   Hornblower Shipyard, LLC PIER 3, THE EMBARCADERO                                                         ALTER DOMUS (US) LLC     þ D
                                 SAN FRANCISCO, CA 94111                                                                                  ¨ E/F
                                                                                                                                          ¨ G



2.315   Hornblower Shipyard, LLC PIER 3, THE EMBARCADERO                                                         GLAS TRUST COMPANY       þ D
                                 SAN FRANCISCO, CA 94111                                                         LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.316   Hornblower Shipyard, LLC PIER 3, THE EMBARCADERO                                                         GLAS TRUST COMPANY       þ D
                                 SAN FRANCISCO, CA 94111                                                         LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.317   Hornblower Shipyard, LLC PIER 3, THE EMBARCADERO                                                         UBS AG, STAMFORD         þ D
                                 SAN FRANCISCO, CA 94111                                                         BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.318   Hornblower Sub, LLC         PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
                                    SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                          ¨ G




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2.319   Hornblower Sub, LLC         PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
                                    SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                          ¨ G



2.320   Hornblower Sub, LLC         PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                    SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.321   Hornblower Sub, LLC         PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                    SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.322   Hornblower Sub, LLC         PIER 3, THE EMBARCADERO                                                      UBS AG, STAMFORD         þ D
                                    SAN FRANCISCO, CA 94111                                                      BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.323   Hornblower UK Holdings      CHERRY GARDEN PIER, CHERRY GARDEN STREET                                     ALTER DOMUS (US) LLC     þ D
        Limited                     ROTHERHITHE                                                                                           ¨ E/F
                                    LONDON, SE16 4TU
                                    UNITED KINGDOM                                                                                        ¨ G



2.324   Hornblower UK Holdings      CHERRY GARDEN PIER, CHERRY GARDEN STREET                                     ALTER DOMUS (US) LLC     þ D
        Limited                     ROTHERHITHE                                                                                           ¨ E/F
                                    LONDON, SE16 4TU
                                    UNITED KINGDOM                                                                                        ¨ G



2.325   Hornblower UK Holdings      CHERRY GARDEN PIER, CHERRY GARDEN STREET                                     GLAS TRUST COMPANY       þ D
        Limited                     ROTHERHITHE                                                                  LLC                      ¨ E/F
                                    LONDON, SE16 4TU
                                    UNITED KINGDOM                                                                                        ¨ G



2.326   Hornblower UK Holdings      CHERRY GARDEN PIER, CHERRY GARDEN STREET                                     GLAS TRUST COMPANY       þ D
        Limited                     ROTHERHITHE                                                                  LLC                      ¨ E/F
                                    LONDON, SE16 4TU
                                    UNITED KINGDOM                                                                                        ¨ G




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            Name                      Mailing address                                                               Name                  Check all schedules
                                                                                                                                          that apply:

2.327   Hornblower UK Holdings      CHERRY GARDEN PIER, CHERRY GARDEN STREET                                     UBS AG, STAMFORD         þ D
        Limited                     ROTHERHITHE                                                                  BRANCH                   ¨ E/F
                                    LONDON, SE16 4TU
                                    UNITED KINGDOM                                                                                        ¨ G



2.328   Hornblower Yachts, LLC      PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
                                    SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                          ¨ G



2.329   Hornblower Yachts, LLC      PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
                                    SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                          ¨ G



2.330   Hornblower Yachts, LLC      PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                    SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.331   Hornblower Yachts, LLC      PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                    SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.332   Hornblower Yachts, LLC      PIER 3, THE EMBARCADERO                                                      UBS AG, STAMFORD         þ D
                                    SAN FRANCISCO, CA 94111                                                      BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.333   JJ Audubon, LLC             PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
                                    SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                          ¨ G



2.334   JJ Audubon, LLC             PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
                                    SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                          ¨ G




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            Name                      Mailing address                                                               Name                  Check all schedules
                                                                                                                                          that apply:

2.335   JJ Audubon, LLC             PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                    SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.336   JJ Audubon, LLC             PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                    SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.337   JJ Audubon, LLC             PIER 3, THE EMBARCADERO                                                      UBS AG, STAMFORD         þ D
                                    SAN FRANCISCO, CA 94111                                                      BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.338   Journey Beyond Holdings, PIER 3, THE EMBARCADERO                                                         ALTER DOMUS (US) LLC     þ D
        LLC                      SAN FRANCISCO, CA 94111                                                                                  ¨ E/F
                                                                                                                                          ¨ G



2.339   Journey Beyond Holdings, PIER 3, THE EMBARCADERO                                                         ALTER DOMUS (US) LLC     þ D
        LLC                      SAN FRANCISCO, CA 94111                                                                                  ¨ E/F
                                                                                                                                          ¨ G



2.340   Journey Beyond Holdings, PIER 3, THE EMBARCADERO                                                         GLAS TRUST COMPANY       þ D
        LLC                      SAN FRANCISCO, CA 94111                                                         LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.341   Journey Beyond Holdings, PIER 3, THE EMBARCADERO                                                         GLAS TRUST COMPANY       þ D
        LLC                      SAN FRANCISCO, CA 94111                                                         LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.342   Liberty Cruises, LLC        PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
                                    SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                          ¨ G




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                                                                                                                                           that apply:

2.343   Liberty Cruises, LLC         PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
                                     SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                           ¨ G



2.344   Liberty Cruises, LLC         PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                     SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                           ¨ G



2.345   Liberty Cruises, LLC         PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                     SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                           ¨ G



2.346   Liberty Cruises, LLC         PIER 3, THE EMBARCADERO                                                      UBS AG, STAMFORD         þ D
                                     SAN FRANCISCO, CA 94111                                                      BRANCH                   ¨ E/F
                                                                                                                                           ¨ G



2.347   Liberty Fleet, LLC           PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
                                     SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                           ¨ G



2.348   Liberty Fleet, LLC           PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
                                     SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                           ¨ G



2.349   Liberty Fleet, LLC           PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                     SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                           ¨ G



2.350   Liberty Fleet, LLC           PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                     SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                           ¨ G




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            Name                       Mailing address                                                               Name                  Check all schedules
                                                                                                                                           that apply:

2.351   Liberty Fleet, LLC           PIER 3, THE EMBARCADERO                                                      UBS AG, STAMFORD         þ D
                                     SAN FRANCISCO, CA 94111                                                      BRANCH                   ¨ E/F
                                                                                                                                           ¨ G



2.352   Liberty Hospitality, LLC     PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
                                     SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                           ¨ G



2.353   Liberty Hospitality, LLC     PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
                                     SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                           ¨ G



2.354   Liberty Hospitality, LLC     PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                     SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                           ¨ G



2.355   Liberty Hospitality, LLC     PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                     SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                           ¨ G



2.356   Liberty Hospitality, LLC     PIER 3, THE EMBARCADERO                                                      UBS AG, STAMFORD         þ D
                                     SAN FRANCISCO, CA 94111                                                      BRANCH                   ¨ E/F
                                                                                                                                           ¨ G



2.357   Liberty Landing Ferries,     PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
        LLC                          SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                           ¨ G



2.358   Liberty Landing Ferries,     PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
        LLC                          SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                           ¨ G




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2.359   Liberty Landing Ferries,     PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
        LLC                          SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                           ¨ G



2.360   Liberty Landing Ferries,     PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
        LLC                          SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                           ¨ G



2.361   Liberty Landing Ferries,     PIER 3, THE EMBARCADERO                                                      UBS AG, STAMFORD         þ D
        LLC                          SAN FRANCISCO, CA 94111                                                      BRANCH                   ¨ E/F
                                                                                                                                           ¨ G



2.362   Mission Bay Water Transit PIER 3, THE EMBARCADERO                                                         ALTER DOMUS (US) LLC     þ D
        Fleet, LLC                SAN FRANCISCO, CA 94111                                                                                  ¨ E/F
                                                                                                                                           ¨ G



2.363   Mission Bay Water Transit PIER 3, THE EMBARCADERO                                                         ALTER DOMUS (US) LLC     þ D
        Fleet, LLC                SAN FRANCISCO, CA 94111                                                                                  ¨ E/F
                                                                                                                                           ¨ G



2.364   Mission Bay Water Transit PIER 3, THE EMBARCADERO                                                         GLAS TRUST COMPANY       þ D
        Fleet, LLC                SAN FRANCISCO, CA 94111                                                         LLC                      ¨ E/F
                                                                                                                                           ¨ G



2.365   Mission Bay Water Transit PIER 3, THE EMBARCADERO                                                         GLAS TRUST COMPANY       þ D
        Fleet, LLC                SAN FRANCISCO, CA 94111                                                         LLC                      ¨ E/F
                                                                                                                                           ¨ G



2.366   Mission Bay Water Transit PIER 3, THE EMBARCADERO                                                         UBS AG, STAMFORD         þ D
        Fleet, LLC                SAN FRANCISCO, CA 94111                                                         BRANCH                   ¨ E/F
                                                                                                                                           ¨ G




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2.367   Mission Bay Water Transit, PIER 3, THE EMBARCADERO                                                       ALTER DOMUS (US) LLC     þ D
        LLC                        SAN FRANCISCO, CA 94111                                                                                ¨ E/F
                                                                                                                                          ¨ G



2.368   Mission Bay Water Transit, PIER 3, THE EMBARCADERO                                                       ALTER DOMUS (US) LLC     þ D
        LLC                        SAN FRANCISCO, CA 94111                                                                                ¨ E/F
                                                                                                                                          ¨ G



2.369   Mission Bay Water Transit, PIER 3, THE EMBARCADERO                                                       GLAS TRUST COMPANY       þ D
        LLC                        SAN FRANCISCO, CA 94111                                                       LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.370   Mission Bay Water Transit, PIER 3, THE EMBARCADERO                                                       GLAS TRUST COMPANY       þ D
        LLC                        SAN FRANCISCO, CA 94111                                                       LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.371   Mission Bay Water Transit, PIER 3, THE EMBARCADERO                                                       UBS AG, STAMFORD         þ D
        LLC                        SAN FRANCISCO, CA 94111                                                       BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.372   Niagara Jet Holdings, LLC PIER 3, THE EMBARCADERO                                                        ALTER DOMUS (US) LLC     þ D
                                  SAN FRANCISCO, CA 94111                                                                                 ¨ E/F
                                                                                                                                          ¨ G



2.373   Niagara Jet Holdings, LLC PIER 3, THE EMBARCADERO                                                        ALTER DOMUS (US) LLC     þ D
                                  SAN FRANCISCO, CA 94111                                                                                 ¨ E/F
                                                                                                                                          ¨ G



2.374   Niagara Jet Holdings, LLC PIER 3, THE EMBARCADERO                                                        GLAS TRUST COMPANY       þ D
                                  SAN FRANCISCO, CA 94111                                                        LLC                      ¨ E/F
                                                                                                                                          ¨ G




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2.375   Niagara Jet Holdings, LLC PIER 3, THE EMBARCADERO                                                        GLAS TRUST COMPANY       þ D
                                  SAN FRANCISCO, CA 94111                                                        LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.376   Niagara Jet Holdings, LLC PIER 3, THE EMBARCADERO                                                        UBS AG, STAMFORD         þ D
                                  SAN FRANCISCO, CA 94111                                                        BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.377   San Francisco Pier 33,      PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
        LLC                         SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                          ¨ G



2.378   San Francisco Pier 33,      PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
        LLC                         SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                          ¨ G



2.379   San Francisco Pier 33,      PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
        LLC                         SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.380   San Francisco Pier 33,      PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
        LLC                         SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.381   San Francisco Pier 33,      PIER 3, THE EMBARCADERO                                                      UBS AG, STAMFORD         þ D
        LLC                         SAN FRANCISCO, CA 94111                                                      BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.382   Seaward Services, Inc.      203 W. 1ST STREET, SUITE A                                                   ALTER DOMUS (US) LLC     þ D
                                    NEW ALBANY, IN 47150                                                                                  ¨ E/F
                                                                                                                                          ¨ G




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                                                                                                                                          that apply:

2.383   Seaward Services, Inc.      203 W. 1ST STREET, SUITE A                                                   ALTER DOMUS (US) LLC     þ D
                                    NEW ALBANY, IN 47150                                                                                  ¨ E/F
                                                                                                                                          ¨ G



2.384   Seaward Services, Inc.      203 W. 1ST STREET, SUITE A                                                   GLAS TRUST COMPANY       þ D
                                    NEW ALBANY, IN 47150                                                         LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.385   Seaward Services, Inc.      203 W. 1ST STREET, SUITE A                                                   GLAS TRUST COMPANY       þ D
                                    NEW ALBANY, IN 47150                                                         LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.386   Seaward Services, Inc.      203 W. 1ST STREET, SUITE A                                                   UBS AG, STAMFORD         þ D
                                    NEW ALBANY, IN 47150                                                         BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.387   Statue Cruises, LLC         PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
                                    SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                          ¨ G



2.388   Statue Cruises, LLC         PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
                                    SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                          ¨ G



2.389   Statue Cruises, LLC         PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                    SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.390   Statue Cruises, LLC         PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                    SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G




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   Debtor   SEA Operating Company, LLC                                                           Case number (If known):   24-90070 (MI)
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         Column 1: Codebtor                                                                                        Column 2: Creditor

            Name                       Mailing address                                                               Name                  Check all schedules
                                                                                                                                           that apply:

2.391   Statue Cruises, LLC          PIER 3, THE EMBARCADERO                                                      UBS AG, STAMFORD         þ D
                                     SAN FRANCISCO, CA 94111                                                      BRANCH                   ¨ E/F
                                                                                                                                           ¨ G



2.392   Statue of Liberty IV, LLC    PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
                                     SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                           ¨ G



2.393   Statue of Liberty IV, LLC    PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
                                     SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                           ¨ G



2.394   Statue of Liberty IV, LLC    PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                     SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                           ¨ G



2.395   Statue of Liberty IV, LLC    PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                     SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                           ¨ G



2.396   Statue of Liberty IV, LLC    PIER 3, THE EMBARCADERO                                                      UBS AG, STAMFORD         þ D
                                     SAN FRANCISCO, CA 94111                                                      BRANCH                   ¨ E/F
                                                                                                                                           ¨ G



2.397   Statue of Liberty V, LLC     PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
                                     SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                           ¨ G



2.398   Statue of Liberty V, LLC     PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
                                     SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                           ¨ G




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         Column 1: Codebtor                                                                                        Column 2: Creditor

            Name                       Mailing address                                                               Name                  Check all schedules
                                                                                                                                           that apply:

2.399   Statue of Liberty V, LLC     PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                     SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                           ¨ G



2.400   Statue of Liberty V, LLC     PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                     SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                           ¨ G



2.401   Statue of Liberty V, LLC     PIER 3, THE EMBARCADERO                                                      UBS AG, STAMFORD         þ D
                                     SAN FRANCISCO, CA 94111                                                      BRANCH                   ¨ E/F
                                                                                                                                           ¨ G



2.402   Statue of Liberty VI, LLC    PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
                                     SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                           ¨ G



2.403   Statue of Liberty VI, LLC    PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
                                     SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                           ¨ G



2.404   Statue of Liberty VI, LLC    PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                     SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                           ¨ G



2.405   Statue of Liberty VI, LLC    PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                     SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                           ¨ G



2.406   Statue of Liberty VI, LLC    PIER 3, THE EMBARCADERO                                                      UBS AG, STAMFORD         þ D
                                     SAN FRANCISCO, CA 94111                                                      BRANCH                   ¨ E/F
                                                                                                                                           ¨ G




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         Column 1: Codebtor                                                                                       Column 2: Creditor

            Name                      Mailing address                                                               Name                  Check all schedules
                                                                                                                                          that apply:

2.407   TCB Consulting, LLC         PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
                                    SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                          ¨ G



2.408   TCB Consulting, LLC         PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
                                    SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                          ¨ G



2.409   TCB Consulting, LLC         PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                    SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.410   TCB Consulting, LLC         PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                    SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.411   TCB Consulting, LLC         PIER 3, THE EMBARCADERO                                                      UBS AG, STAMFORD         þ D
                                    SAN FRANCISCO, CA 94111                                                      BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.412   Venture Ashore, LLC         PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
                                    SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                          ¨ G



2.413   Venture Ashore, LLC         PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
                                    SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                          ¨ G



2.414   Venture Ashore, LLC         PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                    SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G




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            Name                       Mailing address                                                               Name                  Check all schedules
                                                                                                                                           that apply:

2.415   Venture Ashore, LLC          PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                     SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                           ¨ G



2.416   Venture Ashore, LLC          PIER 3, THE EMBARCADERO                                                      UBS AG, STAMFORD         þ D
                                     SAN FRANCISCO, CA 94111                                                      BRANCH                   ¨ E/F
                                                                                                                                           ¨ G



2.417   Victory Holdings I, LLC      2400 E. COMMERCIAL BLVD., STE. 1200                                          ALTER DOMUS (US) LLC     þ D
                                     FORT LAUDERDALE, FL 33308                                                                             ¨ E/F
                                                                                                                                           ¨ G



2.418   Victory Holdings I, LLC      2400 E. COMMERCIAL BLVD., STE. 1200                                          ALTER DOMUS (US) LLC     þ D
                                     FORT LAUDERDALE, FL 33308                                                                             ¨ E/F
                                                                                                                                           ¨ G



2.419   Victory Holdings I, LLC      2400 E. COMMERCIAL BLVD., STE. 1200                                          GLAS TRUST COMPANY       þ D
                                     FORT LAUDERDALE, FL 33308                                                    LLC                      ¨ E/F
                                                                                                                                           ¨ G



2.420   Victory Holdings I, LLC      2400 E. COMMERCIAL BLVD., STE. 1200                                          GLAS TRUST COMPANY       þ D
                                     FORT LAUDERDALE, FL 33308                                                    LLC                      ¨ E/F
                                                                                                                                           ¨ G



2.421   Victory Holdings I, LLC      2400 E. COMMERCIAL BLVD., STE. 1200                                          UBS AG, STAMFORD         þ D
                                     FORT LAUDERDALE, FL 33308                                                    BRANCH                   ¨ E/F
                                                                                                                                           ¨ G



2.422   Victory Holdings II, LLC     2400 E. COMMERCIAL BLVD., STE. 1200                                          ALTER DOMUS (US) LLC     þ D
                                     FORT LAUDERDALE, FL 33308                                                                             ¨ E/F
                                                                                                                                           ¨ G




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            Name                       Mailing address                                                               Name                  Check all schedules
                                                                                                                                           that apply:

2.423   Victory Holdings II, LLC     2400 E. COMMERCIAL BLVD., STE. 1200                                          ALTER DOMUS (US) LLC     þ D
                                     FORT LAUDERDALE, FL 33308                                                                             ¨ E/F
                                                                                                                                           ¨ G



2.424   Victory Holdings II, LLC     2400 E. COMMERCIAL BLVD., STE. 1200                                          GLAS TRUST COMPANY       þ D
                                     FORT LAUDERDALE, FL 33308                                                    LLC                      ¨ E/F
                                                                                                                                           ¨ G



2.425   Victory Holdings II, LLC     2400 E. COMMERCIAL BLVD., STE. 1200                                          GLAS TRUST COMPANY       þ D
                                     FORT LAUDERDALE, FL 33308                                                    LLC                      ¨ E/F
                                                                                                                                           ¨ G



2.426   Victory Holdings II, LLC     2400 E. COMMERCIAL BLVD., STE. 1200                                          UBS AG, STAMFORD         þ D
                                     FORT LAUDERDALE, FL 33308                                                    BRANCH                   ¨ E/F
                                                                                                                                           ¨ G



2.427   Victory Operating            2400 E. COMMERCIAL BLVD., STE. 1200                                          ALTER DOMUS (US) LLC     þ D
        Company, LLC                 FORT LAUDERDALE, FL 33308                                                                             ¨ E/F
                                                                                                                                           ¨ G



2.428   Victory Operating            2400 E. COMMERCIAL BLVD., STE. 1200                                          ALTER DOMUS (US) LLC     þ D
        Company, LLC                 FORT LAUDERDALE, FL 33308                                                                             ¨ E/F
                                                                                                                                           ¨ G



2.429   Victory Operating            2400 E. COMMERCIAL BLVD., STE. 1200                                          AMERICAN QUEEN           ¨ D
        Company, LLC                 FORT LAUDERDALE, FL 33308                                                    STEAMBOAT OPERATING      ¨ E/F
                                                                                                                  COMPANY, LLC
                                                                                                                                           þ G



2.430   Victory Operating            2400 E. COMMERCIAL BLVD., STE. 1200                                          AMERICAN QUEEN           ¨ D
        Company, LLC                 FORT LAUDERDALE, FL 33308                                                    STEAMBOAT OPERATING      ¨ E/F
                                                                                                                  COMPANY, LLC
                                                                                                                                           þ G




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            Name                      Mailing address                                                               Name                  Check all schedules
                                                                                                                                          that apply:

2.431   Victory Operating           2400 E. COMMERCIAL BLVD., STE. 1200                                          AMERICAN QUEEN           ¨ D
        Company, LLC                FORT LAUDERDALE, FL 33308                                                    STEAMBOAT OPERATING      ¨ E/F
                                                                                                                 COMPANY, LLC
                                                                                                                                          þ G



2.432   Victory Operating           2400 E. COMMERCIAL BLVD., STE. 1200                                          CAA TRAVEL               ¨ D
        Company, LLC                FORT LAUDERDALE, FL 33308                                                                             ¨ E/F
                                                                                                                                          þ G



2.433   Victory Operating           2400 E. COMMERCIAL BLVD., STE. 1200                                          CAA TRAVEL               ¨ D
        Company, LLC                FORT LAUDERDALE, FL 33308                                                                             ¨ E/F
                                                                                                                                          þ G



2.434   Victory Operating           2400 E. COMMERCIAL BLVD., STE. 1200                                          CAA TRAVELCAA TRAVEL     ¨ D
        Company, LLC                FORT LAUDERDALE, FL 33308                                                    ROSIE YU                 ¨ E/F
                                                                                                                                          þ G



2.435   Victory Operating           2400 E. COMMERCIAL BLVD., STE. 1200                                          GLAS TRUST COMPANY       þ D
        Company, LLC                FORT LAUDERDALE, FL 33308                                                    LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.436   Victory Operating           2400 E. COMMERCIAL BLVD., STE. 1200                                          GLAS TRUST COMPANY       þ D
        Company, LLC                FORT LAUDERDALE, FL 33308                                                    LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.437   Victory Operating           2400 E. COMMERCIAL BLVD., STE. 1200                                          GRUENINGER TOURS         ¨ D
        Company, LLC                FORT LAUDERDALE, FL 33308                                                    AND CRUISES              ¨ E/F
                                                                                                                                          þ G



2.438   Victory Operating           2400 E. COMMERCIAL BLVD., STE. 1200                                          GRUENINGER TOURS         ¨ D
        Company, LLC                FORT LAUDERDALE, FL 33308                                                    AND CRUISES              ¨ E/F
                                                                                                                                          þ G




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         Column 1: Codebtor                                                                                       Column 2: Creditor

            Name                      Mailing address                                                               Name                  Check all schedules
                                                                                                                                          that apply:

2.439   Victory Operating           2400 E. COMMERCIAL BLVD., STE. 1200                                          GRUENINGER TOURS         ¨ D
        Company, LLC                FORT LAUDERDALE, FL 33308                                                    AND CRUISES              ¨ E/F
                                                                                                                                          þ G



2.440   Victory Operating           2400 E. COMMERCIAL BLVD., STE. 1200                                          HORNBLOWER GROUP,        ¨ D
        Company, LLC                FORT LAUDERDALE, FL 33308                                                    INC.                     ¨ E/F
                                                                                                                                          þ G



2.441   Victory Operating           2400 E. COMMERCIAL BLVD., STE. 1200                                          HORNBLOWER GROUP,        ¨ D
        Company, LLC                FORT LAUDERDALE, FL 33308                                                    INC.                     ¨ E/F
                                                                                                                                          þ G



2.442   Victory Operating           2400 E. COMMERCIAL BLVD., STE. 1200                                          HORNBLOWER GROUP,        ¨ D
        Company, LLC                FORT LAUDERDALE, FL 33308                                                    INC.                     ¨ E/F
                                                                                                                                          þ G



2.443   Victory Operating           2400 E. COMMERCIAL BLVD., STE. 1200                                          JOMAC TRAVEL             ¨ D
        Company, LLC                FORT LAUDERDALE, FL 33308                                                                             ¨ E/F
                                                                                                                                          þ G



2.444   Victory Operating           2400 E. COMMERCIAL BLVD., STE. 1200                                          LANDMARK TOURS &         ¨ D
        Company, LLC                FORT LAUDERDALE, FL 33308                                                    CRUISES INC.             ¨ E/F
                                                                                                                                          þ G



2.445   Victory Operating           2400 E. COMMERCIAL BLVD., STE. 1200                                          UBS AG, STAMFORD         þ D
        Company, LLC                FORT LAUDERDALE, FL 33308                                                    BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.446   Victory Operating           2400 E. COMMERCIAL BLVD., STE. 1200                                          WARD COVE DOCK           ¨ D
        Company, LLC                FORT LAUDERDALE, FL 33308                                                    GROUP, LLC               ¨ E/F
                                                                                                                                          þ G




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            Name                      Mailing address                                                               Name                  Check all schedules
                                                                                                                                          that apply:

2.447   Walks of New York Tours,    PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
        LLC                         SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                          ¨ G



2.448   Walks of New York Tours,    PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
        LLC                         SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                          ¨ G



2.449   Walks of New York Tours,    PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
        LLC                         SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.450   Walks of New York Tours,    PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
        LLC                         SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.451   Walks of New York Tours,    PIER 3, THE EMBARCADERO                                                      UBS AG, STAMFORD         þ D
        LLC                         SAN FRANCISCO, CA 94111                                                      BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.452   Walks, LLC (Delaware)       PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
                                    SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                          ¨ G



2.453   Walks, LLC (Delaware)       PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
                                    SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                          ¨ G



2.454   Walks, LLC (Delaware)       PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                    SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G




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            Name                      Mailing address                                                               Name                  Check all schedules
                                                                                                                                          that apply:

2.455   Walks, LLC (Delaware)       PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                    SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.456   Walks, LLC (Delaware)       PIER 3, THE EMBARCADERO                                                      UBS AG, STAMFORD         þ D
                                    SAN FRANCISCO, CA 94111                                                      BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.457   Walks, LLC (Texas)          PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
                                    SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                          ¨ G



2.458   Walks, LLC (Texas)          PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
                                    SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                          ¨ G



2.459   Walks, LLC (Texas)          PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                    SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.460   Walks, LLC (Texas)          PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                    SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.461   Walks, LLC (Texas)          PIER 3, THE EMBARCADERO                                                      UBS AG, STAMFORD         þ D
                                    SAN FRANCISCO, CA 94111                                                      BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.462   Yardarm Club (The)          CHERRY GARDEN PIER, CHERRY GARDEN STREET                                     ALTER DOMUS (US) LLC     þ D
        Limited                     LONDON, SE16 4TU                                                                                      ¨ E/F
                                    UNITED KINGDOM
                                                                                                                                          ¨ G




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            Name                      Mailing address                                                               Name                  Check all schedules
                                                                                                                                          that apply:

2.463   Yardarm Club (The)          CHERRY GARDEN PIER, CHERRY GARDEN STREET                                     ALTER DOMUS (US) LLC     þ D
        Limited                     LONDON, SE16 4TU                                                                                      ¨ E/F
                                    UNITED KINGDOM
                                                                                                                                          ¨ G



2.464   Yardarm Club (The)          CHERRY GARDEN PIER, CHERRY GARDEN STREET                                     GLAS TRUST COMPANY       þ D
        Limited                     LONDON, SE16 4TU                                                             LLC                      ¨ E/F
                                    UNITED KINGDOM
                                                                                                                                          ¨ G



2.465   Yardarm Club (The)          CHERRY GARDEN PIER, CHERRY GARDEN STREET                                     GLAS TRUST COMPANY       þ D
        Limited                     LONDON, SE16 4TU                                                             LLC                      ¨ E/F
                                    UNITED KINGDOM
                                                                                                                                          ¨ G



2.466   Yardarm Club (The)          CHERRY GARDEN PIER, CHERRY GARDEN STREET                                     UBS AG, STAMFORD         þ D
        Limited                     LONDON, SE16 4TU                                                             BRANCH                   ¨ E/F
                                    UNITED KINGDOM
                                                                                                                                          ¨ G



2.467   York River Boat Cruises     BERMONDSEY WALL EAST                                                         ALTER DOMUS (US) LLC     þ D
        Limited                     LONDON, SE16 4TU                                                                                      ¨ E/F
                                    UNITED KINGDOM
                                                                                                                                          ¨ G



2.468   York River Boat Cruises     BERMONDSEY WALL EAST                                                         ALTER DOMUS (US) LLC     þ D
        Limited                     LONDON, SE16 4TU                                                                                      ¨ E/F
                                    UNITED KINGDOM
                                                                                                                                          ¨ G



2.469   York River Boat Cruises     BERMONDSEY WALL EAST                                                         GLAS TRUST COMPANY       þ D
        Limited                     LONDON, SE16 4TU                                                             LLC                      ¨ E/F
                                    UNITED KINGDOM
                                                                                                                                          ¨ G



2.470   York River Boat Cruises     BERMONDSEY WALL EAST                                                         GLAS TRUST COMPANY       þ D
        Limited                     LONDON, SE16 4TU                                                             LLC                      ¨ E/F
                                    UNITED KINGDOM
                                                                                                                                          ¨ G




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            Name                      Mailing address                                                               Name                  Check all schedules
                                                                                                                                          that apply:

2.471   York River Boat Cruises     BERMONDSEY WALL EAST                                                         UBS AG, STAMFORD         þ D
        Limited                     LONDON, SE16 4TU                                                             BRANCH                   ¨ E/F
                                    UNITED KINGDOM
                                                                                                                                          ¨ G



2.472                                                                                                                                     ¨ D
                                                                                                                                          ¨ E/F
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2.473                                                                                                                                     ¨ D
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                                                                                                                                          ¨ G



2.474                                                                                                                                     ¨ D
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2.475                                                                                                                                     ¨ D
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2.476                                                                                                                                     ¨ D
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2.477                                                                                                                                     ¨ D
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2.478                                                                                                                                     ¨ D
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  Fill in this information to identify the case and this filing:


   Debtor name SEA Operating Company, LLC


   United States Bankruptcy Court for the: Southern District of Texas, Houston Division

   Case number (If known) 24-90070 (MI)




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                   12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form for the
schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any amendments of those
documents. This form must state the individual’s position or relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008
and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

           Declaration and signature



        I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
        another individual serving as a representative of the debtor in this case.

        I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

        þ Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
        þ Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
        þ Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
        þ Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
        þ Schedule H: Codebtors (Official Form 206H)
        þ Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
        þ Amended Schedule G
        ¨ Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
        ¨ Other document that requires a declaration




        I declare under penalty of perjury that the foregoing is true and correct.


        Executed on 4/19/2024                                         X /s/ Jonathan Hickman
                       MM / DD / YYYY                                    Signature of individual signing on behalf of debtor



                                                                         Jonathan Hickman
                                                                         Printed name

                                                                         Chief Restructuring Officer
                                                                         Position or relationship to debtor




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